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                         EXHIBIT F
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               On the cover: Representation of a fullerene molecule with a noble fCI• atom trapped
               inside. At the Pennian·Triassic sedimentary boundary the noble gases helium and argon
               have been found trapped Inside fullerene1. they exhibit isotope ratios quite similar to
               those found in meterorites, suggesting that a fireball meteorfle or asteroid exploded
               when it hit the Earth, causing major changes in the environment. (lmoge copyright ©>
               Dr. Wann Secker. Reproduced wifft permi11ion.J




              Over the six editions of the Dictionary, material has been drawn from the following references: G. M. Garrity
              et al., Taxonomic Outline of the Procaryotes, Release 2, Springer-Verlag, January 2002; D. W. Linzey, Vertebrate
              Biology, McGraw-Hill, 2001; I. A. Pecheoik, Biology of the Invertebrates, 4th ed., McGraw-Hill, 2000; U.S.
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              and Imperative Terms, Bureau of Naval Personnel, 1962; R. E. Huschke, Gf.ossary of Meteorology, American
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              Mexico, National Bureau of Standards, AD 467-424; Nuclear Terms: A Glossary, 2d ed., Atomic Energy
              Commission.




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206           baryon octet                                                                                                                                                  base

          BARYON OCTET                      baryon octet [PARTICPHYS) The group ofone lambda, tluee              basal metabolic rate [PHYs10] The amount of energy uti-
                                              sigma, and two xi hyperons and two nucleons. all having spin          lized per unit time under conditions of basal metabolism;
                                              1/1 and positive parity, and forming a symmetrical pattern as         expressed as ::alories per square meter of body surface or per
                        p
                                              suggested by SU3 symmetry. { 'bar·e,l!n llk'tet l                     kilogram of bc<ly weight per hour. Abbreviated BMR.
                        •                   baryon rHonance [PARTIC PHYS] A cross section anomaly                   { 'bll·s:>l med·:>'bliHk 'rat )
                                              indicating the existence of an uostable baryon. ( 'bar·e,:in       basal metabollam [PHYSIO] The sum total of anabolic and
                                              'rez·:m·:>ns )                                                       catabolic activities of an organism in the resting state providing
                               l\>          baryon 1pectroacopy [PARTIC PHYS] The science of the                   just enough energy to maintain vital fu.nctions. { 'ba·s:1l
                              •      >Is      energy levels and changes of state occwring among baryon              m:i'tab·:>,liz·:im }
    -1                        +1
                                              particles. { 'bar·e,!ln spek'ttls·k:i·pe )                         baN I orientation [CRYSTAL] A crystal orientation in which

           :-_,j        •••
                                            baryon-to-photon ratio [AS1RON] The estimated ratio of
                                              the number of baryons (mostly protons and neutrons) to photons
                                              (mostly in the cosmic microwave radiation) in the universe.
                                              ( 'bar·e,lin t:i 'fll,tl!D 'ra·sho J
                                                                                                                   the surface is parallel to the base of the lattice or to the lattice
                                                                                                                   plane which is normal to one of the lattice axes. { 'bl!·s:>l ,Or·
                                                                                                                   e·:in'tl·sh:in )
                                                                                                                 baaal plane [CRYSTAL] The plane perpendicular to the long.
                                            barytphere See centrosphere. ( 'bar·:i,sfir )                          or c, axis in all crystals except those of the isometric system.
The baryon octet, arrayed with              baryta feldlpar See hyalopbane. { ~'nd·:> 'fel,sptir)                   { 'bl!· s:>l :pHln )
respect to 11 as a bsciaaa and Y as         baryta water [CHEM) A solution of barium hydroxide.                  basal rot [PL PAIH) Any rot that affects the basal parts of a
ordinate. The c harge number Q Is             ( b:>'lfd·:> 'w6d·:ir l                                              plant, especially bulbs. { 'bll·s~l 'rlit }
given by Q • 18 + Y/2.
                                            baryte See barite. ( 'ba,lfl )                                       ba1&1t [PETR] An aphanitic crystalline rock of volcanic ori-
                                            Barythertldae [PALEON] A family of extinct proboscidean                gin, composed largely of plagioclase feldspar (labradorite or
                                              mammals in the suborder Baiytherioidea. { ,bar·:i·th:i'n·            bytownite) and dark minerals such as pyroitene and olivine;
              BASALT                         :>,d! l                                                               the extrusive equivalent of gabbro. { b:>'sOlt )
                                           Barytherloldea [PAI.EON) A suborder of extinct mBDlmals               basalt glut See tachylite. { ~·solt ,glas }
                                             of the order Proboscidea, in some systems of classification.        ba1&ltlc dome See shield volcano. [ b:i'sOHik 'dOm )
                                              { ,bar·:i,thir·e'oid·e·:i )                                        basaltlc hornblende [PETR] A black or browo variety of
                                            barytlne See barite. ( 'bar·:>,ten )                                   hornblende rich in ferric iron and occurring in basalts and
                                            barytocalclte [MINERAL] CaBa(CO,)i A colorless to                     other iron-rich basic igneous rocks. Also koown as basaltiDC;
                                             white, grayish, greenish, or yellowish monoclinic mineral con-        lamprobolite; oxyhornblende. l ~'sOl·tik 'hOm,blend )
                                             sisting of calcium and barium carbonate. ( b:>,lfd·:i'kal,sll )    baaaJtlc lava [PETR] A volcanic fluid rock of basaltic com-
                                            barytroplc gas [PHYS] A gas whose pressure depends only                position. { b:i'sOl·tik 'lav·:> )
                                             on its density. { lbar·:>:U-Up·ik 'gas }                           basaltic magma [GEOL] Mobile rock material of basaltic
                                           basaJ [BIOL] Of, pertaining to, or located at the base. °[PHY-         composition. { b:i'sOl·tik 'mag·m:i}
                                             s10] Being the minimal level for, or essential for maintenance     bualtlc rock [PETR] Igneous rock that is fine.grained and
                                             of, vital activities of an organism, such as basal metabolism.       contains basalt, diabase, and dolerite; if andesite is included
                                              ( 'bB·s:>l J                                                         the rock is dark in color. ( b:i'sOl·tik 'rllk }
                                           basal a rl!o"         [PETR) Partially reworked feldspathic resid-   baaaltlc ehell [OEOL] The lower crystal layer of basalt
                                             uum in the lower section of a sandstone that overlies granitic       underlying the oceans and beneath the sialic layer of continents.
Textures of basalt. ( o) Pllotaxitlc         rock. { 'ba·s:il •ar,kos )                                            ( b:i'sOl·tik 'shel )
texture with feldspar mtcrolltes           basal body [CYTOL] A cellular organelle that induces the             baN ltlform [OEOL) Similar to basalt in form. { b:>'sOI·
and some lnteratltlal,
mlcrocrystalllne material.                  formation of cilia and flagella and is similar to and sometimes       t:>,form l
(b) Interaertal texture with                derived from acentriole. Also known as kinetosome. { 'ba·           baaaltlne See basaltic hornblende. { b:i'sOl,ttn )
feldspar mtcrolltes and s ome               s:il ,bld·e}                                                        basalt obaldlan See tachylite. ( b:i'sOlt :ib'sid·e·:in )
granular pyYoxene and much                 baaal-eell carcinoma [MED) A locally invasive, rarely met-           baaaltunnel [ENO] A water supply tunnel constructed along
lnteratltl.a l glass. (c) Hyalopllltlc      astatic nevoid tumor of the epidermis. Also knoWn as basal-           the basal water table. ( 'bll·s:>l 't:in·:>l }
texture with feldspar mtcrolites In
glass. (d) lntergranular texture            cell epithelioma. { 'hl!·s:il ,sci ,kiirs·:>n'O·m:i }               bualumlnlte [MINl!RAL] AJ.(S04)(0H)10·5Hi0 A white
with fe ldspar laths and some              basal-cell eplthellome See basal-cell carcinoma. { 'ba·s:il            mineral consisting of hydrated basic aluminum sulfate; occurs
lnteratltlal granular pyroxe ne.             ,sel ,ep·:>,the-Ie'o·m:i )                                           in compact masses. { lbD.s·:>'lUm·:i,on I
                                           ba.a al cleavage [CRYSTAL] Cleavage parallel to the base of          baNI wall [BOT) The wall dividing the oospore into an ante-
                                            the crystal structure or to the lattice plane which is normal to      rior and a posterior half in plants bearing archegonia. { 'bl·
                                            one of the lattice axes. { 'ba·s:il 'klev·ij )                       s:il 'wOI)
                                           baaal com plex See basement { 'ba·s:il 'kl!m,pleks }                 basal water table [HYD) The water table of basal groundwa-
                                           ba aal conglomerate [OEOL] A coarse gravelly sandstone                 ter. { 'ba·s:il 'w6d·:>r ,tJ.-b:il)
                                            or conglomerate forming the lowest member of a series of            baNnlte [PETR) A basaltic eittrusive rock closely allied to
                                            related strata which lie unconfonnably on older rocks; records        chert, jasper, or flint. Also known as Lydian stone; lydite.
                                            the encroachment of the seabeach on dry land. { 'bl!·s:>l             { 'bas·:>,nn }
                                            k:in'gllim·n::it}                                                   baaculatlng fault See wrench fault { 'ba·sky:i,IAd·i!J 'fOlt)
                                           basal coplane [GRAPHICS] The condition of eitposure of a             baacule [ENO] A structure that rotates about an axis, as •
                                            pair of photographs in which the two photographs lie in a            seesaw, with a counterbalance (for the weight of the structure)
                                            common plane parallel to the air base. { 'bl!·s:il 'kO,plan }        at one end. ( 'ba,skUI }
                                           bual dlac [BIOL] The expanded basal portion of the stalk of          balcule bridge [CIV am] A movable bridge consisting pri·
                                            cenain sessile organisms, used for attachment to the substrate.      marily of a cantilever span extending across a channel; it~
                                             ( 'bl!·s:il 'disk }                                                 about a horizontal axis parallel with the waterway. { 'bl
                                           bual ganglla [NEURO] The corpus striatum, or the corpus               ,skO.l ,brij }
                                            slriatum and the thalamus considered together as the important      baacule lellf [CIV ENO] The span ofa bascule bridge. { 'ba
                                            subcortical centers. { 'ba·s:il 'gaJJ·gle·:i )                       ,skill ,lef }
                                           ba aal groundwater [HYD] A large body of groundwater that            b9M [CHEM] Any chemical species, ionic or molecular,
                                            floats on and is in hydrodynamic equilibrium with sea water.         capable of accepting or receiving a proton (hydrogen ion) frolll
                                            ( 'ba·s:il 'grallnd,wOd·:>r)                                         another substance; the other substance actS as an acid in giviDB              1
                                           b aaalla [VERT zoo] The cartilaginous rods that support the           of the proton. Also known as Br0nsted base. [CHEM ENO]                   b
                                            base of the pectoral and pelvic fins in elasmobranchs. { b:i'sal·    The primary substance in solution in crude oil, and remaininl
                                            e·:i l                                                               after distillation. [COMPUT SCI) See root [ELECTR) 1.
                                           baN lll [HISTOL] The basal portion of the endometrium; it             1be region that lies between an emitter and a collector of •             b
                                            is not shed during menstruation. ( b:i 'sal·:>s I                    transistor and into which minority carriers are injected. i              b
                                           baN l lamlna (EMBRYO) The portion of the gray matter of               The part of an electron tube that has the pins, leads, or othd
                                            the embryonic neural tube from which motor nerve roots               terminals to which external connections are made either direedY
                                            develop. ( 'ba:s:il 'lam·:i·n:> }                                    or through a socket. 3. The plastic, ceramic, or other insulal·
                                           baNI membrane [ANAT) Th.e tissue beneath the pigment                  ing board that SU[>l'!>rts a (l_rinted wiring [>!ttem. [ENOl              '
                                            layer of the retj.n.a that forms the outer layer of the choroid.     Foundation or ~ Ul>Q!I which au ..!!l>.iect or instrument reslS-
  ([KLELW)                                { 'ba·s:il 'mem,brAn)                                                [OBN]          See nitrogenous base. [GRAPHICS] A transpareD1
                                                                                                                                                                                          b1


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                Case 2:12-cv-03001-GAF-VBK Document 105-2 Filed 04/09/13 Page 5 of 178 Page ID
             base address                         #:2095                          base llne    207

              plastic film on which a photographic emulsion is applied.                bate condltlona [PETRO ENO] Standard conditions of 14.65
               (LAP) Ste pavilion. [MATH) 1. A side or face upon which                   psia pressure and 60"F (I 5.6°C) used to calculate the amount
              the altirude of a geometric configuration is thought of as being           of gas con!Jlined in oil from a well (the gas-oil ratio). { 'bas
              consllUcted. 2. For a logarithm, the number of which the                   k:>n'dish·:mz}
              logarithm is the exponent. 3. For a number system, the num-              baaa correction [ENO] The adjustment made to reduce
              ber whose powers detennine place value. 4. For a topological               measurements taken in field exploration to express them with
              space. a collection of sets, unions of which form all the open             reference to the base station values. { 'bil; k:>'rek·sh:>n }
              sets of the space. [ORD] Sration or installation from which             baee cour1e [Bt.llLD] The lowest course or first course of
              military forces operate and from which supplies are                       a wall. [CIV ENG] The first layer of material laid down in
             obtained. ( bas I                                                          construction of a pavement. { 'bl!s ,kOrs }
            base address Su address constant. ( bas :>'dres }                         baee denllty Comes) The value of the inherent optical
            base-&ltltude ratio [ORAPHICs] The ratio between the air-                   transmission density of a film base; does not include any contri-
             base lenglh and the flight attitude of a stereoscopic pair of              bution from the emulsion layer. { 'bl!s 'den·s:>d·e )
              photographs. Also k:nown as basj:·height ratio; K factor.               BasedoW'a dlee819 See exopbthalmic goiter. { 'bllz·:>,dOz
              I 'bas 'aH:>,t1ld ,r.i·sbO}                                               di,zez}
            base analog [MOL BIO) A molecule similar enough to a                      bue-dl1placement [COMPUT sa] In machine-language
     Ofa
              resulting in abnormal base pamng. ( 0 bas an·:>,llig }
              purine or pyrimidine base to ~~bstitute for ~e nonnal bases,              programming. a technique in which addresses are specified
                                                                                        relative to a base address where the beginning of the program
     ori-   baae anchor [Bt.llLDJ The metal piece attached to the base                 is stored. { 'bas dis,pll!S·m:>nt }
 :e or       of a doorframe for the purpose of securing the frame to the             baee dr1g [FL MECH] Drag owing to a base pressure lower
 tine:        noor. ( 'bas ,ao·k:>r}                                                    than the ambient pressure: it is a part of the pressure drag.
            base angle [MAm] Either of the two angles of a triangle                     { 'bas ,drag J
             1hat have the base for a side. { 'bas ,ao·g:>l }                        b1l9' elbow (DES ENO) A cast-iron pipe elbow having a
            base apparatus [ENO) Any apparatus designed for use in                      baseplate or flange which is cast on it and by which it is
             measuring with accuracy and precision the length of a base                supported. ( 'bl!s :el,bO }
             line in triangulation, or the length of a line in first- or second-     baae electrode [ELECTII.) An ohmic or majority carrier con-
             order traverse. { 'bas ,ap·:>'rad·:>s }                                   tact to the base region of a transistor. { 'bas i'lek,trOd}
            base area [GRAPHICS] A portion of the lower edge of a                    base exchange [GEOCRBM) Replacement of cer!Jlio ions by
 om-                                                                                   others in clay. { 'bas iks'chanj }
             microfilm jacket that provides an area for notching. { 'bas
             'cr·e·:> I                                                              baae excision repair [CELL MOL] A deoxyribonucleic acid
 lltic      baseball (PL PHYS) A machine used in controlled fusion                     (DNA) repair system in which an alrered base is removed from
             research to confine a plasma; consists of a linear magnetic               the sugar backbone by action of a specific DNA glycolase and
             bottle sealed by magnetic mirrors at both ends, and has current-          then the abasic sugar is removed by apurinic/apyrirnidic (AP)
             carrying structures, which resemble the seams of a baseball in            lyase and AP endonuclease, leaving a one-nucleotide gap that
             ~hape, to stDbilize the plasma. ( 'bas,bOI }                              is then filled in and ligated. ( 'bas ek'siz·zh:>h ri,per }
            baseband [COMMUN) The band of frequencies occupied by                    base flashing (Bt.llLD] 1. The flashing provided by upturned
             all transmitted signals used to modulate the radio wave.                 edges of a watertight membrane on a roof. 2. Any metal or
             I   'l>ll.~,band   I                                                     composition flashing at the joint between a roofing surface and
 SOI·        baaeband frequency reaponae [COMMUN] Frequency                           a vertical surface, such as a wall or parapet ( 'bas ,flash•iJJ }
               response characteristics of the frequency band occupied by all        baeeflow [HYO] Theflowofwaterenteringstreamchannels
               of the signals used to modulate a ttansmitted carrier. { 'bas,-        from groundwater sources in the drainage of large lalces.
               band 'fre·kw:>n·se ri'spi!ns}                                           ( 'bas ,flo J
            baseband system [COMMUN) A communications system in                      baee font [COMPUT sci] The font used in a document if none
               which information is transmitted over a single unmodulated             other is specified. { 'bas ,flint }
               band of frequencie.~. ( 'bas, band ,sis·t:>m }                        base for the neighborhood .y1tem See local base. { :bas
            base bias [EL£CTll] The direct volrage that is applied to the             far th~ 'na:b:>r,hlid ,sis·t:>m }
               majority-c:inier contact (base) of a transistor. { 'bas ,bT·:>s }     base fracture [MIN ENO) In quanying, the broken condition
            base block [BU!LD] 1. A block of any material, generally                  of the base after a blast; it may be a good or bad base fracture.
               wilh little or no ornament, forming the lowest member of a             { 'bas 'frak·ch:ir}
               base. or itself fulfilling the functions of a base, as a member      base fuse [ORD] A fuse installed in the bottom of a projec-
              applied to the foot of a door or to window trim. 2. A rectangu-         tile. ( 'bas :tJUz }
               lar block at the base of a casing or column which the baseboard      bal4Hlelght ratio See base-altitude ratio. { :bas     :hn   'ra·shO }
              abuL~. 3. Su skirting block. ( 'bas ,blli.k. }                        base Initiation [ORD) Detonation initiated at the base (rear)
            baseboard [BUILO) A finish board covering the interior wall              of the charge. { 'bas i,ni.sh·e·a.-sb:>n }                                 BASE-CENTERED LATTICE
              ar the juncrion of the wall and the floor. Also known as skirt·       baee ln1ulalor [EI.EC] Heavy-duty insulator used to support
              skirting. I 'Ms,bOrd }                                            '    the weight of an antenna mast and insulate the mast from the                   /                 /
            baseboard heater [BUILD] Heating clements ins!Jllled in                  ground or some other surface. ( 'bas 'in·s:>,Uld·:>r }
              panels along the baseboard of a wall. { 'bas,bOrd 'bed·:>r}           baae lsolator1 (CJV ENO] Components placed within a
            baseboard radiator [CIV ENO] A heating unit which is                     building (not always at the base) whicli are relatively flexible
              locat~d at the lower portion of a wall and to which beat is            in the lateral direction, yet can sustain the vertical load. Wbeo
              sup~hed by hot water, warm air, steam, or electricity. { 'blls,b-      an emthquake causes ground motions, base isolators allow the
              Ord rlld·e,ad·:>r I                                                    structure to respond much more slowly than it would without
            baae box [MET} A unit of area used for tin-plated steel sheet:           them, resulting in lower seismic demand on the structure. Isola-
              one base box is equivalent to 112 sheets, 14 by 20 inches (35.6
              by 50.8 ~nttmetcrs), or 62,720 square inches of surface, coated
                                                                                     tors may be laminated steel with high-quality rubber pads,
                                                                                     sometimes incorporating lead or other energy-absorbing materi-
                                                                                                                                                             (aJ    v                I/

              on two sides; I pound (0.454 kilogram) of tin per base box is          als. { 'blls ,T·s:1:1ad·:>n }
              cq_uol to a coating of tin 0.000059 inch (0.0014986 millimeter)       base language [COMPllr SCI) The component of an extensi-
            "~tck. I 'b:is ,bales }                                                  ble language which provides a complete but minimal set of
            '!:ebt:on [~ET) Crude lead that bas enough silver in it 10               primitive facilities, such as elemen!Jlry da!JI types, and simple
                 'b      .extraction of silver worthwhile; gold may be present.      operations and control constructs. ( 'bas 'lag·gwij }
              I as ,blil·yan I
                                                                                    baee level [GEOL] That critical plane of erosion and deposi-
            ~cap See base molding. { 'bas ,leap }                                    tion represented by river level on continents and by wave or
              each er:itered lattice (CRYSTAL) A space lattice in which              current base in the sea. { 'bas ,lev·:>I }
            ·        ~mt cell ha~ lattice points at the centers of each of two      bsee-leveled plaln [GEO!..] Any land surface changed
             opposne foces as w II          .L      •   •           • •

              uiey are the faces e as at u1e VertJces·• 10 a monoclinic crystal,
              .L                                                                     almost to a plain by subacrial erosion. Also k:nown as pene-             (b)
             _.scn·t:>rd 'lad·;is I normal to one of the lattice axes. { 'bas        plain. { 'bas ,lev·;ild 'plan }
            liaee clrcle (DES                                                       base-levallng epoch Su gradation period. ( 'bas ,lev·:>H.ij             Two of fourteen BravaJs lattices.
             !Oolh- Iii             ':NG1 The circle on a gear such that each        'ep·~k}                                                                (a) Base-centered orthorhombic.

...-                  pro e curve ts an involute of it. { 'bas ,s~r·k:>I }          baae llne Abbreviated BL.         [ELECTll] The line traced on          (bJ Bue-centered monocllnlc.


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   Case 2:12-cv-03001-GAF-VBK
 counter sun                  Document 105-2 Filed 04/09/13 Page 6 of 178
                                                              coupling    Page ID
                                                                        constant                                                                                                  501
                                                                                       #:2096
    specimen to color clements other than those demonstrated by            coupled clrcult8 [EI.EC) Two or more electric circuits so                       COUPLED CIRCUITS
    the principal stain. { 'kaWlt·::ir,stan )                                 arranged that energy can transfer electrically or magnetically                      M




                                                                                                                                                     jfct~
  counter aun See anthclion. { 'kallnt·:ir,s:in J                             from one to another. { 'k:>p·:>ld 's:ir·k:>ts )
  countersunk bolt [DES BNG) A bolt that has a circular head,              coupled column [ARCH) One of two columns used as a
    a flat top, and a conical bearing surface tapering in from the top;       grouped pair. { 'k:>p·:>ld 'klll·:>m )
    in place, the head is flush-mounted. { lJdlun·t::ir,s:igk 'bOlt )      coupled engine [MECH BNG) A locomotive engine having
  counter terma [QUANT MECH) Additional terms added to a                      the driving wheels connected by a rod. { 'k:ip·:>ld 'cn·j:in )
    Lagrangian in quantum field theory in order to absorb the              coupled field vectors [ELECTROMAG) The electric-and
    typical divergences that occur in a perturbation expansion of             magnetic-field vectors, which depend upon each other                                Lu   L22
    the theory. { 'kalin·t::ir ,t:irmz)                                       according to Maxwell's field equations. { 'k:>p·:>ld 'feld            A pair of coupled circuits.
 countertranaference [PSYCH) The conscious or uncon-                          ,vck·t:>rz )
    scious emotional reaction of the therapist to the patient, which       coupled harmonic osclllators [PHYS) Linear oscillators
    may interfere with psychotherapy. { :Olint·::ir·tranz'f::ir·:ins J       with an interaction, often also linear or weak. { 'k:ip· :ild bar' -
 counter tube [ELECTR) An electron tube having one signal-                   mlln·ik 'ls·:>,llld·:>rz J
    input electrode and I0 or more output electrodes, with each            coupled modes [Acous) Modes of acoustic transmission
    input pulse serving to transfer conduction sequentially to the           along a duct having a discontinuity, so that the reflected and
    next output electrode; beam-switching tubes and cold-cathode             transmitted waves contain modes other than the incident ones.
    counter tubes are examples. [NUCLEO) An electron tube that                { 'k:>p·:>ld 'modz J
    converts an incident particle or burst of incident radiation into      coupled osclllators [ELECTROMAG) A set of altcmating-
    a discrete electric pulse, generally by utilizing the cu~9t flow         current circuits which interact with each other, for example,
   through a gas that is ioni7.Cd by the radiation; used in "fidtation       through mutual inductances or capacitances. [MECH) A set
   counters. Also known as radiation counter tube. { 'kalint·                of particles subject to elastic restoring forces and also to elastic
   :ir ,tUb)                                                                 interactions with each other. { 'k:>p·:>ld 'lls·:i,llld·:>rz )
 counter voltage [El.EC) The reverse voltage that appears                  coupled reaction [CHEM) A reaction which involves two
   across an inductor when current through the inductor is shut              oxidants with a single reductant, where one reaction taken
   off. { 'kalint·:ir ,vOl-tij )                                             alone would be thermodynamically unfavorable. { 'k:>p·:ild
 counterweight [MECH ENG) 1. A device which counterbal-                      ri!'ak·sh:>n )
   ances the original load in elevators and skip and mine hoists,          coupled systems [COMPll'I' SCI) Computer systems that
   going up when the load goes down, so that the engine must                 share equipment and can exchange information. [PHYS)
   only drive against the unbalanced load and overcome friction.             Mechanical, electrical, or other systems which are connected
   2. Any weight placed on a mechanism which is out of balance               in such a way that they interact and exchange energy with each
   so as to maintain static equilibrium. Also known as counter-              other. { 'k:ip·:ild 'sis·t:imz )
   balance; counterpoise. { 'kallnt·::ir, wilt )                           coupled translators [BLECTR) Transistors connected in
 counting chamber [MICROBIO) An accurately dimensioned                       series by transformers or resistance-capacitance networks, in
   chamber in a microslide which can hold a specific volume of               much the same manner as electron tubes. { 'k:>p·:>ld
   fluid and which is usually ruled into units to facilitate the             tran'zis·t:>rz )
                                                                           coupled wave [FL MECH) A surface wave which is being
   counting under the microscope of cells, bacteria, or other struc-
   tures in the fluid. { 'kalint·ig ,chllm·b::ir )                          continuously generated by another wave having the same phase
                                                                             velocity. Also known as C wave. { 'k:ip·:ild 'wlv )
 counting circuit [ELBCTR) A circuit that counts pulses by
                                                                          coupler [El.EC) A component used to transfer energy from
   frequency-dividing techniques, by charging a capacitor in such
                                                                            one circuit to another. [ELBCTROMAG) 1. A passage which
   a way as to produce a voltage proportional to the pulse count,
                                                                            joins two cavities or waveguides, allowing them to exchange
   or by other means. Also known as counter circuit. { 'lcalint ·
                                                                            energy. 2. A passage which joins the ends of two waveguides,
   jg ,s:ir·k:it )
                                                                            whose cross section changes continuously from that of one to
 counting-down circuit See frequency divider. { 'kallnt·ig
                                                                            that of the other. [BNG) A device that connects two railroad
   ,dalln ,s:ir·k:it )
                                                                            cars. [GRAPHICS J A substance that can react with the unex-
 counting glass [TEXT) A magnifying glass for counting the
                                                                            posed diazonium salt in a diazo material to produce the visible
  number of threads per inch in textile fabrics. { 'lcalint·ig
                                                                            dye image. [NAV) The portion of a navigation system that
   ,glas J                                                                  receives signals of one type from a sensor and transmits signals
counting Ionization chamber See pulse ionization chamber.                   of a different type to an actuator. { 'k:>p·l:>r )
   { 'kallnt-ig ,J·:i·n:i'za·sh:in ,chllm·b::ir )                         c:oupllng [Bl.EC 1. A mu                  atioo between two cucwts
counting number [MATH) One of the numbers used in                           that permits energy transfer from one to another, tluou&IJ a
  counting objects, either the set of positive integers or the set              · ICSistm:          fonner, ~r. or odlcr device. 2. A
  of positive integers and the number 0. { 'kallnt-ig ,n:im·b::ir )         hardware device used to make a temporary connection between
counting rate [PHYS) The average rate of occurrence of                      two wires. [ENO) 1. Any device that serves to connect the
  events as observed by means of a counting system. { 'kalint·              ends of adjacent parts, as railroad cars. 2. A metal collar with
  ig ,rat J                                                                 internal threads used to connect two sections of threaded pipe.
counting rate meter [NUCLEO) An instrument that indicates                     MJ!Of ENO       The mechani          ICDJDg       connects shaftS
  the time rate of occurrence of input pulses to a radiation counter,            ether for      er transmission.            own as shaft cou-
  averaged over a time interval. Also known as rate meter.                 (ii!i!i. I 'k:ip·lilJ J
  { 'kallnt-ig ,rat ,med·::ir J                                           coupling agent [cHBM) A substance that can react with both
counting rate-voltage characteristic See plateau characteris-               reinforcement and matrix components of a composite material
  tic. { 'kallnt·ig ,rat 'vOl·tij ,kar·ik-t:i'ris·tik)                      to form a binding link at their interface. { 'k:ip·lig ,a·j:int )
country rock [GEOL) 1. Rock that surrounds and is pene-                   coupling aperture [ELECTROMAG) An aperture in the wall
  trated by mineral veins. 2. Rock that surrounds and is invaded           of a waveguide or cavity resonator, designed to transfer energy
 by an igneous intrusion. { :Jc:in·tre 'rllk )                             to or from an external circuit. Also known as·coupling hole;
count system See numerical system. { 'kallnt ,sis·t:im )                   coupling slot. { 'k:ip·lig ,ap·:>·ch:ir )
couplent [BNG) A substance such as water, oil, grease, or                 coupling capacitor [ELBCTR) A capacitor used to block the
 paste used to avoid the retarding of sound transmission by air            flow of direct current while allowing alternating or signal cur-
 between the transducer and the test piece during ultrasonic               rent to pass; widely used for joining two circuits or stages.
 examination. { 'k:>p·l:int )                                              Also known as blocking capacitor; stopping capacitor. { 'k:ip·
~ [CHEM] Joining of two molecules.                                   o    dig k:>'pas ·:>d·:>r J
 cooncct two clfCWts so SJ               arc transfi     from ooc to      cOupllng coefllclent [ELECTR) The ratio of the maximum
 the other. [ELl!CTR] Two metals placed in contact, as in a                ~hange in energy of an electron traversing an interaction space
 thermocouple. [ENG) :ro connect with a COUJlll:C , sucli as               (o the product of the peak alternating gap voltage and the
 of two belts or IWO Ji! . [MECH) A system of two parallel                 electronic charge. [PHYS) See coupling constant. { 'k:>p·
 forces of equal magnitude and opposite sense. { 'k:ip·:il )               Jig ,ko·i'fish·:>nt J
coupled antenna [ELl!CTROMAG) An antenna electromag-                      coupling constant [PMmC PHYS) A measure of the strength
 netically coupled to another. { 'k:ip·:ild an'ten·:i )                    of a type of interaction between particles, such as the strong



          ([KLELW)
          3DJH
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                        EXHIBIT G
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                                  #:2098




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                        Electrical &
                         Computer
                        Engineering


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                                                                     3DJH
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                                   #:2100




                  counter/frequency meter


                   coumer/lreqU«tcy meter fENCf All instrument                guides. allowing them to exchange energy 2. A                  CPU Str central procesi
                     that contains a frequency standard and can be            passage which joins the ends of two waveguides                 CPU-bound pn>grem I
                      used to measure the number of events or the             whose aoss section changes continuously rroni                       program that lnvoJv1
                      number of cycles or a periodic quantity that            that or one to that or the other { 'bp-lar I                       calculation and lnte
                     occurs In a specified time. or the time between       coupling IELECI 1. A mutual relation between                          data, so that the s
                     two events. ( 'kaunt·~r 'fre·k~n·se ,med·~r )            twodrcu1ts that permits energytransferfrom one                     pends on the speed
                                                                              to another. through a wire. resistor. transformer.                 Ing unit (<!PU) and n
                   count ermeasures aet fELECTRf A complete elec·
                     tronic set specifically designed to provide fa·
                                                                              capad • or other device. 2. A hardware device                      cycle-~und program.
                     cillties for intercepting and analyzing electro-
                                                                              use to make a temporary connection between                         I ,se,pe y!l Jbaund ,pro,
                                                                              two wires. ( 'kap-lio I                                       CPU l•n ICOMPUT SCI(
                     magnetic energy propagated by transmitter and         coupling •peftUre IELECTROMACI All aperture In                       over the Integrated-cl
                     to provide a source of radio-frequency signals           the wall of a waveguide or cavity resona1or.                      computer's central pr~
                     which deprive the enemy of effective use or              designed to transfer energy to or from an ~ernal                  overheating I :selpef
                     his electronic equipment. ( 'kaunt·ar,mezh·arz           circuit. Also known as coupling hole. coupllna                crHh ICOMPUT SCJ) 1.
                     ,set l                                                   slot. l 'kgp.lfo ,ap·a·clm l                                      failure, or software
                  counterpoise JEl.ECJ A system of wires or other         coupling capacitor I ELECTRI A capacitor used to                     computer syst,em Jno
                     conductors t hat is elevated above and insulated         block the flow of direct current while allowing                  ( krash I
                     from the ground to form a lower system of con·          alternatlng or signa l current to pass: widely                 cru h looetor bffoon
                     ductors for an antenna. Also known as antenna            used for lolnlng two ci rcuits or stages. Al.so                  radio beacon carried In
                     counterpoise. ( 'kalint·~r.p6iz)                        known as blocking capacitor: stopping capacitor                   rorces In the event of a
                  counter tube fELECTRI All electron tube having              I 'bp·llo ka'pas-ad-ar )                                        ,be.kon I
                     one signal-input electrode and 10 or more            coupllng coefficient IELECTRI The ratio of the                   Of..er temp IEUEOTRI A
                     output electrodes, with each input pulse serv·
                                                                             maximum change In energy or an electron                         as a point source or
                                                                             traversing an Interaction space to the produa                   proponlonal to the sl
                     Ing to transfer conduction sequentially to the          of the peak alternating gap voltage and the                      the tube used for p
                     next output electrode: beam-switchi ng tubes            electronic charge. I 'kap·lio ,lc.O-i'lish-~t)                  facsimile sl11nals ( '
                     and cold-cathode counter tubes are examples.         coupling hole S« coupling aperture I 'kap-nu                     CRC Stt cyclic redunde
                     ( 'kaunt·ar ,tiib J                                     ,hOl I                                                        -UOn operator fc
                  counter voltage IELECI The reverse voltage that         coupling loop IELECTROW.CI A conducting loop                       data structure which
                     appearsaaossan inductor when current through            projecting into a waveguide or cavity resona1or                 created I kre'a shan
                     the inductor is shut off. ( 'kau nt-ar ,vOl·tii I       designed to transfer energy to or from an eJtel'llll          or9denoe     !ELECT
                  counting circuit IELECTRI A circuit that counts            circuit. { 'lc.Qp-Jlo ,liip I                                   of conlldence In a
                    pulses by frequency-dividing techniques. by           coupling probe IELEC'!'ROW.Cf A probt p1o)ea·                      ally proportional to
                     charging a capacitor in such a way as to produce        Ing Into a waveguide or cavity resonator. de-                   I 'kred·~ns I
                                                                             signed to transfer energy to or from an utemll                . . . , !LECTR( A slow
                     a voltage preponional to the pulse count. or
                                                                             circuit. I 'kap·llo ,pr6b l                                     with time or usa11e
                    by other means. Also known as counter circuit                                                                          . . . . . . . (ELECIThe
                     ( 'kaimt·lo ,sar-bt I                                coupling alot S« coupling aperture
                                                                            ,sUlt l                                                          ICIOSS the surface of o
                  counting-down circuit S« frequency divider.                                                                              .-11111ue S« peak v
                                                                          counie programmer (CONT svs1 An Item
                     I 'kaimt·io ,daun .~r-bt l                             Initiates and processes signals In a manner                   . . ¥Ollml'9f !Et.Et
                  CCM.rlllng llllHollllge dwnclliillltk: Stit plateau        establish a vehicle In which It Is Installed a                Pt8kvtlueofthe volto
                     characteristic. { 'kaunt·io ,rat 'vOl·tll ,kar·ik·     one or more projected courses / 'k6rJ '                         I 'krest 'vOft,m@d·:ir I
                     ta'ris·tik l                                           ,gram·ar)                                                     """' OOnteol IEl.E• I
                  oouple IE1.£CI To connea two circuits so signals        -               ICOMPVTSCJI ComputerprO@mrnt                      lion 11 • hollow cylln
                     are transferred from one to the other. IELECTRJ        signed to be used In computer-aided Inst                       llltr e bored wire 1, I
                    TWo metals placed in contact. as in a therrnocou·       or computer-managed Instruction ( 1lc.615,                     IPPllcdtocrrmpthec
                    pie. { 'bp-al )                                       coverage IELECTROMACI A spatial account                          Ille w re Also tr.no
                  coupled antenna IELECTROMACI An antenna                   regions of useful sensitivity In a radar's                      I '1tmp .u11,uitc.t J
                                                                            roundlngs that can be affected. ror exam                      . , . . . 1e1p.1roo t11t
                    electromagnetically coupled to another.                                                                                 Ol tN le.p-fro11 test
                    ( 'bp·ald an'ten-a)                                     multipath propagation or by obscuring te                        ,...,. ,tPt"ated fr
                  coupled clrculta JELECI Two or more electric              {'lc.av-rl))                           .                             Olll r11th111 than
                    circuits so arranged that energy can transfer         COZI JcoMMUN I An Ionospheric soundln&                                  lid 'ltp ,frl11 ,t
                                                                            tern ror determining propagation charact
                    electrically or magnetically from one to another.                                                                              mode !COM
                                                                            or the ionosphere at various angles at any                                al reduced
                    ( 'kap·ald 'sar·k~ts )                                  used to determine how well long-dlstan«.
                  coupled sy8tema fCOMPllT sc11 Computer sys·                                                                                     ~1·
                                                                            frequency broadcasts are reaching their I                            . . . VOlege
                    terns that share equipment and can exchange             destinations.Derived from communlcatl
                    Information. { 'bp·ald 'sis·tamz )
                  coupled tranelstoni IELECTR) Transistors con·
                    nected In series by transformers or resistance·
                                                                            Indicator. I :tc.O:zi)
                                                                          CPA Str color-phase alternation
                                                                          CPE S« computer performance evalu81
                                                                                                                                                           "'"
                                                                                                                                                          nOd,v
                                                                                                                                                          . . Pkt
                    capacitance networks. in much the same manner         CPM S« critical path method
                    as electron tubes_ ( 'kap-ald tran'zis·tarz)          C power eupply IELECTRI A device
                  coupler fEl..EC( A component used to transfer en·         the circuit between the cathode ~
                    ergy from one circuit to another. IELECTROMACI          vacuum tube to apply grid bias I :st
                    1. A passage which joins two cavities or wave-         ,plT l


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                                                                                                                                    3DJH
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                                   #:2102




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                                   #:2103




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                                   #:2108




                         EXHIBIT J
            Claim Language   NYKO's Preliminary      Defendants’ Proposed      Evidence in Support of NYKO's Proposed Claim Construction
                             Proposed Claim          Terms
                             Construction
            “base”           "base" means the        “base” means the          Intrinsic Evidence: The claims, written description and drawings of the
                             foundation or support   bottom part of the        '848 patent support NYKO's construction of the claim language. [Quigley
                             upon which structures   charging system that      Decl., Exhs. A & B (‘848 patent & '848 patent with highlights).] For
                             rest                    provides physical         example, at least the following sections support the claim construction:
                                                     support for the system
                                                     against an external       Claim 1 recites:
                                                     adjacent surface (e.g.,         1. "at least one structure on the base for providing physical
                                                     a table or wall)                support to the plurality of video game controllers,"
                                                                                     2. "a plurality of DC ports on the base … configured to
                                                                                     couple to" the power input ports of the plurality of video
                                                                                     game controllers,
                                                                                     3. "the … structure on the base compris[ing] a plurality of
                                                                                     docking bays … configured to receive" the video game
                                                                                     controllers, and
                                                                                     4. "the … structure on the base further compris[ing] a
                                                                                     plurality of pairs of opposite surfaces," which further define
                                                                                     the “docking bays … configured to receive” the video game
                                                                                     controllers.
                                                                                                                                                                                                   #:2109




                                                                               [‘848 patent, Claim 1 (emphasis added)].

                                                                               Claim 9 recites that "the AC-DC converter is in the base." [‘848 patent,
                                                                               Claim 9 (emphasis added)].

                                                                               Claim 18 recites that "the base further compris[es] a power input for
                                                                               connection to a power supply, the power input being electrical coupled to
                                                                               the at least one electrical contact [of the base]." [‘848 patent, Claim 18
                                                                               (emphasis added)].

                                                                               See ‘848 patent, FIGS. 16-18, 21, 22.

                                                                               "As shown in FIG. 16, the charging station 510 includes a base 524 with
                                                                               two docking bays 512, 514." ['848 Patent, col. 12, lines 1-2 (emphasis
                                                                               added).]

                                                                                                                                                            1
                                                                                                                                                                Case 2:12-cv-03001-GAF-VBK Document 105-2 Filed 04/09/13 Page 19 of 178 Page ID




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Exhibit J
             Claim Language    NYKO's Preliminary   Defendants’ Proposed   Evidence in Support of NYKO's Proposed Claim Construction
                               Proposed Claim       Terms
                               Construction
             "base" (cont'd)                                               "As can be seen in FIG. 22, the charging station (or charger base) . . . ."
                                                                           ['848 Patent, col. 14, lines 33-36 (emphasis added).]

                                                                           "There are locators 410 on each of the two surfaces of the partitions 406 as
                                                                           well as the two surfaces of the base 402, which face the DC ports 408."
                                                                           ['848 patent, col. 9, lines 47-49 (emphasis added).]

                                                                           Extrinsic Evidence: The following is exemplary extrinsic evidence, in
                                                                           addition to other extrinsic evidence with Nyko's claim construction
                                                                           briefing, such as expert testimony.

                                                                           American Heritage Dictionary (2006): "base": n. A supporting part or
                                                                           layer; a foundation. [Quigley Decl., Exh. C at 148.]

                                                                           Dictionary of Scientific and Technical Terms (McGraw-Hill 2003) -
                                                                           engineering definition of "base": n. Foundation or part upon which an
                                                                           object or instrument rests. [Quigley Decl., Exh. F at 206.]
                                                                                                                                                                                                  #:2110




                                                                           Mr. Navid testified that "outside the context of this patent, the word [base]
                                                                           can have different meanings." [Quigley Decl., Exh. K (Navid Depo), pg.
                                                                           241, lines 8-10.] However, "in the context of this patent, what a base is, is
                                                                           the entire charging device. It's the charging system." [Navid Depo, pg.
                                                                           239, line 24 - pg. 240, line 1.]

                                                                           Thomas Roberts, CTO of defendant PDP and who has 18 years of
                                                                           experience in the video game accessories industry, testified that he
                                                                           understands the term base to mean "a structure upon which another object
                                                                           rests." [Quigley Decl., Exh. M (Roberts Depo), pgs. 7-10 and pg. 41, lines
                                                                           9-13.]

                                                                           Komodo, another competitor in the video game accessories market, sells a
                                                                           charging system under the name "Komodo Quad Charge Base for PS3."
                                                                           [Quigley Decl., Exh. I.]

                                                                                                                                                           2
                                                                                                                                                               Case 2:12-cv-03001-GAF-VBK Document 105-2 Filed 04/09/13 Page 20 of 178 Page ID




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             Claim Language              NYKO's Preliminary         Defendants’ Proposed       Evidence in Support of NYKO's Proposed Claim Construction
                                         Proposed Claim             Terms
                                         Construction
             "base" (cont'd)                                                                   Nyko sells its family or products under the name "Charge Base." [Quigley
                                                                                               Decl., Exh. P]

                                                                                               Defendant PDP has itself repeatedly referred to its accused products as a
                                                                                               "charge base" - in specifications for the accused products and on its own
                                                                                               website. [Quigley Decl., Exhs. N & O.]

                                                                                               In its non-infringement contentions, PDP notes that “[t]he term ‘base’ as
                                                                                               described in the specification of the ‘848 patent discloses a component of
                                                                                               the charging system which ‘includes a base [402]’ and allows for
                                                                                               ‘structures [to be] on the base.’” [Quigley Decl., Exh. Q "PDP’s Response
                                                                                               to Nyko’s First Set of Interrogatories" at 7]. PDP argues that this is the
                                                                                               plain meaning of base as used in the ‘848 patent. Even the language cited
                                                                                               by PDP demonstrates how broadly the term “base” is used.
             “ at least one structure"   "at least one structure"   Defendants believe this    Intrinsic Evidence: The written description and drawings of the '848
                                         means one or more          term needs to be           patent support NYKO's construction of the claim language. For example,
                                         structures                 construed in the           at least the following sections support the claim construction:
                                                                                                                                                                                                                   #:2111




                                                                    context of the claim
                                                                    language it is used. See   Claim 1 recites:
                                                                    below:                           1. "at least one structure on the base for providing physical
                                                                                                     support to the plurality of video game controllers,"
                                                                    “at least one structure          2. "the at least one structure on the base compris[ing] a
                                                                    on the base for                  plurality of docking bays … configured to receive" the video
                                                                    providing physical               game controllers, and
                                                                    support to the plurality         3. "the at least one structure on the base further
                                                                    of video game                    compris[ing] a plurality of pairs of opposite surfaces," which
                                                                    controllers while the            further define the “docking bays … configured to receive”
                                                                    plurality of video game          the video game controllers.
                                                                    controllers are being      [‘848 patent, Claim 1 (emphasis added)].
                                                                    charged” means one or
                                                                    more structures on the     See ‘848 patent, FIGS. 16-18, and 20 (these figures show multiple
                                                                    base, each for             structures ("partition 528") and surfaces of the base 524 physically
                                                                    providing physical         supporting each video game controller, creating the docking bays and

                                                                                                                                                                            3
                                                                                                                                                                                Case 2:12-cv-03001-GAF-VBK Document 105-2 Filed 04/09/13 Page 21 of 178 Page ID




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             Claim Language        NYKO's Preliminary   Defendants’ Proposed      Evidence in Support of NYKO's Proposed Claim Construction
                                   Proposed Claim       Terms
                                   Construction
              “ at least one                            support to a plurality of composed of opposite surfaces); and see FIGS. 11-14 (also showing
             structure" (cont'd)                        video game controllers docking bays 404 composed of multiple partitions 406 and surfaces of the
                                                        while they are being      base 402).
                                                        charged
                                                                                  "Each pair of opposite surfaces, a portion of the base 402, a corresponding
                                                        “at least one structure docking bay 404, and/or the locators 410 may comprise a structure for
                                                        on the base comprises providing physical support to one of the video game controllers 420 during
                                                        a plurality of docking    charging." ['848 Patent, col. 9, lines 51-55.]
                                                        bays” means one or
                                                        more structures on the    "In one embodiment, the at least one DC port comprises a plurality of DC
                                                        base each defines a       ports, the at least one video game controller comprises a plurality of video
                                                        plurality of docking      game controllers." ['848 Patent, col. 2, lines 26-28.]
                                                        bays
                                                                                  Extrinsic Evidence: The following is exemplary extrinsic evidence, in
                                                        “at least one structure addition to other extrinsic evidence with Nyko's claim construction
                                                        on the base further       briefing, such as expert testimony.
                                                        comprises a plurality of
                                                        pairs of opposite         Wolfram MathWorld (Wolfram Research, Inc., 1999-2012) - mathematical
                                                                                                                                                                                                          #:2112




                                                        surfaces” means one or definition of "at least one": "At least one" is a mathematical term meaning
                                                        more structures on the    one or more. [Quigley Decl., Exh. H.]
                                                        base, each has a
                                                        plurality of pairs of     At Amir Navid's deposition, when asked if he could point to "at least one
                                                        opposite surfaces         structure on the base for providing physical support," he said, "So it would
                                                                                  be [partitions] 406. These are the structures, the support structures." [Navid
                                                                                  Depo, pg. 243, lines 6-9.] He further stated that each of these partitions
                                                                                  406 were "separate structures," in further support of the understanding that
                                                                                  there are several structures for providing physical support to the video
                                                                                  game controllers. [Navid Depo, pg. 244, lines 6-12.]




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                                                                                                                                                                       Case 2:12-cv-03001-GAF-VBK Document 105-2 Filed 04/09/13 Page 22 of 178 Page ID




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 Exhibit J
             Claim Language             NYKO's Preliminary        Defendants’ Proposed      Evidence in Support of NYKO's Proposed Claim Construction
                                        Proposed Claim            Terms
                                        Construction
             “each of the DC ports      "to couple to" means to   "to couple to" means to   Intrinsic Evidence: The written description and drawings of the '848
             configured to couple to    join, link or connect     connect directly or       patent support NYKO's construction of the claim language. For example,
             and provide DC power       structures together       indirectly to             at least the following sections support the claim construction:
             to a power input port of   without the use of
             a respective one of the    external wires or                                   Claim 1 recites "a plurality of DC ports on the base, each of the DC ports
             plurality of video game    cables                                              configured to couple to and provide DC power to a power input port of a
             controllers"                                                                   respective one of the plurality of video game controllers." The DC ports
                                                                                            are configured to couple to and also configured to provide DC power.
                                                                                            [‘848 patent, Claim 1 (emphasis added)].

                                                                                            Claim 3 recites "a current detector electrically coupled to the plurality of
                                                                                            DC ports" and "an indicator electrically coupled to the current detector."
                                                                                            [‘848 patent, Claim 3 (emphasis added)].

                                                                                            See ‘848 patent, FIGS. 7, 15, 18, 19a, 19c, 20, 21.

                                                                                            The charging station 510 disclosed in the embodiment of Figs. 16-23B
                                                                                            includes male mini-USB ports 542 "adapted to connect to a female mini-
                                                                                                                                                                                                                  #:2113




                                                                                            USB connector on a hand-held controller for a video game console, such as
                                                                                            the PlayStation 3." ['848 Patent, col. 12, lines 58-63.]

                                                                                            With respect to the embodiment disclosed in Figs. 11-15, the detailed
                                                                                            description recites that "the power input port of the video game controller
                                                                                            420 slides down onto and connects to the DC port 408." ['848 Patent, col.
                                                                                            10, lines 4-7 (emphasis added).] As described, the power input port of the
                                                                                            video game controller physically slides down onto the DC port and
                                                                                            mechanically couples the two ports.

                                                                                            Extrinsic Evidence: The following is exemplary extrinsic evidence, in
                                                                                            addition to other extrinsic evidence with Nyko's claim construction
                                                                                            briefing, such as expert testimony.

                                                                                            Dictionary of Scientific and Technical Terms (McGraw-Hill 2003) -

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                                                                                                                                                                               Case 2:12-cv-03001-GAF-VBK Document 105-2 Filed 04/09/13 Page 23 of 178 Page ID




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             Claim Language            NYKO's Preliminary   Defendants’ Proposed   Evidence in Support of NYKO's Proposed Claim Construction
                                       Proposed Claim       Terms
                                       Construction
             "to couple to" (cont'd)                                               "couple": v. to connect with a coupling, such as two belts or two pipes.
                                                                                   [Quigley Decl., Exh. F at 501.]

                                                                                   Dictionary of Scientific and Technical Terms (McGraw-Hill 2003) -
                                                                                   mechanical engineering definition of "coupling": n. The mechanical
                                                                                   fastening that connects shafts together for power transmission. [Quigley
                                                                                   Decl., Exh. F at 501.]

                                                                                   Dictionary of Mechanical Engineering (2006), a "coupling": n. a device for
                                                                                   connecting together two or more parts of a mechanism. [Quigley Decl.,
                                                                                   Exh. E at 90.]

                                                                                   Mr. Navid testified that "couple to" means "that they mate. So a plug, a
                                                                                   direct connection, where, you know, it's mating. So that's -- that's what I
                                                                                   meant by it." [Navid Depo, pg. 222, lines 11-16]. He further expounded
                                                                                   that "[i]f you have a piece of that base and that's directly engaging and
                                                                                   going within the charging port of the other device, then that's what I mean.
                                                                                   That's what I mean as coupling. You have a piece of that charge base
                                                                                                                                                                                                          #:2114




                                                                                   directly connecting to the device that's being charged." [Navid Depo, pg.
                                                                                   226, lines 10-16.]

                                                                                   The Federal Circuit has itself stated that the language "couple[d] to"
                                                                                   supports a claim construction where "connectivity [occurs] without the
                                                                                   inclusion of cables or wires." In re Abbott Diabetes Care, Inc., 696 F.3d
                                                                                   1142, 1149 (Fed. Cir. 2012). In In re Abbott Diabetes Care, Inc., the
                                                                                   parties’ primary dispute centered on whether the broadest reasonable
                                                                                   construction of "electrochemical sensor" includes external cables and wires
                                                                                   connecting the sensor to its control unit. The Federal Circuit found that the
                                                                                   claims themselves suggested connectivity without the inclusion of cables
                                                                                   or wires because the claims recited an "electrochemical sensor" having
                                                                                   "contact pads" that are "coupl[ed]" to "conductive contacts." Id. This is
                                                                                   analogous to our situation. In In re Abbott Diabetes Care, Inc., the claims
                                                                                   recite the coupling of contact pads to conductive contacts - a direct

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                                                                                                                                                                       Case 2:12-cv-03001-GAF-VBK Document 105-2 Filed 04/09/13 Page 24 of 178 Page ID




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             Claim Language            NYKO's Preliminary        Defendants’ Proposed      Evidence in Support of NYKO's Proposed Claim Construction
                                       Proposed Claim            Terms
                                       Construction
             "to couple to" (cont'd)                                                       mechanical coupling of contacts to contact pads. Claim 1 of the patent-in-
                                                                                           suit recites that the DC ports are configured to couple to the power input
                                                                                           ports of the video game controllers - the direct physical coupling of two
                                                                                           types of ports.
             "electrically coupled     "electrically coupled     "electrically coupled     Intrinsic Evidence: The written description and drawings of the '848
             to"                       to" means directly or     to" means directly or     patent support NYKO's construction of the claim language. For example,
                                       indirectly connected to   indirectly electrically   at least the following sections support the claim construction:
                                       for the purpose of        connected to
                                       energy transfer.                                    Claim 3 recites "a current detector electrically coupled to the plurality of
                                                                                           DC ports" and "an indicator electrically coupled to the current detector."
                                                                                           [‘848 patent, Claim 3 (emphasis added)].

                                                                                           See ‘848 patent, FIGS. 15-18, 19b, 19c, 21-23b.

                                                                                           "[T]he LEDs 550, 552 may be electrically coupled to a current detector
                                                                                           521 (see Fig. 22) which provides the signals to illuminate the LEDs." ['848
                                                                                           Patent, col. 14, lines 25-27.]
                                                                                                                                                                                                                  #:2115




                                                                                           "As can be seen in Fig. 22, the charging station (or charger base) 510
                                                                                           includes 35 electrical contacts 520 that are adapted to be electrically
                                                                                           coupled with the accessory device 526 via the adapter 516. This way, the
                                                                                           charging station 510 is capable of supplying the power received from a
                                                                                           power adapter or a power supply to the accessory device 526 (e.g., for
                                                                                           charging)." ['848 Patent, col. 14, lines 33-39.]

                                                                                           Extrinsic Evidence: The following is exemplary extrinsic evidence, in
                                                                                           addition to other extrinsic evidence with Nyko's claim construction
                                                                                           briefing, such as expert testimony.

                                                                                           McGraw-Hill Dictionary of Electrical and Computer Engineering (2004),
                                                                                           [electricity] "couple": v. to connect two circuits so signals are transferred
                                                                                           from one to the other. [Quigley Decl., Exh. G at 124.]


                                                                                                                                                                           7
                                                                                                                                                                               Case 2:12-cv-03001-GAF-VBK Document 105-2 Filed 04/09/13 Page 25 of 178 Page ID




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             Claim Language          NYKO's Preliminary   Defendants’ Proposed   Evidence in Support of NYKO's Proposed Claim Construction
                                     Proposed Claim       Terms
                                     Construction
             "electrically coupled                                               Dictionary of Scientific and Technical Terms (McGraw-Hill 2003) -
             to" (cont'd)                                                        [electricity] "couple": v. To connect two circuits so signals are transferred
                                                                                 from one to the other. [Quigley Decl., Exh. F at 501.]

                                                                                 Dictionary of Scientific and Technical Terms (McGraw-Hill 2003) -
                                                                                 [electricity] "coupling": n. A mutual relation between two circuits that
                                                                                 permits energy transfer from one to another, through a wire, resistor,
                                                                                 transformer, capacitor, or other device. [Quigley Decl., Exh. F at 501.]

                                                                                 ASTM Dictionary of Engineering Science & Technology (2005),
                                                                                 "coupling": two electric circuits are said to be coupled to each other when
                                                                                 they have an impedance in common so that a current in one causes a
                                                                                 voltage in the other. [Quigley Decl., Exh. D at 148.]

                                                                                 In Mems Tech. Berhad, the Court found that there was no special meaning
                                                                                 of "electrically coupled" in the intrinsic evidence and that the appropriate
                                                                                 construction was the plain and ordinary meaning of "electrically coupled,"
                                                                                 which the Court held to be "arranged so that electrical signals may be
                                                                                                                                                                                                        #:2116




                                                                                 passed either directly or indirectly via intervening circuitry, from one
                                                                                 component to another." Mems Tech. Berhad v. ITC, 447 Fed. Appx., 142,
                                                                                 151 (Fed. Cir. 2011).




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                         EXHIBIT K
                                     #:2118
                                                             CERTIFIED
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                                                                28 of 178 Page ID

                             UNITED STATES DISTRICT COURT

                                            CENTRAL DISTRICT OF CALIFORNIA



             NYKO TECHNOLOGIES, INC., a                                         }
             California Corporation,                                            }
                                                                                }
                                             Plaintiff,                         }
                                                                                }
                                             v.                                 } NO. CV12-03001-GAF-VBK
                                                                                )
             ENERGIZER HOLDINGS, INC. a                                         }
             Missouri Corporation, EVEREADY                                     }
             BATTERY COMPANY, INC., a                                           }
             Delaware Corporation, and                                          }
             PERFORMANCE DESIGNED PRODUCTS                                      }
             LLC, a California Limited                                          }
             Liability Company,                                                 }
                                                                                }
                                             Defendants.                        )
             --~~~~~~~~~~~~~~~>




                          (THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL.)


                                                     DEPOSITION OF AMIR NAVID

                                                              January 30, 2013




             Shana K. Clifford, CSR No. 10154

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                                    #:2119


 09:24    1   you're stating the date, so I -- it's not a date

          2   that I'm giving.    So I'm not quite sure what the

          3   exact date of it was, but I do recall being deposed.

          4       Q     Okay.    Do you recall whether your duties

 09:24    5   have changed since -- at Nyko have changed since

          6   October of 2008?

          7       A     I would say in general it's -- it's the

          8   same duties.   Obviously, you know, I'm involved

          9   with, you know, different aspects of the business as

 09:25   10   far as it relates to the product and product

         11   development and, you know, product from conception

         12   to -- to bringing it to market, final product.            So I

         13   would say in general, it's the same -- same function

         14   at the company.

 09:25   15       Q     Okay.    Has -- has your title or position

         16   changed since October of 2008?

         17       A     Since 2008, I don't believe so.           I think

         18   if -- it would be similar, if anything.          It would

         19   have been something product development manager to

 09:25   20   VP of product development, if anything.          But I'm not

         21   sure if, by 2008, I may have already been -- I may

         22   have already had my new title.

         23       Q     What is your official title at this time?

         24       A     Vice president of product development.

 09:26   25       Q     One of your declarations says vice


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                                    #:2120


 09:46    1   actual invention, not necessarily how it looks.

         2              So whether or not it's a charging stand --

         3    I mean, is your question whether or not it was --

         4    you know, it's a charging system.         It's a charging

 09:46   5    device, what we -- typically is called a charge base

         6    or a charge station.     These are common terms that

         7    are used for it.    And, you know, we innovated in

         8    that field, as it's very well documented and known.

         9    And we've used and popularized these terminologies,

 09:46   10   both "charge station," "charge base."          These are

         11   things that we've sold very -- a lot of units of and

         12   have popularized in the market.         They've become

         13   common terms to use.     As far as "charging stand," I

         14   mean, I don't understand really.

 09:46   15       Q     BY MR. HANLE:      Using your terms, are you

         16   aware of any charging stations or charging bases

         17   that were on the market as of March 7, 2007?

         18       A     I don't recall --

         19             MR. HASAN:     Objection as to form.

 09:46   20             (Request for clarification by the

         21             deposition officer.)

         22             THE DEPONENT:      I don't recall exactly what

         23   was there at this point.      It's -- a lot of time has

         24   passed, so --

 09:47   25       Q     BY MR. HANLE:      Did you do any


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 11:12    1   see if we can get it on screen here.

          2               If the videographer could tell us if this

          3   is showing up on screen.

          4               I want you to point to the structures on

 11:12    5   the base.

          6       A       The structures on the base?

          7       Q       As that claim term is used.        So --

          8               MR. HASAN:   Objection as to form.

          9               Go ahead.

 11:13   10               MR. HANLE:   Okay.      So is that -- is that

         11   showing up?

         12               VIDEOGRAPHER:     He's going to have to hold

         13   it up.

         14       Q       BY MR. HANLE:     Can you hold that up and

 11:13   15   point to the structures on the base.

         16       A       (Complying.)

         17       Q       So what you're pointing to are the --

         18   they're sort of a clear plastic structure; is that

         19   right?

 11:13   20       A       That's correct.

         21       Q       And so each one of those is a structure on

         22   the base; is that correct?

         23       A       Is a structure on the base?        It's a pair

         24   of structures, yes.      So the top and bottom, kind of

 11:13   25   the docking bay --


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 11:54    1       A     Okay, sir.

          2       Q     Page 8.    And starting at the bottom,

          3   paragraph 18, I'm going to read the paragraph.            It's

          4   short.

 11:54    5                  "There are secondary considerations of

          6             nonobviousness as well that support the

          7             validity of my patent.        The patent

          8             covered" -- excuse me -- "the product

          9             covered by the patent has enjoyed

 11:55   10             tremendous commercial success, and it has

         11             received positive reviews for the patented

         12             features."

         13             Do you see that?

         14       A     Mm-hmm.

 11:55   15       Q     What do you mean by "the patented

         16   features"?

         17       A     Well, the novel features of the design,

         18   which -- which support the controller.          So -- and

         19   guide it towards a jack, a direct-connecting jack

 11:55   20   that's located in between those two structures

         21   that's holding it and removing the need for a cable.

         22   So it's a very clean finish.        It holds the

         23   controller.   It holds it in the direction where you

         24   can easily remove it.     So those are all what I

 11:55   25   consider to be novel features.


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                                    #:2123


 11:55   1            Q    Are there any other novel features that

         2    you can think of at this time?

         3        A        The fact that it charges multiple

         4    controllers.     The fact that you don't need to have

 11:56   5    the console on.     The fact that you don't have any

         6    cables around.     Fact that it has a small footprint.

         7        Q        Any others that you can think of at this

         8    time?

         9        A        I mean, the majority is related to the

 11:56   10   structures that guided into it and hold it and

         11   charge it directly without a use of a cable.

         12        Q       And in that sentence you reference

         13   positive reviews.     Who -- whose reviews are you

         14   referring to there?

 11:56   15        A       Those positive reviews would be from

         16   users.      Obviously, you know, this kind of charging

         17   device became very popular after we took this step

         18   and made it this -- basically this unique way where

         19   it eliminated the need for you to keep your system

 11:57   20   on; and also charges everything neatly; and also

         21   allows you, actually, to have a backup controller

         22   where you have one charging while you're using

         23   another one and you could rotate in between them.

         24                So, you know, the positive reviews are --

 11:57   25   at this point, you know, we're talking about


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 02:01    1         A    Okay.

          2         Q    Are you familiar with that term, "charge

          3   base 2"?   It's a term you used earlier in the

          4   deposition.

 02:01    5         A    Sure.   It's the name of the product.

          6         Q    Okay.   And is it true that figures 16

          7   through 23 depict charge base 2?

          8              MR. HASAN:    Objection as to form.         Asked

          9   and answered.

 02:01   10              THE DEPONENT:     Yeah, I think -- I've

         11   answered that, yes.     This -- this is charge base 2.

         12   It has the same underlying design as the original

         13   charge base.

         14         Q    BY MR. HANLE:     Okay.      And --

 02:02   15              You know, Counsel, I'm going to ask -- I

         16   know that you're holding your hand up so the witness

         17   will pause to object -- to allow you to object to

         18   the question.   I ask you not to hold your hand up.

         19   It could be perceived as coaching the witness.            So

 02:02   20   I'd ask you not -- you've done it repeatedly, and

         21   I'd just ask you not to do it.

         22              MR. HASAN:    I'm holding the hand up so you

         23   don't interrupt him when I see you starting to speak

         24   up.   That's why I'm holding my hand up.

 02:02   25              MR. HANLE:    Okay.      I'd ask you --


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                                         AMIR NAVID
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 02:22    1   charging system 400 includes a base 402...."

          2              Do you see that?

          3        A     Yes, I see it.

          4        Q     Okay.   So now let's take a look at

 02:22
   :22   5    figure 22.    And here would you agree that the

         6    charger base is what's inside of the box that says

         7    "charger base"?

         8               MR. HASAN:    Objection as to form.

         9               (Mr. Buccigross entered the room.)

 02:23   10              THE DEPONENT:     Yes, except it appears just

         11   like the other diagram where some of the parts are

         12   not quite accurate.     You have the adapter as a

         13   separate portion to the base.        And that's part of

         14   the charger base.    It's included with the charger

 02:23   15   base.    You can't use the charge base without it.

         16   That's a primary core function, is to be used with

         17   that charge base.    It's part of the charge base.           So

         18   it should be in this block diagram.

         19        Q     BY MR. HANLE:     And --

 02:23   20        A     The adapter.

         21        Q     Have you informed the patent office that

         22   the figure is incorrect?

         23              MR. HASAN:    Objection as to form.

         24              THE DEPONENT:     I have not.

 02:23   25              MR. HASAN:    Misstates the witness'


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 02:59    1   the base, rather than lying flat on a table, for

          2   example -- where the base is in a vertical

          3   orientation, such as attached to a wall?

          4             MR. HASAN:     Objection as to form.

 02:59    5             THE DEPONENT:      May I read this for a

          6   second?

          7       Q     BY MR. HANLE:      Sure.

          8       A     "While the" --

          9             I'm sorry.

 03:01   10             So based on this statement, it's -- it's

         11   saying that it can be in either vertical or

         12   horizontal orientation.      It doesn't say anything as

         13   far as it -- at least the portion that I've read, as

         14   far as it being mounted on a wall, as you say.

 03:01   15       Q     Okay.    But whether it's vertical --

         16   oriented vertically or horizontally --

         17       A     Mm-hmm.

         18       Q     -- the part that has the docking bays and

         19   electrical leads is still a base, whether it's

 03:01   20   oriented horizontally or vertically; is that right?

         21             MR. HASAN:     Objection as to form.

         22             THE DEPONENT:      Is it still a base?        Yes.

         23   The entire unit is a base.

         24       Q     BY MR. HANLE:      Okay.      And that's whether

 03:01   25   it's oriented vertically or horizontally?


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                                         AMIR NAVID
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                                    #:2127


 03:05    1   Yes, obviously, taken out of the context of, you

          2   know, what's described in the first paragraph of the

          3   field of invention, yes.      If you take it out of

          4   context, I could see that.

 03:06    5             But the very first paragraph of this

          6   document we filed is:

          7                  "...present invention relates to a

          8             charging station for a consumer

          9             electronics device, more particularly, to

 03:06   10             a charging station for one or more

         11             hand-held controllers for a video game

         12             console."

         13       Q     BY MR. HANLE:      Okay.      But the claims

         14   aren't limited to a charging station for a video

 03:06   15   game controller; correct?

         16             MR. HASAN:     Objection as to form.

         17             THE DEPONENT:      Really I'm not an expert,

         18   but I would say if a document that's filed starts

         19   with a paragraph that it's a device that's for a

 03:06   20   charging station for a video game controller, that

         21   that's what we're referring to.          That's the best

         22   answer I can give.    I'm sorry.

         23       Q     BY MR. HANLE:      So which is it?       Do you

         24   look at the claims, or do you look at the written

 03:07   25   description?


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 03:07   1               MR. HASAN:    Objection as to form.

         2    Objection as to form.

         3               THE DEPONENT:     I think you look at the

         4    claims and also what -- what we're trying to patent

 03:07   5    here.    And it's very clear.       The field of invention

         6    is relating "to a charging station for a consumer

         7    electronic device, more particularly, a charging

         8    station for one or more hand-held controllers for

         9    video game consoles."     I think it's very clear.

 03:07   10        Q     BY MR. HANLE:     Okay.      Yeah, I do too.     I

         11   think paragraph 9 makes it perfectly clear that this

         12   is describing a charging station for other accessory

         13   devices, not -- not limited to video game

         14   controllers.

 03:07   15              Do you disagree with that statement?

         16              MR. HASAN:    Objection:      Argumentative.

         17              THE DEPONENT:     I'm sorry, what -- what

         18   paragraph?    9?

         19        Q     BY MR. HANLE:     Paragraph on page 9 that we

 03:07   20   read --

         21        A     Okay.

         22        Q     -- that says it's about all kinds of

         23   consumer electronics devices.        Do you want to

         24   disregard that one?

 03:08   25        A     But that's not a description of what


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 03:08    1   we're -- I mean, what -- it's the first paragraph,

          2   what this field of invention, right --

          3        Q    Uh-huh.

          4        A    -- not the background, okay, the field of

 03:08    5   invention is talking specifically about a charging

          6   station for handheld controllers.

          7        Q    So --

          8        A    I'm not -- I'm not a patent lawyer.            I'm

          9   not going to claim to know why this is the way, but

 03:08   10   I wouldn't say that we would disregard something

         11   when it's very obvious right there.         I mean, if

         12   you're going to say, "Okay, in this line it says

         13   that" -- you know, I'm not a patent lawyer.            I'm not

         14   sure what the legalities of that are.          I believe,

 03:08   15   yes, you're saying that.      But I also think that here

         16   it's very clear what we're trying to patent.

         17        Q    Okay.    Take a look at figure 1.

         18        A    Mm-hmm.    On which document?

         19        Q    8, Exhibit 8.

 03:08   20        A    Okay.    Yes, sir.

         21        Q    Would you agree that in figure 1 -- as

         22   shown in figure 1, there are no DC ports on the

         23   base?

         24        A    Yes.

 03:09   25        Q    Would you agree that -- and I'm looking at


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 03:09    1   figure 2 -- the DC ports are on the adapter 16?

          2             MR. HASAN:     Objection as to form.

          3             THE DEPONENT:      Yes.

         4        Q     BY MR. HANLE:      And would you agree that in

 03:09   5    figure 3 the DC ports are still on the adapter 16,

         6    which has now been dropped into the recess on the

         7    base?

         8              MR. HASAN:     Objection as to form.

         9              THE DEPONENT:      We're coming back to the

 03:09   10   same thing, and I -- I think I understand what

         11   you're hoping to accomplish, but the truth is this

         12   is a part of the base; right?

         13       Q     BY MR. HANLE:      Okay.      It's --

         14       A     And we've clarified that; right?           That

 03:09   15   this is a part of the base.         It ships with it.     It

         16   cannot be used without it.       So this is, yes, a DC

         17   port on the base.

         18        Q    Okay.    I didn't ask about it on the base.

         19   I asked about -- asked is the DC port, as shown in

 03:10   20   figure 3, on the adapter 16, or did it somehow

         21   magically move off the adapter to some other part?

         22             MR. HASAN:     Objection --

         23             THE DEPONENT:      It's on the base.

         24             MR. HASAN:     -- argumentative.

 03:10   25             THE DEPONENT:      It's a piece of the base.


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 03:10    1           Q     BY MR. HANLE:     Is it on the adapter?

          2          A      The adapter is a piece of the base.

          3          Q      Is it --

          4          A      So yes, it's on the adapter, which is a

 03:10    5   piece of the base.

          6          Q      Okay.

          7          A      Is that what you want?

          8          Q      So the DC --

          9                 MR. HASAN:   Objection --

 03:10   10          Q      BY MR. HANLE:     -- port is on the adapter,

         11   which is a part of the base.           Is that your

         12   testimony?

         13                 MR. HASAN:   Objection.      Objection as to

         14   form.       You're yelling at the witness.      You're

 03:10   15   badgering the witness.        It's on the video, my

         16   friend.       It's on the video.

         17                 MR. HANLE:   Be glad to look at that later.

         18                 MR. HASAN:   You know, you're trying to

         19   talk fast so I can't insert my objection.             You're

 03:10   20   trying to cut me off.        You're cutting the witness

         21   off.    Please don't do this; okay?         Don't do this.

         22                 MR. HANLE:   Okay.

         23          Q      So just to be sure I understand your

         24   testimony --

 03:10   25          A      Sure.


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 03:10    1           Q     -- the DC port is still on the adapter,

          2   but your belief is that the adapter is part of the

          3   base.       Is that your testimony?

          4                 MR. HASAN:   Objection as to form.

 03:11    5                 THE DEPONENT:     The adapter is a part of

          6   the base.

          7         Q       BY MR. HANLE:     Okay.      And let's focus on

          8   the first part of the question.             But the DC port is

          9   on the adapter.       Can -- is that yes or no?       Can you

 03:11   10   answer that yes or no?

         11                 MR. HASAN:   Objection as to form.

         12                 Answer it how you'd like.

         13                 THE DEPONENT:     So the DC port is on the

         14   base because the adapter is part of the base.            Does

 03:11   15   that answer your question?

         16         Q       BY MR. HANLE:     No, but we'll -- we'll move

         17   on.

         18         A       Oh --

         19         Q       So the next figures, figures 4A, B, and C,

 03:11   20   those all show the adapter alone and don't show any

         21   other part of the base; correct?

         22         A       Yes.

         23         Q       Okay.   And each -- and in figure 4A the DC

         24   port is on the adapter; correct?

 03:11   25         A       Which is a part of the base, yes.


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 03:11    1       Q     Which is -- but the base isn't shown in

          2   this figure.

          3       A     Yes, but it's shown in other figures, like

          4   figure 3, where it's sitting on the base.

 03:11    5       Q     And in figure 4C the DC port is on the

          6   adapter; correct?

          7       A     I'm sorry.     Can you repeat that question,

          8   please?

          9       Q     Yeah.    It's just, in figure 4C --

 03:12   10       A     Okay.

         11       Q     -- the DC port is on the adapter; correct?

         12       A     Yes, it's on the adapter, which is a part

         13   of the charge base.

         14       Q     Okay.    And in figure 4B that's showing the

 03:12   15   bottom of the adapter; correct?

         16       A     The bottom -- I mean, that's relative.             It

         17   depends which way you're looking at it.          So yes,

         18   it's one side of it.

         19       Q     Well, it's the bottom in the orientation

 03:12   20   as the charging device is shown in figures 1, 2, and

         21   3; is that right?

         22       A     It could be.

         23       Q     Could be or it is?        It's your patent, your

         24   application.

 03:12   25             MR. HASAN:     Objection as to form.


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 03:19    1             couple to and provide DC power to a power

          2             input port of a respective one of the

          3             plurality of video game controllers."

          4             You see that language?

 03:19    5       A     I do.

         6        Q     And I want to focus on the language "to

         7    couple to."   And my question is did you -- when you

         8    approved this patent application, did you intend a

         9    special meaning of the phrase "to couple to"?

 03:19   10             MR. HASAN:     Objection as to form.

         11             THE DEPONENT:      Special meaning -- to me,

         12   what "couple to" means -- and when I reviewed it,

         13   where I felt this was sufficiently covering it --

         14   coupling means that they mate.          So a plug, a direct

 03:19   15   connection, where, you know, it's mating.           So

         16   that's -- that's what I meant by it.

         17       Q     BY MR. HANLE:      Okay.      And is that your --

         18   is that your understanding of the term "to couple

         19   to" outside of the context of this patent?

 03:20   20             MR. HASAN:     Objection as to form.

         21             THE DEPONENT:      Typically when I will come

         22   across it, yes.    It's -- it's where something is

         23   directly contacting something.

         24       Q     BY MR. HANLE:      So -- so it's your belief

 03:20   25   that the term "to couple to," regardless of the


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 03:20    1   context used, means direct coupling without a --

          2   without a cable in between?

          3       A     Absolutely, yeah.

         4        Q     Okay.    And what about without an adapter

 03:20   5    in between?   Would "to couple to" include with an

         6    adapter in between?

         7              MR. HASAN:     Objection as to form.

         8              THE DEPONENT:      No.    So again, the main

         9    thing is that it doesn't have a cable, which is an

 03:20   10   elongated, messy wire.      Coupling is something -- a

         11   physical part going into the direct jack that's the

         12   power jack and powering it.

         13             So an adapter -- what you're calling an

         14   adapter, which is a piece of it, which is the DC

 03:20   15   jack, still is inserted directly into the actual

         16   controller the device is charging.         So I don't think

         17   an adapter is the same thing as tethering it to a --

         18   to a cable.

         19       Q     BY MR. HANLE:      So "to couple to" would

 03:21   20   include having an adapter in between two components

         21   but would exclude having a cable in between two

         22   components; is that right?

         23             MR. HASAN:     Objection as to form.

         24   Misstates the testimony.

 03:21   25             THE DEPONENT:      So again, what I believe


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 03:21   1    coupling is, is when a part of the base is inserted

         2    into -- directly into the jack of the device that it

         3    is charging.

         4        Q     BY MR. HANLE:      Okay.      And I want to focus

 03:21   5    on adapter.

         6        A     Okay.

         7        Q     And so -- and cables.          You mentioned

         8    connecting by cables, in your view, would not be

         9    coupling; right?

 03:21   10       A     The whole purpose of this invention is to

         11   get rid of cables.    I think that's very clear.

         12       Q     I don't want to know about the purpose of

         13   the invention.    I want to know about coupling.

         14       A     Okay.

 03:21   15       Q     Only coupling.      For the next 10 minutes

         16   we're going to talk about only coupling.

         17             MR. HASAN:     No, no.

         18             THE DEPONENT:      I'd love to answer all your

         19   questions.

 03:22   20             MR. HASAN:     Objection as to form.

         21             And you answer how you need to answer.

         22             Don't say for the next 10 minutes we're

         23   going to sit here with -- no.

         24             You answer the question how you --

 03:22   25             Please don't tell him these things.            You


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 03:22    1   know it's improper.

          2              MR. HANLE:    To tell him that I'm talking

          3   about coupling as opposed to something else?

          4              MR. HASAN:    For the next 10 minutes you're

 03:22    5   going to do this?    Come on.

          6       Q      BY MR. HANLE:     Okay.      So I just want to

          7   make sure it's clear that my questions are as to

          8   coupling; okay?    And I'm looking for what you meant

          9   by "coupling" and how you use the term; okay?

 03:22   10              And there's a -- and there's this concept

         11   of plain and ordinary meaning in construing claim

         12   terms.

         13       A      Mm-hmm.

         14       Q      And I want to know if we're using plain

 03:22   15   and ordinary meaning or some sort of special

         16   meaning.   So I'm really going to focus on the

         17   definition.   And I apologize for that preface, but I

         18   just -- that's the preface for my questions until

         19   further notice.

 03:22   20       A      Mm-hmm.

         21       Q      So the question now --

         22       A      Mm-hmm.

         23       Q      -- is -- is, based on your understanding

         24   of the term "to couple to" --

 03:22   25       A      Mm-hmm.


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 03:22    1       Q       -- does that include two parts coupling

          2   with an intervening adapter?

          3               MR. HASAN:   Objection as to form.         Asked

          4   and answered.

 03:23   5                THE DEPONENT:     So a coupling, in my

         6    eyes -- if what you're saying is an adapter -- now

         7    adapter, if it's a piece -- "adapter" has loose

         8    meanings.    I think that's my biggest problem, is you

         9    just say "adapter."      Adapter -- well, you know, a

 03:23   10   lot of things can be called an adapter.          If you have

         11   a piece of that base and that's directly engaging

         12   and going within the charging port of the other

         13   device, then that's what I mean.          That's what I mean

         14   as coupling.    You have a piece of that charge base

 03:23   15   directly connecting to the device that's being

         16   charged.

         17       Q       BY MR. HANLE:     Okay.      I don't want to --

         18   I'm not going to talk about in the context of

         19   this -- I'm going to take it outside of the context

 03:23   20   of this patent --

         21       A       Mm-hmm.

         22       Q       -- and just talk about your understanding

         23   of the word "couple to."

         24       A       Mm-hmm.

 03:23   25       Q       Is it your testimony that coupling --


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 03:23   1        A     Mm-hmm.

         2        Q     Forget about this patent for a moment.

         3        A     Yes, sir.

         4        Q     -- that coupling, to couple to, can

 03:24   5    include coupling through an adapter but would

         6    exclude connecting through a cable?

         7              MR. HASAN:     Objection as to form.         Asked

         8    and answered.

         9              THE DEPONENT:      So if we're not looking at

 03:24   10   it within the context of this, coupling still, to

         11   me, would mean something that has a direct

         12   connection.   Has cable versus adapter, all of these

         13   things you're talking about, especially outside of

         14   the context of this patent, makes no sense

 03:24   15   whatsoever.   What is an adapter?        Like I said, an

         16   adapter can be many things.

         17             To me, coupling, within this, outside of

         18   this, means that you have a direct connection; that

         19   two parts are coming and attaching directly to one

 03:24   20   another and it's mating.

         21       Q     BY MR. HANLE:      Okay.      And -- and so a

         22   direct connection may include connection through an

         23   adapter or may not, depending on the particular

         24   adapter; is that right?

 03:24   25             MR. HASAN:     Objection as to form.         Asked


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 03:24   1    and answered.

         2              THE DEPONENT:      So again, an adapter the

         3    way you intended, which I don't even know what that

         4    means -- and I've tried to explain that as far as

 03:25   5    what you keep calling an adapter is a piece of the

         6    actual charge base.     So if the charge base is

         7    directly engaging with the controller with a direct

         8    connection and it's mating, you have a male plug

         9    inserted into a female plug and it's charging the

 03:25   10   device, then that's what I understand as coupling.

         11       Q     BY MR. HANLE:      Okay.      You keep using the

         12   term "direct."

         13       A     Mm-hmm.

         14       Q     And that could cause confusion in the

 03:25   15   record because -- because "direct," as I understand

         16   it, would mean -- would mean there's no intervening

         17   pieces.   And so -- or I understand it.         Maybe I'm

         18   just dumb.

         19             So my question is, is -- and again, taking

 03:25   20   you outside of the context of this patent and

         21   talking about plain and ordinary meaning of "to

         22   couple to" --

         23       A     Coupling to -- may I answer?

         24             MR. HASAN:     Objection as to form.

 03:25   25       Q     BY MR. HANLE:      I'm not done with the


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 03:25    1   question yet.

         2                So to couple to, can that include

         3    connection through an adapter or not, depending on

         4    the particular configuration of the adapter?

 03:26   5                MR. HASAN:   Objection as to form.         Asked

         6    and answered.

         7                THE D
                              DEPONENT:     An adapter, especially

         8    outside the context of what you're talking about,

         9    can be many things.      So I have no idea what you mean

 03:26   10   by that.    I can't accurately answer your question.

         11   But as far as how I interpret coupling, it means

         12   that you're directly connecting a male jack into a

         13   female jack.    So a part of that device, that

         14   invention connecting directly to the device that is

 03:26   15   charging.

         16       Q       BY MR. HANLE:     Okay.      Take a look at

         17   column 2 of your '848 patent.

         18       A       Yes, sir.

         19       Q       Okay.   And it -- starting at line 10,

 03:27   20   there's a statement:

         21                   "In one embodiment, the video game

         22               controller charging system further

         23               includes a current detector electrically

         24               coupled to the at least one DC port...."

 03:27   25               And I'll stop there for a moment.


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 03:27    1           A   Mm-hmm.

          2        Q      So in that case how is the current

          3   detector coupled to the DC port?          Is it through a

          4   cable or wire or -- or some other way?

 03:27    5               MR. HASAN:   Objection as to form.         Calls

          6   for a legal conclusion.

          7               THE DEPONENT:     So "In one embodiment, a

          8   video game controller charging system further

          9   includes a current detector electronically" --

 03:27   10               DEPOSITION OFFICER:       Excuse me.

         11               THE DEPONENT:     I'm sorry.     I should just

         12   read silently.   I just don't read silent.

         13        Q      BY MR. HANLE:     Do you have the question in

         14   mind?

 03:28   15        A      I don't think it defines it.        It just says

         16   it's connected to it.     So it's saying that it's

         17   connected to that DC port.

         18        Q      It says "coupled"; right?

         19        A      Yes, it says --

 03:28   20               MR. HASAN:   Objection as to form.

         21               THE DEPONENT:     Yes -- does it say

         22   "coupled"?    Yes, it says "coupled."

         23        Q      BY MR. HANLE:     Okay.      And so in this

         24   instance it's not specifying whether the coupling is

 03:28   25   direct or indirect; correct?


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 03:28    1       A     Direct or indirect.

          2             MR. HASAN:     Objection as to form.

          3             THE DEPONENT:      It -- it seems that it's

          4   direct.

 03:28    5       Q     BY MR. HANLE:      Okay.      And is that through

          6   a -- through a wire or some other way?

          7             MR. HASAN:     Objection as to form.

          8             THE DEPONENT:      It could be a particular

          9   component that sits in a -- you know, a PC, PCB,

 03:28   10   where it plugs into it.      It could be anything.        It

         11   just -- legal terminology here, it's -- it's open to

         12   interpretation.

         13       Q     BY MR. HANLE:      So it could include a wire

         14   connecting the current detector to the DC port?

 03:29   15             (Admonition by the deposition officer to

         16             speak one at a time.)

         17             MR. HASAN:     Objection as to form.

         18             Go ahead.

         19             THE DEPONENT:      I don't think we're in the

 03:29   20   business of what could; right?          I think what it's

         21   describing is that this port has a current detector

         22   on the circuitry that detects the current.

         23             So I'm not sure, you know, what you would

         24   like me to say for you, but I think it's open to

 03:29   25   interpretation.    I don't know specifically if it's


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 03:29    1   saying it's by a wire, it's on the PC board, or

          2   directed -- connect directly to the LED.           It's just

          3   saying that it can have a current detector in the

          4   circuit.

 03:29    5       Q      BY MR. HANLE:     And that current detector

          6   would be coupled to the DC port is what it says;

          7   right?

          8              MR. HASAN:    Objection as to form.

          9              THE DEPONENT:     That's -- that's what it

 03:29   10   says, yes.

         11       Q      BY MR. HANLE:     Okay.      And so this doesn't

         12   limit how it would be coupled.          It could be -- it

         13   could be directly, it could be through a wire, or it

         14   could be through some other way; is that right?

 03:30   15              MR. HASAN:    Objection as to form.

         16              THE DEPONENT:     It's open to

         17   interpretation.    I wouldn't want to guess whether or

         18   not it's indicating that it's direct or not.            I can

         19   just say, as far as our claim, as far as what my

 03:30   20   understanding was when we wrote those claims, that

         21   coupling, to me, means that.

         22       Q      BY MR. HANLE:     Okay.      We're not looking at

         23   claims right now.    We're looking at the written

         24   description, which you also either wrote or signed

 03:30   25   off on.


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 03:30    1             Do you understand that?

          2       A     I understand that.

          3       Q     Okay.    And so -- and so the terms, as used

          4   in the specification, the written description, can

 03:30    5   inform how we interpret the claim.         So that's why I

          6   want to have an understanding of the word "coupled

          7   to" as used here.

          8       A     Sure.

          9       Q     And so that's why it's very important.

 03:30   10             So -- so I guess my question to you --

         11       A     Mm-hmm.

         12       Q     Let's ask about the commercial embodiment

         13   of what's described here.

         14       A     Mm-hmm.

 03:30   15       Q     Is there a current detector coupled to the

         16   DC port in the commercial embodiment of this

         17   invention, as described?

         18       A     Is it coupled to?         There's -- there's,

         19   obviously, that on there.      Whether or not it's

 03:31   20   connected via cable or it's as a component simply on

         21   a PC board, I would imagine it's something on a PC

         22   board, not necessarily by a wire.

         23       Q     Okay.    So you don't know, in the

         24   commercial embodiment, whether the current detector

 03:31   25   is -- is coupled by a wire or some other way to the


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 03:31   1    DC port?    Is that your testimony?

         2        A       I -- I expect that it's on a PC board.

         3    That's my testimony.

         4        Q       Is it -- but you don't know?

 03:31   5        A       I expect that it's on the PC board.          It

         6    wouldn't be -- it shouldn't be on a wire.            And I'm

         7    not an electrical engineer.           I'm a designer.   I'm a

         8    project manager, so I manage it.          I don't

         9    specifically -- we have engineers for that.

 03:31   10       Q       Yeah.    The only -- the only reason I was

         11   trying to zero in, you said "expect."           And it wasn't

         12   clear to me whether that means you're guessing or

         13   not, which we don't want you to do.          So --

         14       A       Okay.    Yeah.

 03:32   15       Q       So that's why I was trying to bury down.

         16               So that sentence goes on, and it says,

         17   "...and an indicator electrically coupled to the

         18   current detector."

         19               So do you have an understanding -- first

 03:32   20   of all, in the commercial embodiment is there an

         21   indicator electrically coupled to the current

         22   detector?

         23       A       Yes.    It's part of the circuit.

         24       Q       And is it connected through a wire or some

 03:32   25   other way?


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 03:32    1               MR. HASAN:   Objection as to form.

          2               THE DEPONENT:     Is the LED or the current

          3   detector?

          4           Q   BY MR. HANLE:     Well, it says the indicator

 03:32    5   is coupled to the current detector.         So I want to

          6   know, that coupling, is it through a wire or through

          7   something else?

          8               MR. HASAN:   Objection as to form.

          9               THE DEPONENT:     I expect that it's on the

 03:32   10   PC board.

         11               MR. HASAN:   Mr. Hanle, can we take a break

         12   when you get a chance or -- when you're done with

         13   your questioning -- your line of questioning.

         14               MR. HANLE:   Okay.

 03:33   15               MR. HASAN:   I've got -- I have to use the

         16   restroom, but it's not -- we can wait five minutes

         17   or --

         18               MR. HANLE:   Yeah, we're close to a natural

         19   stopping point.

 03:33   20               MR. HASAN:   Go ahead.

         21               MR. HANLE:   Thank you, Counsel.

         22           Q   Okay.   Take a look at the same column.

         23   And it's line 50 -- excuse me -- line 51.           And it

         24   states, "...and a power input for connecting to a

 03:33   25   power supply, the power input electrically coupled


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 03:33    1   to the at least one male mini-USB connector...."

          2             Do you see that?

          3       A     Mm-hmm.

          4       Q     And again, the use of the word "coupling."

 03:33    5   How is the power input coupled to the male mini USB

          6   connectors?

          7             MR. HASAN:     Objection as to form.

          8             THE DEPONENT:      Through the PC board.

          9       Q     BY MR. HANLE:      Okay.      And so the power

 03:33   10   input is -- attaches to a PC board; is that right?

         11       A     Mm-hmm.

         12       Q     And then the male mini USB connectors, do

         13   they connect directly to the PC board or through

         14   some wiring?

 03:34   15       A     Directly to the PC board.

         16             MR. HASAN:     Objection as to form.

         17       Q     BY MR. HANLE:      And so in that case the

         18   power supply is not directly coupled to the mini USB

         19   connectors because there's an intervening PC board;

 03:34   20   is that correct?

         21             MR. HASAN:     Objection as to form.

         22             THE DEPONENT:      It depends.      I understood

         23   your question to be how the USB jack is coupled to

         24   the device itself.     And it's soldered directly onto

 03:34   25   the PC board.   Did I misunderstand --


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 03:34    1               MR. HASAN:   Objection --

          2               THE DEPONENT:     -- your question?

          3               MR. HASAN:   Objection as to form.

          4       Q       BY MR. HANLE:     You said the USB -- the USB

 03:34    5   port is soldered directly to the --

          6       A       Depends on which version of it you're

          7   talking about, obviously.       But, you know, we

          8   have -- you know, what this patent covers is a lot

          9   of things.    It's not just whether or not it's a USB.

 03:35   10   It could be a jack.      It could be anything.

         11               So I'm not sure if I'm answering your

         12   question.

         13       Q       Yeah, the question is to do with just this

         14   word "coupling."

 03:35   15       A       Mm-hmm.

         16       Q       And so the question is the -- between the

         17   power input --

         18       A       Mm-hmm.

         19       Q       -- and the -- and the male mini USB

 03:35   20   connectors --

         21       A       Mm-hmm.

         22       Q       -- there's a board -- there's a circuit

         23   board in between those two; right?

         24       A       Yeah.   I'm sure there's a lot of different

 03:35   25   components in between.


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 03:35    1               MR. HANLE:   Okay.

          2               MR. HASAN:   Ready or --

          3               MR. HANLE:   Yeah.

          4               MR. HASAN:   Okay.

 03:35    5               MR. HANLE:   That's fine.

          6               MR. HASAN:   Sure.

          7               VIDEOGRAPHER:     We're off the record at

          8   3:35.

          9               (Recess taken.)

 03:49   10               VIDEOGRAPHER:     We're back on the record at

         11   3:49.

         12           Q   BY MR. HANLE:     Okay.      So we were talking

         13   about some of the terms that are used in the claims

         14   of the '848 patent, which is Exhibit 1.          And the

 03:49   15   first element of claim 1, in column 15, which is the

         16   second-to-last page -- the first element after the

         17   preamble is "a base."      And -- give you a minute

         18   to --

         19           A   There we go.

 03:50   20           Q   -- get there.

         21           A   Okay, sir.

         22           Q   Do you see that?

         23           A   Where?

         24           Q   So column 15, claim 1.

 03:50   25           A   Okay.


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 03:50    1       Q       First element after the preamble, line 34,

          2   "a base."

          3               Do you see that?

          4       A       Yes, sir.

 03:50    5       Q       Okay.   So again, I want to get the plain

          6   and ordinary -- your understanding of the plain and

          7   ordinary meaning of the term "base" outside of the

          8   context of this patent.       And then we can talk about

          9   what it means in the context of the patent.

 03:50   10               So -- so --

         11               MR. HASAN:    Objection as to form.

         12               MR. HANLE:    I haven't asked anything yet.

         13       Q       So question -- question is, is -- so let's

         14   take, for example, this table.           What would you

 03:50   15   consider the base of this table?

         16               MR. HASAN:    Objection as to form.

         17               THE DEPONENT:     I -- I'm sorry, but I don't

         18   understand how that relates to the patent at hand

         19   and what we're trying to do.         Table -- I'm not in

 03:50   20   the business of making tables.           I'm not an expert in

         21   tables.   What is considered a base or a top of it is

         22   not my expertise.    I don't claim that it's my

         23   expertise.

         24               In the context of this patent, what a base

 03:51   25   is, is the entire charging device.           It's the


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 03:51    1   charging system.

          2       Q     BY MR. HANLE:      Okay.      I asked you a

          3   different question, so please answer my question.

          4   And if the answer is "I don't know," feel free to

 03:51    5   say so.

          6       A     I don't know.      I'm not a table specialist.

          7   So I don't know, outside the context of this --

          8       Q     Okay.    So --

          9       A     -- what "a base" could mean.

 03:51   10       Q     What about the chair you're sitting in?

         11   What would you consider the base of that chair?

         12             MR. HASAN:     Same objections.

         13             THE DEPONENT:      I'm not a carpenter.        I

         14   don't build chairs.     I have no idea what a base is

 03:51   15   or if there is a base, per se, part on this chair.

         16   I don't know.

         17       Q     BY MR. HANLE:      Okay.      So as a person

         18   skilled in the art, you have no understanding of the

         19   term --

 03:51   20       A     In the skill of the art, as far as

         21   applying to this --

         22       Q     Just let me finish the question.           You're

         23   interrupting me, and the court reporter is going to

         24   kill us all.

 03:51   25             So -- so are you saying that outside of


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 03:51   1    the context of this patent, you have no independent

         2    understanding of the meaning of the term "base"?             Is

         3    that -- is that what you're telling me?

         4               MR. HASAN:    Argumentative.       Objection as

 03:52   5    to form.

         6               THE DEPONENT:     I'm telling you that --

         7               MR. HASAN:    Misstates the testimony.

         8               THE DEPONENT:     What I'm saying is that

         9    outside the context of this patent, the word can

 03:52   10   have different meanings.

         11        Q     BY MR. HANLE:     And with respect to the

         12   chair you're sitting on, do you have an

         13   understanding of what part of it would be the base?

         14              MR. HASAN:    Objection as to form.

 03:52   15              THE DEPONENT:     I don't.     I'm not a -- I'm

         16   not a chair specialist.      I have no idea which part

         17   would be considered a base of a chair or if any part

         18   of a chair is considered a base.

         19        Q     BY MR. HANLE:     So is the -- is the cord a

 03:53   20   part of the base in your invention?         The power cord?

         21              MR. HASAN:    Objection as to form.

         22              THE DEPONENT:     Is the cord a part of the

         23   base?

         24       Q      BY MR. HANLE:     I think you -- the reason I

 03:53   25   ask that, you said -- I understood you to say that


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 03:53   1    the entire charging system is the base.          And so --

         2        A     What I mean is the actual physical

         3    charging station portion of it, the entire portion.

         4    You can have -- and we define that.         As far as

 03:53   5    having a power cable that is detachable or external

         6    AC, that's something else.       But what -- within the

         7    context of this patent, what we're referring to is

         8    the charger and all its parts.

          9       Q     Okay.    So your patent also uses the

 03:54   10   term -- in fact, several times -- and we pointed it

         11   out earlier.    It says -- it uses, in three different

         12   paragraphs of claim 1, "at least one structure on

         13   the base."

         14       A     Mm-hmm.

 03:54   15       Q     And so I'm -- can you -- can you show me,

         16   in the figures of your patent, what is referred to

         17   by "the structure on the base"?          And then I'll refer

         18   you to figure 11.

         19       A     Figure 11?     Okay.

 03:54   20       Q     Yeah.    And --

         21       A     So what -- what I construe as being the

         22   base on this?    Is that what you want me to say?

         23       Q     No.    That was -- my question was directed

         24   to the word "structure."

 03:54   25       A     Okay.


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 03:54   1          Q    So it says, "at least" -- and I can read

         2    it:   "at least one structure on the base for

         3    providing physical support to the plurality of video

         4    game controllers...."

 03:55   5               Could you point to what is referred to by

         6    the phrase "at least one structure on the base for

         7    providing physical support."

         8          A    So it would be 406.       These are the

         9    structures, the support structures.
                                               s

 03:55   10         Q    Okay.    So the structures, as used in your

         11   patent, are 406?

         12         A    I believe the terminology used is "support

         13   structures" where you took it out of that paragraph.

         14   And yes, those are the support structures.

 03:55   15         Q    Okay.    The claim language just -- and I'll

         16   read it again -- is "at least one structure on the

         17   base for providing physical support to the plurality

         18   of video game controllers...."

         19         A    Yes.    So that's --

 03:55   20              MR. HASAN:    Objection for an incomplete

         21   reading.   Are you going to read the rest of it,

         22   Steve, or you're going to -- I don't know if you're

         23   intending to do that, but --

         24              MR. HANLE:    All I want to know is about

 03:55   25   the structures on the base for providing support to


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 03:55    1   the plurality of video game controllers.

          2               MR. HASAN:   Asked and answered.

         3                THE DEPONENT:     So I've pointed them out

         4    and mentioned that, in figure 11, these would be

 03:56   5    406.

         6           Q    BY MR. HANLE:     Okay.      And is each one of

         7    those a separate structure?

         8                MR. HASAN:   Objection as to form.

         9                THE DEPONENT:     Are they each a separate

 03:56   10   structure?

         11          Q    BY MR. HANLE:     Yes.

         12          A    Yes.

         13          Q    Okay.   And it also -- the patent says "at

         14   least one structure on the base."          And would you

 03:56   15   agree that "at least one" could mean only one?

         16          A    No.    "At least one" means one or more.

         17          Q    I think we said the same thing, so --

         18   but -- so "at least one" could -- "at least one"

         19   could include a single one, or it could include --

 03:56   20          A    No.

         21          Q    -- where there are multiple?

         22          A    No, multiple.     So that's -- otherwise, we

         23   would say one; right?     So we're saying one or more,

         24   so it's multiple structures.         That's -- that's what

 03:57   25   it means.


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 03:57    1       Q     Okay.     You just said "one or more."         So it

          2   could be one, is what I'm trying to get to.            Could

          3   "at least one" mean just one?

          4             MR. HASAN:     Objection as to form.

 03:57    5             THE DEPONENT:      I believe it means more

          6   than one, in my understanding of it.

          7       Q     BY MR. HANLE:      Then we should clarify

          8   because a moment ago you said it could mean one or

          9   more, so --

 03:57   10       A     That's what I meant.          So -- and thank you

         11   for clarifying that for me, but that's what I mean.

         12   It means -- otherwise, we would be -- claim one

         13   structure there.     I mean, we're claiming multiple

         14   structures there.

 03:57   15       Q     Okay.    And then it also uses the term that

         16   we just read, "plurality of video game controllers."

         17   What's your understanding of the term "plurality"?

         18       A     It means more than one, several.

         19       Q     Okay.    So two or more?

 03:58   20       A     Two or more.

         21       Q     What's the difference, in your mind,

         22   between "at least one" and "a plurality"?

         23       A     "At least one" and "a plurality."            To me,

         24   it's very similar, same thing.          Basically different

 03:58   25   ways of saying that you have more than one thing


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 03:58    1   or --

          2             Does that answer your question?

          3       Q     Is there any difference between "at least

          4   one" and "a plurality"?

 03:58    5             MR. HASAN:     Objection as to form.

          6       Q     BY MR. HANLE:      Based on your

          7   understanding.

          8       A     No, in my understanding, it's the same.

          9   It means more than one.

 03:58   10       Q     And so claim 13, on the same page -- and

         11   you can -- save -- we're going to come back to

         12   figure 11 --

         13       A     Okay, sir.

         14       Q     -- but take a look at claim 13, which

 03:59   15   is -- it's over here, the second-to-last page.

         16   Right there.

         17             So claim 13 uses, in the third element --

         18   this is column 16, about line 35 -- instead of --

         19   instead of saying "at least one structure," it says,

 03:59   20   "at least one docking structure defining a plurality

         21   of docking bays...."

         22             Can you point to, in figure 11, what is

         23   referred to by a "docking structure"?

         24       A     It's -- it would be the same thing.            These

 03:59   25   are docking structures.      It's what supports the


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 03:59   1    controller.   So that's what I understand them to be.

         2           Q   So items 406 are docking structures?

         3           A   Well, it's -- I would need to read -- let

         4    me read it in the context of what we're --

 03:59   5           Q   Sure.

         6           A   -- what's being said.         "A plurality" --

         7               I'm sorry, what line was that?

         8           Q   Oh, boy.   It was line 35.

         9           A   Okay.   "A" --

 04:00   10              So in the context of this, it appears it

         11   is the structure, but it's basically -- a docking

         12   bay is defined by more than one of them and the area

         13   basically where it supports the controller in the

         14   middle.

 04:00   15          Q   Okay.   I want to differentiate between the

         16   term "docking structure" and "docking bay."            So I

         17   want to focus on, for now, the word "docking

         18   structure."

         19              And so I want to know, in figure 11, is it

 04:01   20   your understanding that the docking structure is

         21   406?

         22              MR. HASAN:    Objection as to form.

         23              THE DEPONENT:      So -- so as I tried to

         24   explain in the context of what it's saying, it's

 04:01   25   saying that those structures, what we refer to as


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 04:01    1   "structures" -- and when we're saying "docking

          2   structure," it's one or more of these -- I'm

          3   sorry -- two or more of these that actually create a

          4   docking bay.    That's my understanding --

 04:01    5       Q     BY MR. HANLE:      Okay.      And --

          6       A     -- in that context.

          7       Q     So the two or more structures in figure 11

          8   that form a docking bay could be, for example, two

          9   of items 406?

 04:01   10       A     Yes.    I mean, it's the area in between

         11   those structures.

         12       Q     Okay.    So the docking bay is the area in

         13   between the two docking structures 406; is that --

         14   is that correct?

 04:02   15       A     Yes, I -- from, you know, a quick reading,

         16   that's what it appears to me.

         17       Q     So that claim, claim 13 in column 16, also

         18   uses the term -- and this is just a couple lines

         19   above that.    It says, "a plurality of male mini-USB

 04:02   20   connectors supported by the base...."

         21             Do you see that?

         22       A     Yes, sir.

         23       Q     And would USB connectors supported by the

         24   base include USB connectors actually on the base?

 04:02   25             MR. HASAN:     Objection as to form.


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 04:02    1               THE DEPONENT:     I don't even understand

          2   that question.      Would you like to repeat it, and

          3   I'll try to --

          4               MR. HANLE:   You can read it back.

 04:03    5               (The record was read as follows:

          6                   "Q      So that claim, claim 13 in

          7               column 16, also uses the term -- and this

          8               is just a couple lines above that.          It

          9               says, 'a plurality of male mini-USB

 04:02   10               connectors supported by the base....'

         11                   "Do you see that?

         12                   "A      Yes, sir.

         13                   "Q      And would USB connectors

         14               supported by the base include USB

 04:02   15               connectors actually on the base?")

         16               THE DEPONENT:     Yes.

         17               MR. HANLE:   Okay.

         18               Okay.    I will mark as the next exhibit a

         19   document dated -- the printout is dated 5/29/2012,

 04:04   20   and it's a press release -- a Nyko press release

         21   dated January 8th, 2007.       This is Exhibit 9.

         22               (Exhibit 9 was marked for the record.)

         23       Q       BY MR. HANLE:     Are you familiar with this

         24   document?

 04:05   25       A       No, I'm not.


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                         EXHIBIT L
    Case 2:12-cv-03001-GAF-VBK Document 105-2 Filed 04/09/13 Page 73 of 178 Page ID
                    HIGHLY CONFIDENTIAL#:2163
                                        PURSUANT TO PROTECTIVE ORDER

       1                 UNITED STATES DISTRICT COURT
       2                CENTRAL DISTRICT OF CALIFORNIA
       3     _____________________________
                                           )
       4     NYKO TECHNOLOGIES, INC., a    )
             California corporation,       )
       5                                   )
                       Plaintiff,          )
       6                                   )No. CV 12-3001 GAF
                  vs.                      )         (VBKx)
       7                                   )
             ENERGIZER HOLDINGS, INC., a )
       8     Missouri corporation,         )
             EVEREADY BATTERY COMPANY,     )
       9     INC., a Delaware Corporation,)
             and PERFORMANCE DESIGNED      )
      10     PRODUCTS LLC, a California    )
             limited liability company,    )
      11                                   )
                       Defendants.         )
      12     _____________________________)
                                           )
      13     AND RELATED COUNTERCLAIM.     )
             _____________________________)
      14
      15     **HIGHLY CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER**
      16          VIDEOTAPED DEPOSITION OF GERARD L. BLOCK
      17                   Los Angeles, California
      18                  Friday, February 15, 2013
      19                           Volume I
      20
      21     Reported by:
             Melissa M. Villagran, RPR, CLR
      22     CSR No. 12543
      23     Job No. 1611199
      24     PAGES 1 - 330
      25

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        1       Q      As part of the articles that you wrote, there

        2    were opinions that you had to provide based on your

        3    gaming experience, correct?

        4              THE DEPONENT:      That's true.

        5              MR. HANLE:     Objection to form.                             10:07:25

        6              Just pause before you answer so I can get my

        7    objection.

        8              DEPOSITION OFFICER:         What's your answer?

        9    "True"?

      10               THE DEPONENT:      True.                                      10:07:29

      11     BY MR. HASAN:

      12        Q      And -- did you do your best to give truthful

      13     and accurate opinions?

      14        A      Yes.

      15        Q      Did you rely on your gaming experience to                     10:08:00

      16     give the opinions?

      17               MR. HANLE:     Objection to form.

      18               THE DEPONENT:      Yes.

      19     BY MR. HASAN:

      20        Q      Do you have gaming experience?                                10:08:13

      21        A      I do.

      22        Q      Please describe that for us.

      23        A      I started playing video games when I was

      24     about 4 years old, discovered that I liked them

      25     quite a lot, and pursued that interest from the age                     10:08:28

                                                                                    Page 23

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        1    of 4 onwards.

        2       Q   What platform did you play when you were 4?

        3    Just curious.

        4       A   I had an Atari 2600.

        5       Q   One of the classics, one of the best.                 I        10:08:40

        6    played that one as well, yes.

        7           MR. HANLE:      I played Pong.

        8    BY MR. HASAN:

        9       Q   How long were you editor-in-chief at IGN.com

      10     gaming channel -- excuse me.                                          10:09:19

      11            How long were you editor-in-chief for the

      12     Gears channel at IGN?

      13        A   Around three years.

      14        Q   Did your responsibilities change over the

      15     three years you were there, generally speaking?                       10:09:35

      16        A   In the last year I also began acting as

      17     editor-in-chief for the Cars channel on IGN channel

      18     as well.

      19        Q   What is the Cars channel?

      20        A   Similar to all other channels in IGN, again,                   10:09:58

      21     specializing in news, previews, and reviews of

      22     products; in this case, cars.

      23        Q   And did you rely upon your gaming experience

      24     to write articles and -- for cars?

      25        A   No.                                                            10:10:15

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        1    you understand that for purposes of this deposition,

        2    the ones that are accused of infringement?

        3       A      Yes.

        4       Q      The PDP accused products here have docking

        5    bays, correct?                                                         11:31:26

        6              MR. HANLE:    Objection; lacks foundation,

        7    vague.

        8              THE DEPONENT:     They have means for charging

        9    controllers.

      10     BY MR. HASAN:                                                          11:31:36

      11        Q      Have you ever used the word "docking bay"?

      12        A      Yes.

      13        Q      What is a docking bay, in your understanding?

      14               MR. HANLE:    Objection; lacks foundation,

      15     vague.                                                                 11:31:46

      16               THE DEPONENT:     A receptacle into which a

      17     foreign body can join.

      18     BY MR. HASAN:

      19        Q      Does the accused PDP product have docking

      20     bays --                                                                11:32:04

      21               MR. HANLE:    Objection.

      22     BY MR. HASAN:

      23        Q      -- by that definition?

      24               MR. HANLE:    Objection; lacks foundation,

      25     vague.                                                                 11:32:08

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        1           THE DEPONENT:       It has receptacles into which

        2    one inserts controllers.

        3    BY MR. HASAN:

        4       Q   And your understanding based on your

        5    experience is that those are docking bays?                            11:32:20

        6           MR. HANLE:      Objection; misstates his

        7    testimony.

        8    BY MR. HASAN:

        9       Q   Is that right?

      10            MR. HANLE:      Also lacks foundation, vague.                  11:32:24

      11            THE DEPONENT:       The PDP products have

      12     receptacles.

      13     BY MR. HASAN:

      14        Q   Do they have docking bays, in your

      15     understanding?                                                        11:32:35

      16            MR. HANLE:      Same question.        Same objections;

      17     asked and answered.

      18            MR. HASAN:      Let me finish.

      19            Please reread with the question.

      20            (Record was read back by the                                   11:32:44

      21            deposition officer as follows:

      22                     "QUESTION:     Do they have

      23            docking bays, in your

      24            understanding?")

      25            MR. HANLE:      Same objections.         Asked and             11:32:48

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        1    answered.

        2    BY MR. HASAN:

        3       Q    Yes or no.     If you can answer.

        4       A    They have -- they have receptacles for

        5    charging.     I mean, you know, use it as a synonym or                11:33:06

        6    not.   I -- you know, I would define them as, in the

        7    most exact terms, receptacles, literal meanings of

        8    the word.

        9       Q    Would you understand the accused products to

      10     have docking bays?                                                    11:33:24

      11             MR. HANLE:     Objection; asked and answered a

      12     third time.     Objection -- and restate my other

      13     objections.

      14             You can just repeat your answer if you want.

      15     You can read it from here if you want.                                11:33:36

      16             THE DEPONENT:      The accused products have

      17     receptacles.

      18     BY MR. HASAN:

      19        Q    Do they have docking bays?

      20             MR. HANLE:     Same objections; asked and                     11:33:42

      21     answered, argumentative, badgering the witness.

      22     BY MR. HASAN:

      23        Q    Yes or no, sir, in your understanding.

      24        A    In my understanding, the definition I would

      25     apply would be receptacle.          It's the appropriate,             11:34:01

                                                                                  Page 79

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        1    literal use of the word.

        2       Q      Sir, I'm not asking you for that.

        3              Have you ever used the word "docking bay"

        4    before?

        5       A      I'm sure.    Yes.                                            11:34:13

        6       Q      You have, right?

        7       A      Yes.

        8       Q      Why are you sure you've used it before?

        9       A      It's a term that would circulate.             I mean, I

      10     can imagine myself using it.                                           11:34:21

      11        Q      Why?

      12        A      Docking bays by definition are not solely

      13     appropriate to the terminology of controller

      14     charging situations.

      15               I may well have used docking bay to refer                    11:34:42

      16     to -- the landing space on a spaceship for the

      17     smaller fighter's also a docking bay.               There are a

      18     variety of terms in which I could use that, that

      19     phrase "docking bay."

      20        Q      Like in "Star Wars" when they go on the death                11:34:57

      21     star into the docking bay, right?

      22        A      The docking bay.

      23        Q      That's right.       Okay.

      24        A      You know, I talk about "Star Wars."              I may

      25     well have said docking bay in relation to the                          11:35:06

                                                                                   Page 80

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        1    Millennium Falcon.

        2       Q     Would you -- would you -- do you have any

        3    recollection of ever using the term "docking bay"

        4    with respect to a controller, video game controller

        5    charging solution?                                                    11:35:17

        6       A     I can imagine I applied it to controller.

        7       Q     Do you have any recollection of applying it

        8    to a video game controller charging solution?

        9       A     In my tenure at IGN as a writer, I aim not to

      10     repeat phraseology excessively.            Thus a good writer         11:35:38

      11     looks for synonyms to apply to commonly used

      12     phrases.

      13              So in the course of a review of a controller

      14     charging solution I may, in describing it, have

      15     referred to the receptacle by any number of similar                   11:35:59

      16     terms.     In the common parlance one could call them

      17     charge stations.       I mean, there are a variety of

      18     terms that one could use.

      19        Q     Have you ever used the term "docking bay" in

      20     relation to a video game controller charging                          11:36:20

      21     solution?     Yes or no or you don't know.

      22        A     Don't know.

      23              MR. HANLE:     Art, can we take another just

      24     short break.     And then, also, we can either talk off

      25     the record or on the record about what you want to                    11:36:44

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        1    do for lunch in terms of time.

        2           MR. HASAN:      Sure.     We'll get off the record.

        3           MR. HANLE:      Okay.

        4           THE VIDEOGRAPHER:         This marks the end of

        5    Media No. 1.    Going off the record at 11:37 a.m.                    11:36:58

        6           (Recess.)

        7           THE VIDEOGRAPHER:         This marks the beginning

        8    of Media No. 2.     Going back on the record at

        9    11:48 a.m.

      10     BY MR. HASAN:                                                         11:48:36

      11        Q   Have you ever used the term "couple with" or

      12     "coupled"?

      13        A   Yes.

      14        Q   What does coupled mean?

      15            MR. HANLE:      Objection; lacks foundation.                   11:49:11

      16     BY MR. HASAN:

      17        Q   As you used it.

      18        A   To come together, most likely.

      19        Q   How many products, just approximately, have

      20     you reviewed while you were at IGN?                                   11:49:26

      21        A   Hundreds.

      22        Q   How many video game accessories?

      23        A   Hundreds.

      24        Q   How many video game controller charging

      25     accessories?                                                          11:49:42

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        1           THE DEPONENT:       I don't recall.

        2           MR. HASAN:      We have this marked as Exhibit 35

        3    for identification.

        4           (Exhibit 35 was marked for

        5           identification by the deposition                               11:53:48

        6           officer and is attached hereto.)

        7    BY MR. HASAN:

        8       Q   Do you recognize this document?

        9       A   It lacks the formatting of an IGN article as

      10     it would appear on the Web site.                                      11:54:02

      11        Q   Your name is there, Gerry Block, correct?

      12        A   That's correct.

      13        Q   And it bears the date of October 18th, 2007?

      14        A   Yes.

      15        Q   Do you have any reason to believe that you                     11:54:14

      16     didn't write this article?

      17        A   It would -- it would -- it would appear that

      18     I wrote it.     To your question as do I recognize the

      19     document, no.     This is not how the article appears

      20     on IGN.com.                                                           11:54:33

      21        Q   So you are stating that this printed page is

      22     not how it appears on the on-line Web site?

      23        A   That's correct.

      24        Q   Okay.     Why don't you take a look at it, and

      25     tell me whether these are your words or not.                          11:54:44

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        1           Are those your words, Mr. Block, in

        2    Exhibit 35?

        3       A   Yes.

        4       Q   That's your article, right?

        5       A   Yes.                                                           11:56:07

        6       Q   You wrote it?

        7       A   Yes.

        8       Q   Is it true, truthful article?

        9           MR. HANLE:      Objection; vague.

      10     BY MR. HASAN:                                                         11:56:13

      11        Q   Let me ask you this.

      12            MR. HANLE:      Lacks foundation.

      13     BY MR. HASAN:

      14        Q   Would you intend to be truthful in this

      15     article?                                                              11:56:17

      16        A   I did not aim to transmit any false

      17     information to my readers.

      18        Q   And you testified based on your estimates you

      19     had 30- to 60,000 readers, correct?

      20        A   I testified that average readership of an                      11:56:34

      21     article tended to be 30- to 60,000 users.

      22        Q   That included your articles, right?

      23        A   That figure refers to articles on IGN Gear.

      24        Q   Your articles were on IGN Gear?

      25        A   Yes.                                                           11:56:55

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        1       Q   Do you have any reason to believe that your

        2    readership was different than the readership for

        3    articles in general on IGN Gear?

        4       A   Yes.

        5       Q   How?                                                           11:57:04

        6       A   Well, you say my articles versus articles on

        7    IGN Gear?

        8       Q   No.    Is -- was your readership in the 30- to

        9    60,000 range, or was it different for your articles,

      10     to your knowledge?                                                    11:57:20

      11        A   My other -- my articles versus others

      12     published in IGN Gear?

      13        Q   Yes.

      14        A   They should be about the same.

      15        Q   Was your intent to be accurate in this                         11:57:36

      16     article --

      17            MR. HANLE:      Objection; asked and answered.

      18     BY MR. HASAN:

      19        Q   -- Exhibit 35?

      20        A   Yes.                                                           11:57:43

      21        Q   Did you have to think about it?              There was a

      22     pause over there for several seconds.              Why?

      23        A   I debate the legitimacy of applying accuracy

      24     to a preview story that really doesn't address truth

      25     versus falsehoods or accuracy versus inaccuracy with                  11:58:26

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        1    regard to what's covered in this article.

        2              Accurate as applied to the fact that the

        3    retail price will be 29.99, yes.             I was aiming to be

        4    accurate to the information that I was given for the

        5    article.                                                               11:58:42

        6          Q   How about accurate that it has docking bays?

        7              MR. HANLE:    Objection; lacks foundation,

        8    vague.

        9    BY MR. HASAN:

      10           Q   Let me back up.                                              11:58:47

      11               Does this article say that the Pelican

      12     PlayStation 3 charge station has docking bays?

      13           A   It does say that.

      14           Q   Is that accurate?

      15               MR. HANLE:    Objection; lacks foundation,                   11:58:57

      16     vague.

      17               THE DEPONENT:     It's accurate that I wrote

      18     that.

      19     BY MR. HASAN:

      20           Q   So it may not be accurate, but it's accurate                 11:59:04

      21     that you wrote it.        Is that what you're testifying

      22     to?

      23           A   Yes.

      24           Q   And it's truthful that it says that, but it

      25     may not be truthful in how you meant it to be read?                    11:59:19

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        1           MR. HANLE:      Objection; vague,

        2    incomprehensible.

        3    BY MR. HASAN:

        4       Q   Is it truthful?        Let me back up -- let me --

        5    let me strike that.                                                   11:59:31

        6           Is it truthful that the Pelican PS3 charge

        7    station has docking bays?

        8           MR. HANLE:      Objection; asked and answered,

        9    vague, lacks foundation.

      10            THE DEPONENT:       It's truthful that I used                  11:59:58

      11     those words to describe it in this article.

      12     BY MR. HASAN:

      13        Q   Is that different from it being truthful that

      14     it has docking bays, in your mind?

      15        A   It is truthful that the product I'm                            12:00:08

      16     describing in the article has what I -- what --

      17     receptacles that I refer to in the article as

      18     docking bays.

      19        Q   Is there anything untruthful about it, your

      20     article that you wrote?                                               12:00:37

      21        A   Not to my knowledge.

      22        Q   Is there anything inaccurate, to your

      23     knowledge, about this article that you wrote?

      24        A   Not to my knowledge.

      25        Q   So, to your knowledge, it's accurate that the                  12:00:52

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        1    Pelican PS3 charge station has docking bays?

        2              MR. HANLE:     Objection; asked and answered

        3    multiple times.

        4              THE DEPONENT:      It's accurate that in this

        5    article I use that term to describe what the product                    12:01:13

        6    has.

        7    BY MR. HASAN:

        8       Q      Would you turn this over for the video,

        9    please.     Turn it around.

      10               Where are the docking bays that you wrote                     12:01:20

      11     about?     Point for it (sic) to the camera.

      12        A      On the spire right here.

      13        Q      Okay.   Point to -- how many docking bays are

      14     there?

      15        A      Two docking bays on the spire.                                12:01:29

      16        Q      Okay.   And what is in the docking bay?

      17        A      A male mini USB port at the center.

      18        Q      Okay.   Prior to 2007 when you wrote about the

      19     Nyko charge base in this Pelican PlayStation

      20     solution, did you know of any other video game                          12:02:12

      21     controller solutions that included a docking bay

      22     with a male DC port in it for controlling more

      23     than -- charging more than one controller?

      24        A      I can't recall.

      25        Q      Do you believe that -- strike that.                           12:02:32

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        1    pejorative term?

        2       A   That is true.

        3       Q   And that's how you used it here?

        4       A   Yes.

        5       Q   It was a negative to have a USB cord?                          12:05:49

        6       A   That is the meaning I aimed to transmit.

        7       Q   Do the wireless PS3 controllers couple with

        8    the docking bays in the Pelican solution, the PS3

        9    charge station?

      10            MR. HANLE:      Objection; vague, lacks                        12:06:10

      11     foundation.

      12            THE DEPONENT:       I would say so.

      13     BY MR. HASAN:

      14        Q   Why do you say that, in your understanding?

      15        A   As I said before, you know, to couple, to                      12:06:24

      16     join, to come together, that is accurate in terms of

      17     what the controllers do with the docking station.

      18        Q   What do you mean by that's accurate with what

      19     the controllers do with the docking station?

      20        A   The controllers interact with the Pelican                      12:06:42

      21     solution by coupling, by coming together.

      22        Q   When you are referring to coupling or coming

      23     together, do you mean that the female receptacle on

      24     the wireless video game controller joins with the

      25     male DC port that's in the docking bay?                               12:07:02

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        1           MR. HANLE:      Objection; lack of foundation.

        2    Objection to form.

        3           THE DEPONENT:       Yes, they come together.

        4    BY MR. HASAN:

        5       Q   If someone put a wire over there and had a                     12:07:21

        6    cable coming out, is that, in your opinion, coming

        7    together?

        8           MR. HANLE:      Objection; lacks foundation.

        9           THE DEPONENT:       What do you refer to as

      10     "there"?                                                              12:07:33

      11     BY MR. HASAN:

      12        Q   The docking bay.

      13        A   And where --

      14            MR. HANLE:      Wait.     Wait for a question.

      15     There's no question pending.          Wait for a question.            12:07:38

      16     BY MR. HASAN:

      17        Q   Does this -- does this -- okay.              Let me

      18     strike that.

      19            Does this Pelican PlayStation 3 charge

      20     station have a cord?                                                  12:07:52

      21        A   Not as pictured.

      22        Q   Is it intended to be used with a cord in the

      23     docking bay, a cable?

      24        A   Well, the cord can go in these USB ports down

      25     here (indicating).      That's what they are designed                 12:08:17

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        1    protruding therefrom?

        2       A   I can't see specifically in the case of this

        3    picture, but that is what I recall.

        4       Q   And then those DC ports are meant to couple

        5    to the controller?                                                    12:09:38

        6           MR. HANLE:      Objection; lacks foundation.

        7           THE DEPONENT:         The mini USB ports, yeah,

        8    couple with the controllers.

        9    BY MR. HASAN:

      10        Q   Have you ever heard the term "charge base"?                    12:10:00

      11        A   Yes.

      12        Q   What is a charge base, your understanding?

      13        A   It's the term Nyko uses to refer to it's

      14     controller charging solutions.

      15        Q   Apart from Nyko, have you ever used the term                   12:10:16

      16     "base" to refer to a charging solution?

      17        A   Possibly.

      18        Q   In what context would you use it?

      19            MR. HANLE:      Objection; calls for speculation.

      20     BY MR. HASAN:                                                         12:10:34

      21        Q   According to your understanding.

      22            MR. HANLE:      Tell him what you recall.

      23            MR. HASAN:      No.     Wait a second.       Mr. Hanle,

      24     please don't coach.

      25              ///

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        1    BY MR. HASAN:

        2       Q     Would you write "base" next to it if that's

        3    what you think it is.

        4       A     (The deponent complies.)

        5       Q     So we have marked up on Exhibit 36 that --                     01:42:18

        6    you wrote "base" in there.           You have an arrow and

        7    you have that circled around the entire device.

        8    That, to you, is the base?

        9       A     Yeah.   The whole thing that sits on the

      10     table.                                                                  01:42:32

      11        Q     Okay.

      12              On this one here, would the charge station --

      13     the Charge Base 2, where are the -- where are the

      14     docking bays?

      15              MR. HANLE:     Objection; lacks foundation,                    01:42:54

      16     vague.

      17     BY MR. HASAN:

      18        Q     Are there docking bays?

      19        A     Yes.

      20        Q     Where -- where are the docking bays?               Would       01:43:02

      21     you please point to them with an arrow or however to

      22     describe where they are.

      23        A     The receptacles for charging are here and

      24     here (indicating).

      25        Q     Okay.   Would you please write an arrow to it                  01:43:15

                                                                                   Page 119

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        1    again or -- indicate it somehow where you believe

        2    that these docking bays are, the receptacles?

        3       A      (The witness complies.)

        4       Q      Thank you.     Okay.

        5              MR. HANLE:     I would like to see that.                       01:44:07

        6              MR. HASAN:     Let's actually mark this next

        7    exhibit, which is a copy of Exhibit 35, as 35A

        8    please.

        9              (Exhibit 35A was marked for

      10               identification by the deposition                               01:44:41

      11               officer and is attached hereto.)

      12     BY MR. HASAN:

      13        Q      Do you recognize 35A to be a copy of 35?

      14        A      Yes.

      15        Q      Okay.   Now, on -- on Exhibit 35A -- that's                    01:44:48

      16     the article that you wrote, correct?

      17        A      Yes.

      18        Q      About the Pelican system, right?

      19        A      Yes.

      20        Q      Would you please put arrows to the docking                     01:45:00

      21     bays on this product, as you understand it.

      22               MR. HANLE:     Objection; lacks foundation.

      23               But you can go ahead.

      24     BY MR. HASAN:

      25        Q      And would you please point to the male DC                      01:45:31

                                                                                    Page 120

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        1    you circled is the base in view of your words

        2    regarding the state of the spire?

        3       A   No.

        4       Q   Excuse me.      I misspoke.

        5           Do you want to change your indication of the                    02:02:36

        6    base, as you've written and circled it there, in

        7    view of your words regarding the base of the spire?

        8       A   No, I do not.

        9       Q   Okay.     Now, you -- you believe that the

      10     docking bays are also the female ports?               Those are        02:02:55

      11     docking bays?

      12            MR. HANLE:      Objection; vague and lacks

      13     foundation.

      14            THE DEPONENT:       Inasmuch as they can also be

      15     called receptacles.                                                    02:03:07

      16     BY MR. HASAN:

      17        Q   Are those docking bays?           I mean, you wrote

      18     lines to them.

      19            MR. HANLE:      Same objections.

      20            THE DEPONENT:       Docking bay receptacle.                     02:03:15

      21     BY MR. HASAN:

      22        Q   But you stand by your -- your depiction that

      23     docking bays not only refers to the plastic

      24     components, the see-through with the -- with -- and

      25     the female DC ports?                                                   02:03:34

                                                                                  Page 135

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        1           MR. HANLE:      Objection; vague and lacks

        2    foundation.

        3           THE DEPONENT:       In that I would say that

        4    docking bay and receptacle are synonyms.

        5           The terms could apply to everything that I've                   02:03:48

        6    illustrated in this picture.

        7    BY MR. HASAN:

        8       Q   And you drew -- you -- in your opinion there

        9    are four docking bays on a -- on the image in

      10     Exhibit 35?                                                            02:04:01

      11            MR. HANLE:      Same objections.

      12            THE DEPONENT:       One could define them as such.

      13     BY MR. HASAN:

      14        Q   How do you define them based on your

      15     experience, sir?                                                       02:04:06

      16            MR. HANLE:      Objection; asked and answered.

      17     Also vague.

      18     BY MR. HASAN:

      19        Q   Are they defined by the four lines?

      20        A   To accept docking bay as the common term,                       02:04:13

      21     yes.

      22        Q   Okay.    And did you -- okay.           So let's --

      23     let's read -- read the sentence that starts "The

      24     leading edge of the spire."

      25        A   Can you point out where that is.                                02:04:52

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                        EXHIBIT M
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                                       #:2186
            CONFIDENTIAL PURSUANT TO PROTECTIVE    ORDER ATTORNEYS' EYES ONLY

       1                    UNITED STATES DISTRICT COURT
       2                CENTRAL DISTRICT OF CALIFORNIA
       3
       4
             NYKO TECHNOLOGIES INC., a
       5     California Corporation,
                                                              No. CV12-03001
       6                     Plaintiff,
       7         vs.
       8     ENERGIZER HOLDINGS, INC., a
             Missouri Corporation, EVEREADY
       9     BATTERY COMPANY, INC, a Delaware
             Corporation, and PERFORMANCE
      10     DESIGNED PRODUCTS LLC, a
             California Limited Liability
      11     Company,
      12                     Defendants.
      13     _________________________________________________________
      14
      15          CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
      16                         ATTORNEYS' EYES ONLY
      17
      18          VIDEOTAPED DEPOSITION of THOMAS J. ROBERTS
      19                       San Diego, California
      20                      Tuesday, March 26, 2013
      21                                  Volume I
      22     Reported by:
             Kae F. Gernandt
      23     RPR, CSR No. 5342
      24     Job No. 1635403
      25     PAGES 1 - 331

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       1     record.                                                               10:19:05

       2               A.   Thomas John Roberts.

       3               Q.   Mr. Roberts, what is your home address,

       4     please?

       5               A.   2010 Coronado View, Alpine, California.                10:19:13

       6               Q.   You understand you're here for a

       7     deposition in the case of Nyko Technologies vs. PDP

       8     and Energizer?

       9               A.   Yes.

      10               Q.   Let's start off with your background,                  10:19:38

      11     sir, your educational background.            Would you please

      12     describe that for us?

      13               A.   Graduated in design engineering and

      14     technology from Brigham Young University in 1987.

      15               Q.   What kind of work experience did you                   10:19:59

      16     have after that?

      17               A.   Worked for General Dynamics in aerospace

      18     engineering, and subsequently Hughes Aircraft

      19     acquired them, so I worked for them until 1994.

      20               Q.   What were your responsibilities for                    10:20:20

      21     General Dynamics and Hughes generally?

      22               A.   Design, electromechanical design,

      23     electrooptical design, engineering, analysis, test.

      24               Q.   You mentioned 1994.         Did you take a new

      25     position at that time?                                                10:20:36

                                                                                  Page 11

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       1            A.     Yes.                                                   10:20:37

       2            Q.     What did you do?

       3            A.     I came to Mad Catz, which is a video

       4     game accessory company.

       5            Q.     Did you found Mad Catz?                                10:20:49

       6            A.     You'll need to define "found."             But no,

       7     I was not an initial investor.

       8            Q.     What was your role with Mad Catz when

       9     you joined?

      10            A.     Primarily operational and product                      10:21:06

      11     development-related manufacturing design.

      12            Q.     What type of products did you develop?

      13            A.     Video game accessory products,

      14     controllers, battery packs, cases, things like that.

      15            Q.     How long were you with Mad Catz?                       10:21:25

      16            A.     Till 2004.

      17            Q.     What happened in 2004 that led you to

      18     leave Mad Catz?

      19            A.     Mad Catz was acquired by Games Trader,

      20     which is a company in Canada, and I had a contract                   10:21:50

      21     still, and that was when my contract expired.

      22            Q.     Were you an employee of Mad Catz?

      23            A.     Yes.

      24            Q.     You mentioned your contract.            Would you

      25     please describe your contract?          Was that an                  10:22:07

                                                                                 Page 12

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       1     employment contract or some other contract?                           10:22:09

       2            A.      Yeah, it was an employment contract.

       3            Q.      You had an employment contract for a

       4     fixed time?

       5            A.      Yes.                                                   10:22:17

       6            Q.      And it expired at the time that Mad Catz

       7     was acquired?

       8            A.      Well, it was -- it was -- it was a --

       9     yeah, that's true.      It expired when I left, but it

      10     was basically time to move on for me.              So, I let          10:22:28

      11     it -- I worked through my contract, and then I left

      12     the company.

      13            Q.      And where did you move?

      14            A.      I ran a company for a little over a

      15     year, Quasimodo.                                                      10:22:46

      16            Q.      And what was the business of Quasimodo?

      17            A.      It was video arcade systems related to

      18     video games, in-home arcade systems.

      19            Q.      And what were your responsibilities for

      20     Quasimodo?                                                            10:23:02

      21            A.      Basically the same.         Just build a

      22     company from, you know, early start, develop

      23     product, establish distribution channels, market and

      24     sell, distribute, ship it, warehouse it,

      25     manufacture.     Pretty much small business, whole                    10:23:28

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       1     thing, you know.       Many hats.                                     10:23:31

       2              Q.    When did you leave Quasimodo?

       3              A.    I don't have a clear recollection.              It

       4     was sometime in 2005.

       5              Q.    Where did you go?                                      10:23:46

       6              A.    PDP.

       7              Q.    What was your position at PDP when you

       8     began?

       9              A.    It was chief technical officer, senior

      10     EVP, same as it is today.                                             10:24:02

      11              Q.    What were your responsibilities when you

      12     began at PDP?

      13              A.    Essentially the same.         Primarily

      14     product-development related, manufacturing,

      15     engineering.                                                          10:24:39

      16              Q.    Have your responsibilities changed since

      17     then?

      18              A.    Not particularly.        We've grown, so roles

      19     have, you know, grown as well.

      20              Q.    But you're essentially still involved in               10:25:00

      21     product development, manufacturing, engineering,

      22     operations and the like?

      23              A.    Yeah.

      24              Q.    Have you heard of Nyko Technologies,

      25     Inc.?                                                                 10:25:27

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       1            A.      Yes, I do.                                             10:33:46

       2            Q.      You also worked for Mad Catz and

       3     Quasimodo for approximately ten years in which you

       4     designed and developed video games and accessories?

       5            A.      Very few video games, but primarily                    10:34:05

       6     accessories.

       7            Q.      You -- have you played video games?

       8            A.      Not very much.

       9            Q.      And from 2005 onward, you've been the

      10     chief technical officer of PDP, and in that position                  10:34:17

      11     you have developed video game accessories?

      12            A.      Yes.

      13            Q.      Would PDP put somebody in as chief

      14     technical officer if they didn't have skill and

      15     understanding in the area of video game accessories?                  10:34:36

      16            MR. HANLE:      Objection.       Vague, lacks

      17     foundation.

      18            THE WITNESS:       I wouldn't think so.

      19     BY MR. HASAN:

      20            Q.      You believe you have skill in the art of               10:34:50

      21     video game accessories, correct?

      22            MR. HANLE:      Objection.       Vague, and lacks

      23     foundation, asked and answered.

      24     BY MR. HASAN:

      25            Q.      Sir?                                                   10:34:57

                                                                                  Page 22

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       1            A.   Some level of skill, yes.                                 10:34:59

       2            Q.   Do you have any understanding of why PDP

       3     hired you as chief technical officer?

       4            A.   Yeah, I think so.

       5            Q.   And --                                                    10:35:25

       6            A.   Because of what we've been discussing.

       7            Q.   And what's that?

       8            A.   Experience and level of skill, ability.

       9            Q.   In designing and developing video game

      10     accessories, among other things?                                      10:35:41

      11            A.   Yes.

      12            Q.   Do you have approximately 18 years of

      13     direct experience in the video game segment of the

      14     consumer electronics industry?

      15            MR. HANLE:      Objection.       Vague.                        10:36:15

      16            THE WITNESS:       Approximately, yes.

      17     BY MR. HASAN:

      18            Q.   What is the video game segment of the

      19     consumer electronics industry?

      20            A.   It's the part of the consumer electronic                  10:36:28

      21     industries that addresses the video game market.

      22            Q.   What do you mean by "addresses the video

      23     game market"?

      24            A.   Attempts to provide products that would

      25     satisfy the demand for the video game consumer.                       10:36:47

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       1     understanding.                                                          10:51:29

       2            A.     That's an example of a docking bay:                The

       3     spine docks in the base.

       4            Q.     So, can you point to that for the

       5     camera, what you were saying about what you think                       10:51:37

       6     the docking bay is?

       7            MR. HANLE:      Objection.       Vague,

       8     mischaracterizes testimony.

       9            THE WITNESS:       Where this attaches, it docks.

      10     BY MR. HASAN:                                                           10:51:50

      11            Q.     So, you're saying that that stem docks

      12     to the bottom?

      13            A.     Yes.

      14            Q.     That's a docking bay?

      15            MR. HANLE:      Objection.       Vague, lacks                    10:51:56

      16     foundation.

      17            THE WITNESS:       Could be.      It depends on your

      18     definition of docking bay.

      19     BY MR. HASAN:

      20            Q.     Sir, you have 18 years of experience in                   10:52:02

      21     the video game industry; is that right?

      22            A.     That's correct, as I said earlier.

      23            Q.     What is your -- what is your

      24     understanding of a docking bay?

      25            MR. HANLE:      Objection.       Vague, lacks                    10:52:14

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       1     foundation.                                                             10:52:15

       2                 MR. HASAN:     If you have one.

       3                 MR. HANLE:     Assumes facts not in evidence.

       4                 THE WITNESS:     Something that accepts a --

       5     another item.                                                           10:52:23

       6     BY MR. HASAN:

       7                 Q.   The clear plastic there, would you hold

       8     that up and point to the clear plastic parts?

       9                 A.   (Witness complying.)

      10                 Q.   And there's another one too, correct?                  10:52:33

      11                 A.   There's two, yeah.

      12                 Q.   What is the purpose of those in the

      13     accused device?

      14                 A.   To hold the controller when it's

      15     charging.                                                               10:52:47

      16                 Q.   Are each of those docking bays?

      17                 MR. HANLE:     Objection.     Vague, lacks

      18     foundation.

      19                 MR. HASAN:     In your understanding of the

      20     term.                                                                   10:52:53

      21                 MR. HANLE:     Calls for a legal conclusion.

      22                 THE WITNESS:     It depends on what you --

      23     again, it depends on what you mean by "docking bay."

      24     It accepts the controller.

      25     /   /   /

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       1                 Q.   If somebody had referred to it as a                    10:57:23

       2     "charge base," that would be inaccurate?

       3                 MR. HANLE:     Objection.     Incomplete

       4     hypothetical, vague.

       5                 THE WITNESS:     Again, it would depend on the              10:57:31

       6     selection of the terms, I think.              Somebody may refer

       7     to it as that.       I -- I don't think I would.

       8     BY MR. HASAN:

       9                 Q.   In your understanding of the term

      10     "base," that is a structure upon which another                          10:57:47

      11     object rests; is that right?

      12                 MR. HANLE:     Objection.     Vague.

      13                 THE WITNESS:     Yeah.

      14     BY MR. HASAN:

      15                 Q.   When the controllers are within the                    10:58:04

      16     plastic structures, those controllers are being

      17     supported by the charger; is that right?

      18                 MR. HANLE:     Objection.     Vague.

      19                 THE WITNESS:     They're being supported by the

      20     charger as a whole, yeah.                                               10:58:31

      21     BY MR. HASAN:

      22                 Q.   In that respect, the charger as a whole

      23     is a base because it is supporting the controllers?

      24                 MR. HANLE:     Is there a question, Counsel?

      25     /   /   /

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       1     BY MR. HASAN:                                                           10:58:46

       2                 Q.   Is that right?

       3                 MR. HANLE:     Objection.     Lacks foundation,

       4     calls for a legal conclusion, vague, misstates his

       5     testimony.                                                              10:58:50

       6                 THE WITNESS:     I would say not directly.

       7     It -- it -- the base supports part of the charger.

       8     BY MR. HASAN:

       9                 Q.   Explain how the base supports part of

      10     the charger?                                                            10:59:07

      11                 A.   Well, this is a part of the charger.

      12     This is -- I would -- I would use "base" for

      13     describing this piece here (indicating).

      14                 Q.   You swear by it, that that is accurate,

      15     to the best of your knowledge?                                          10:59:25

      16                 MR. HANLE:     Objection.     Vague.

      17                 THE WITNESS:     Yes, yeah.

      18                 MR. HASAN:     Take a look at what's been marked

      19     as Exhibit 73, sir.

      20                      (Deposition Exhibit 73 marked for                      11:00:02

      21     identification.)

      22                 MR. HASAN:     I believe this has been produced,

      23     but we printed it out yesterday so you can see that

      24     it's still there.

      25     /   /   /

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       1     BY MR. HASAN:                                                          11:00:18

       2            Q.     This is -- this is a description of the

       3     accused product on the PDP.com website; is that

       4     correct?

       5            A.     It looks like it, yes.                                   11:00:31

       6            Q.     Is PDP.com the website that is run by

       7     PDP?

       8            A.     Yes.

       9            Q.     And is the product that is described

      10     there, the Energizer Power & Play for PS3 Charging                     11:00:47

      11     System, that's the accused product?

      12            A.     It looks like it is, yeah.

      13            Q.     Then it says "Product Description."                Do

      14     you see that?

      15            A.     Yes.                                                     11:01:04

      16            Q.     Read the product description, please,

      17     the first two sentences, out loud.

      18            A.     "In just 2.5 hours, the Energizer

      19     Power & Play Charging System for PS3 charges up to

      20     two controllers and your headset simultaneously.                       11:01:33

      21     The charge base offers a sleek and unique design

      22     that is impressive and functional."

      23            Q.     You see the reference to "charge base"

      24     over there?

      25            A.     Yes.                                                     11:01:55

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       1            Q.      Okay.     That's referring to the accused              11:01:55

       2     device, correct?

       3            MR. HANLE:        Objection.     Vague, lacks

       4     foundation.

       5            THE WITNESS:        Yes.                                       11:02:05

       6     BY MR. HASAN:

       7            Q.      Do you believe it's a mistake that this

       8     product description is referring to the entire

       9     accused device as a charge base?

      10            MR. HANLE:        Objection.     Vague and lacks               11:02:36

      11     foundation.

      12     BY MR. HASAN:

      13            Q.      Or not?

      14            MR. HANLE:        Objection.     Vague and lacks

      15     foundation.                                                           11:02:42

      16            THE WITNESS:        Again, I -- I -- it's not

      17     terminology that I would use, but it's obviously a

      18     term that a marketing guy would use, using -- making

      19     the website.

      20     BY MR. HASAN:                                                         11:03:01

      21            Q.      To be clear then, it's your testimony

      22     that a marketing guy making the website chose to

      23     refer to the entire device as the "charge base"?

      24            MR. HANLE:        Objection.     Lacks foundation,

      25     calls for speculation.                                                11:03:12

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       1               Q.   What is the sleek and unique design of                 11:17:35

       2     the charge base referred to in the website?

       3               MR. HANLE:     Objection.     Lacks foundation,

       4     calls for speculation.

       5               MR. HASAN:     Let me ask you this.         Let me          11:17:53

       6     withdraw that.

       7     BY MR. HASAN:

       8               Q.   Do you have an understanding of what the

       9     sleek and unique design that is offered by the

      10     charge base is, as described in the PDP website?                      11:17:59

      11               A.   What is -- could you repeat the

      12     question?

      13               MR. HASAN:     Would you read the question,

      14     please.

      15                    (The record was read.)                                 11:18:17

      16               THE WITNESS:     I think just the overall

      17     product as a whole is -- is sleek and unique, you

      18     know.

      19                    Have you ever seen anything look like

      20     this?                                                                 11:18:44

      21     BY MR. HASAN:

      22               Q.   Is there anything else?

      23               MR. HANLE:     Objection.     Vague.

      24               THE WITNESS:     No.   I think as a -- as a -- as

      25     a whole, it's -- it's -- it's sleek.              Again, very         11:18:53

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       1            THE WITNESS:       Again, I think it depends on                11:20:44

       2     who may be describing it.

       3     BY MR. HASAN:

       4            Q.   Under --

       5            A.   I wouldn't refer to them that way.                        11:20:52

       6     That's just me.

       7            Q.   Would it be incorrect, in your

       8     understanding, to refer to the plastic portions as

       9     docking bays?

      10            MR. HANLE:      Objection.       Asked and answered.           11:21:03

      11            THE WITNESS:       Not -- not necessarily

      12     incorrect, no.

      13     BY MR. HASAN:

      14            Q.   Why wouldn't it be incorrect?

      15            MR. HANLE:      Objection.       Lacks foundation,             11:21:10

      16     vague, calls for a legal conclusion.

      17            THE WITNESS:       Again, it sort of depends on

      18     how you define certain mechanical features.                And in

      19     the truest sense, you know, a docking bay, to me,

      20     implies sort of gravitational component to it rather                  11:21:32

      21     than a -- you know, which is a vertical component

      22     rather than a horizontal component, which this is.

      23     BY MR. HASAN:

      24            Q.   So -- so, a docking bay, in your

      25     opinion, has to be vertical --                                        11:21:48

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       1     question?   I --                                                      11:23:46

       2            MR. HASAN:      Make your objection.

       3            MR. HANLE:      -- didn't want to interrupt you.

       4            MR. HASAN:      Make your objection.           Go ahead.

       5            MR. HANLE:      Okay.     It's objection.        Vague and     11:23:49

       6     incomplete hypothetical, misstates the testimony,

       7     lacks foundation.

       8            THE WITNESS:       You'll have to reread the

       9     question.

      10                  (The record was read.)                                   11:23:57

      11            MR. HANLE:      I'm looking at the record.

      12     There's three questions after that.             So, I mean, if

      13     we're going back to that question, I'm happy for him

      14     to answer that question.         I'm looking at the record.

      15     You asked questions that -- your question continued                   11:24:27

      16     to go on after that.

      17                  Can you answer that question?

      18            THE WITNESS:       The three questions ago, "In

      19     this respect," that one?

      20            MR. HASAN:      Okay.     All right.       All right.          11:24:40

      21     BY MR. HASAN:

      22            Q.    The video game controllers dock in these

      23     plastic portions of the accused product as you

      24     understand it; is that correct?

      25            MR. HANLE:      Objection.       Vague, lacks                  11:24:57

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       1     foundation, misstates his testimony.                                  11:24:58

       2              THE WITNESS:     If you define it that way, then

       3     I can certainly use that terminology.

       4     BY MR. HASAN:

       5              Q.   Do you believe that definition is                       11:25:08

       6     incorrect?

       7              MR. HANLE:     Objection.      Asked and answered.

       8              THE WITNESS:     Not necessarily.

       9     BY MR. HASAN:

      10              Q.   Can you explain to me anything that's                   11:25:25

      11     incorrect about that definition?

      12              MR. HANLE:     Objection.      Vague.

      13              THE WITNESS:     Again, for me, my experience

      14     is -- is a dock has a -- has a gravitational

      15     component.    It's almost like I would want this to be                11:25:47

      16     mounted this way (indicating), so it can sit in

      17     there.    So, that's my -- that's my --

      18              MR. HASAN:     Show it to the camera so we can

      19     explain what you're --

      20              THE WITNESS:     In this way.       So, if you want          11:26:06

      21     to refer to it as docking, I can accept that.

      22     BY MR. HASAN:

      23              Q.   But in your mind, though, it's docking

      24     if it were turned sideways?

      25              A.   Again, that's the essence of the term                   11:26:18

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       1     fine.   But for me, it -- it's more of a -- it's more                 11:27:16

       2     of a mount.     This is the technical terminology I

       3     would use.

       4             Q.     The definition of "docking bay," then,

       5     depends on the orientation of the plastic portions?                   11:27:30

       6             MR. HANLE:     Objection.       Lacks foundation.

       7             THE WITNESS:      It could.      It could.

       8     BY MR. HASAN:

       9             Q.     That's the -- that's the definition that

      10     you believe?                                                          11:27:42

      11             MR. HANLE:     Objection.       Vague, misstates his

      12     testimony.

      13             THE WITNESS:      Yeah.

      14     BY MR. HASAN:

      15             Q.     But it would not be incorrect to state                 11:27:48

      16     that the plastic portions in the regular orientation

      17     of this charge base are docking bays?

      18             A.     It --

      19             MR. HANLE:     Objection.       Lacks foundation,

      20     calls for a legal conclusion.                                         11:28:04

      21                    Just wait for him to finish so I can

      22     object, and then you can answer.

      23             THE WITNESS:      It would not be incorrect.

      24             MR. HASAN:     Okay.      Let me move you to a

      25     different topic, sir.                                                 11:28:14

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       1              MR. HANLE:    Is now a good time for a short                   11:28:17

       2     break?

       3              MR. HASAN:    Sure.

       4              MR. HANLE:    Thank you.

       5              THE VIDEOGRAPHER:       Going off the record.           The    11:28:21

       6     time is 11:28 a.m.

       7                   (A brief recess was taken.)

       8              THE VIDEOGRAPHER:       Back on the record.          The

       9     time is 11:37 a.m.

      10              MR. HASAN:    Let's show you what's been marked                11:44:07

      11     as Exhibit 74.

      12                   (Deposition Exhibit 74 marked for

      13     identification.)

      14              THE VIDEOGRAPHER:       I'm sorry.       Did I say

      15     11:37?    I meant to say 11:44.         Sorry about that.               11:44:19

      16     BY MR. HASAN:

      17              Q.   Do you recognize this document?

      18              A.   It looks like it's the -- it's the user

      19     guide for the Xbox version of the charging system.

      20              Q.   That's the Xbox version of the accused                    11:44:55

      21     product; is that right?

      22              A.   It's the user guide, yeah.            I think.

      23     Yeah, not from the website.          I mean, it's not a web

      24     page.

      25              Q.   Exhibit 74 is the user guide for the                      11:45:17

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       1     Xbox version of the accused product; is that right?                   11:45:21

       2               A.   Yes.

       3               Q.   That is not something that you

       4     understand is part of the website, is it?

       5               A.   I think you can download it from the                   11:45:31

       6     website, but I'm not sure.

       7               Q.   And let me take it from you for one

       8     second.

       9                    The reference to PL-3628, is that the

      10     part number that PDP uses for the Xbox version of                     11:46:15

      11     the accused product?

      12               A.   Yes.

      13               Q.   Do you know what the part number that --

      14     strike that.

      15                    This user guide explains how to use the                11:46:38

      16     charging system?

      17               A.   Yes.

      18               Q.   That's what it says, right?

      19               A.   Yes.

      20               Q.   What is shown in -- let me strike that.                11:46:47

      21                    And there are -- there are pictures, if

      22     you will, that illustrate, for example, plugging in

      23     the accused product?

      24               A.   Yes, uh-huh.

      25               Q.   Would you hold that up for the camera.                 11:47:07

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       1     On the left there of the -- there is --                              11:47:10

       2             A.    Oh, right there.

       3             Q.    -- there are depictions of the -- how to

       4     use the accused product; is that correct?

       5             A.    Yes.                                                   11:47:20

       6             Q.    Okay.     The first one shows a plug, the

       7     second one shows some rechargeable batteries; is

       8     that right?

       9             A.    The bottom of the controller, is that

      10     the part you're talking about?                                       11:47:32

      11             Q.    Yes.

      12             A.    Yeah.

      13             Q.    Would you read the -- read the

      14     instruction marked 3?

      15             A.    Uh-huh.                                                11:47:40

      16             Q.    Please read it out loud.

      17             A.    "Firmly press the Xbox 360 controller

      18     onto one of the charging system's docking points."

      19             Q.    What are the docking points that are

      20     being referenced here, if you understand?                            11:47:55

      21             A.    It looks like it's depicted by the arrow

      22     in the picture.

      23             Q.    Would you please turn that for the

      24     camera and show that.       Please -- please raise it a

      25     bit.   Let's zoom in on that.        Raise it just a bit,            11:48:17

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       1     Mr. Roberts.                                                          11:48:24

       2                    In the depiction that you're holding

       3     there, there's an arrow at the bottom left

       4     depiction.     That is the reference to the docking

       5     point, in your understanding; is that correct?                        11:48:35

       6            A.      That is correct.

       7            Q.      Let me ask you this question:            Who

       8     prepares this user's manual?

       9            A.      I don't know who.        It would have -- I

      10     don't know.                                                           11:49:00

      11            Q.      It's prepared by someone at PDP,

      12     correct?

      13            A.      Probably.

      14            Q.      Is it important for user's manuals that

      15     accompany the accused products to be correct, in                      11:49:10

      16     your opinion?

      17            A.      Yes.

      18            Q.      Is this user's manual, to your

      19     understanding, correct from your standpoint?

      20            MR. HANLE:      Objection.       Vague.                        11:49:23

      21            THE WITNESS:        I think it's correct in its

      22     intended purpose, which is to show you how to use

      23     it.

      24     BY MR. HASAN:

      25            Q.      Does PDP intend to confuse its customers               11:49:34

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       1     when it gives instructions on how to use its                          11:49:37

       2     products?

       3              A.   Does not intend to.

       4              Q.   PDP wants to be clear, does it not, when

       5     it instructs its users how to use its products?                       11:49:44

       6              A.   PDP wants to be clear.

       7              Q.   Instruction 3 shows clearly how the Xbox

       8     360 controller is put into the docking point, right?

       9              MR. HANLE:     Objection.      Vague.

      10              THE WITNESS:     As I read it before, yeah.                  11:50:14

      11     BY MR. HASAN:

      12              Q.   This user's manual appears to be in a

      13     few different languages?

      14              A.   Yeah, it appears to be.

      15              Q.   Do you understand any Spanish?                          11:50:32

      16              A.   Not very much.

      17              Q.   On the right side where the instructions

      18     appear to be in Spanish, do you see that?

      19              A.   Uh-huh.

      20              Q.   You see next to No. 1?                                  11:50:57

      21              A.   Yes.

      22              Q.   You see the statement "posterior de la

      23     base"?

      24              A.   In No. 1?

      25              Q.   Yes.                                                    11:51:18

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       1               MR. HANLE:     Objection.     Compound, vague.              11:54:25

       2               THE WITNESS:     I think the picture is

       3     accurate, and I think if you -- if -- I think the

       4     language is subject to interpretation.

       5     BY MR. HASAN:                                                         11:54:40

       6               Q.   By whom?

       7               A.   By the user.

       8               Q.   The consumer?

       9               A.   Yeah.

      10               Q.   The consumer may or may not agree that                 11:54:46

      11     that would be a docking point shown by the arrow?

      12               A.   It would depend on their definition.

      13               Q.   They shouldn't rely on what PDP is

      14     saying?

      15               MR. HANLE:     Objection.     Vague.                        11:54:58

      16     BY MR. HASAN:

      17               Q.   Is that your testimony?

      18               MR. HANLE:     Objection.     Vague.

      19               THE WITNESS:     You do the best you can to --

      20     to show how the thing works, as a --                                  11:55:05

      21     BY MR. HASAN:

      22               Q.   Do you have any understanding of why

      23     somebody at PDP would put into the user's manual of

      24     the accused device the term "docking point" to

      25     explain how to put the controller into the plastic                    11:55:21

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       1     portions?                                                             11:55:24

       2               MR. HANLE:     Objection.     Calls for

       3     speculation.

       4               THE WITNESS:     I'm sorry.      Why PDP would want

       5     to do that, did you say?                                              11:55:32

       6               MR. HASAN:     Would you reread the question,

       7     please.

       8                    (The record was read.)

       9               MR. HANLE:     That's objection.        Calls for

      10     speculation.                                                          11:55:51

      11               THE WITNESS:     Again, I could see, based on

      12     this, that -- why they would do that.

      13     BY MR. HASAN:

      14               Q.   Is it inaccurate?

      15               MR. HANLE:     Asked and answered.                          11:56:02

      16               THE WITNESS:     It -- yeah, if that's your

      17     terminology, then it would be accurate.

      18     BY MR. HASAN:

      19               Q.   That's PDP's terminology?

      20               A.   Yes.                                                   11:56:12

      21               Q.   As in the user's manual, correct?

      22               A.   Yes.

      23               Q.   Okay.     Let's move on to the -- is it

      24     true that as -- let me strike that.

      25                    Is it true that as new and different                   11:56:32

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       1            Q.     Are those -- are those structures the                   11:57:49

       2     only way you could charge a controller?

       3            A.     What do you mean -- are you talking

       4     about the mini USB connector?

       5            Q.     I'm talking about the structure of the                  11:58:08

       6     plastic with the -- with the port in between it.

       7            A.     Do you -- do you mean the shape?

       8            Q.     Yes.

       9            A.     You could make the shape any shape you

      10     want, I think, as long as it fit around the                           11:58:26

      11     first-party controller.

      12            Q.     And you can -- you can make it fit in

      13     different ways; is that right?

      14            A.     Yeah.    You could make it bigger or

      15     smaller, thicker, you know.                                           11:58:39

      16            Q.     And -- and the -- the port's there

      17     within the plastic structures?

      18            A.     What do you mean by "port"?

      19            Q.     Do you know what a port is?

      20            A.     I know what I think a port is, yes.                     11:58:55

      21            Q.     What do you think a port is?

      22            MR. HANLE:      Objection.       Vague and lacks

      23     foundation.

      24     BY MR. HASAN:

      25            Q.     Based on your 18 years of experience --                 11:59:05

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       1     let me strike that.                                                    11:59:06

       2                   Based on your 18 years of experience in

       3     designing and developing video game accessories,

       4     what do you believe a port is --

       5             MR. HANLE:     Objection.       Vague.                         11:59:15

       6     BY MR. HASAN:

       7             Q.    -- Mr. Roberts?

       8             MR. HANLE:     Objection.       Vague and lacks

       9     foundation.

      10             THE WITNESS:      A port is something that                     11:59:21

      11     accepts something else.

      12     BY MR. HASAN:

      13             Q.    What do you mean by "accept"?

      14             A.    Fits to.

      15             Q.    Fits into?                                               11:59:30

      16             A.    Fits to.     I mean, that's -- that's my

      17     question for you, what you meant.            Do you mean the

      18     USB?   Sometimes that's referred to as a "port."                 Or

      19     do you mean the plastic?

      20             Q.    I was just asking you about what you                     11:59:47

      21     believe a port is.

      22             A.    Oh, okay.      So, I've answered.

      23             Q.    It's your -- it's your understanding

      24     that a port is something that something else fits

      25     to?                                                                    11:59:59

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       1                 MR. HANLE:     Objection.     Vague and lacks               11:59:59

       2     foundation, misstates his testimony.

       3                 THE WITNESS:     Yeah, that would be part of the

       4     definition.

       5     BY MR. HASAN:                                                           12:00:05

       6                 Q.   What else is part of it?

       7                 MR. HANLE:     Same objections.

       8                 THE WITNESS:     It depends on the context.

       9     BY MR. HASAN:

      10                 Q.   How about in the context of a charger                  12:00:11

      11     for a video game controller?

      12                 A.   It would be how you connect.

      13                 Q.   How you connect what?

      14                 A.   The item that you're trying to charge.

      15                 Q.   How do you connect it to what?                         12:00:27

      16                 A.   To the USB.

      17                 Q.   Is this USB one example of a port?

      18                 A.   It could be if that's your choice of

      19     term.

      20                 Q.   No.     I'm asking -- sir, you on keep                 12:00:43

      21     talking about my choice of term --

      22                 A.   I'm just trying to understand your --

      23                 MR. HANLE:     Just wait.     Let him ask a

      24     question, and answer the question.

      25     /   /   /

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       1     BY MR. HASAN:                                                         12:00:53

       2              Q.   I'm asking you to explain, based on your

       3     understanding.       Okay?   And if you don't have an

       4     understanding, you can let me know.             I just want the

       5     record to be clear.                                                   12:00:59

       6              A.   Uh-huh.

       7              MR. HASAN:     Do you have an objection?

       8              MR. HANLE:     There's no question.          So, I

       9     was -- I was waiting for a question.

      10              MR. HASAN:     Right.    Okay.                               12:01:08

      11     BY MR. HASAN:

      12              Q.   Is this USB port on the accused device a

      13     port?

      14              A.   You call it a port.          I -- I -- for me,

      15     it would be probably the -- the female part of that,                  12:01:22

      16     for the USB connector.

      17              Q.   Your understanding of a port is

      18     something that connects to something else; is that

      19     right?

      20              A.   Yeah.                                                   12:01:36

      21              Q.   Does this mini USB connect into the

      22     controller?

      23              A.   Yes.

      24              Q.   And because it connects into the

      25     controller, this is a port on the accused device                      12:01:49

                                                                                  Page 78

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       1     under your understanding; is that right?                              12:01:53

       2              MR. HANLE:     Objection.      Asked and answered.

       3              THE WITNESS:     Again, you could refer to it

       4     that way, yes.

       5     BY MR. HASAN:                                                         12:02:03

       6              Q.   Would it be incorrect, based on your

       7     18 years of experience, to refer to it that way?

       8              MR. HANLE:     Objection.      Lacks foundation.

       9              THE WITNESS:     It would not be incorrect.

      10     BY MR. HASAN:                                                         12:02:11

      11              Q.   Okay.     This port, to charge a

      12     controller, can be on a wire or cable; is that

      13     right?

      14              A.   It could be.

      15              Q.   As a matter of fact --                                  12:02:39

      16              A.   But I wouldn't call it a port in that

      17     case.    But it could be a wire.         You could charge the

      18     controller with a wire.

      19              Q.   Okay.     But the -- the wire would not be

      20     a port -- the end of the wire would not be a port?                    12:02:49

      21              MR. HANLE:     Objection.      Vague, lacks

      22     foundation.

      23     BY MR. HASAN:

      24              Q.   In your understanding, sir, would -- let

      25     me strike that.                                                       12:02:56

                                                                                  Page 79

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       1            THE WITNESS:       I would be speculating on how                02:58:42

       2     it operates, and I don't know how the Nyko piece

       3     operates.

       4     BY MR. HASAN:

       5            Q.   If it -- if it has a -- a male port that                   02:58:49

       6     mates with the female port on the controller in the

       7     Nyko charge base, based on your experience, would

       8     that be the same as the concept design of the

       9     accused product?

      10            MR. HANLE:      Objection.       Incomplete                     02:59:12

      11     hypothetical, lacks foundation, calls for

      12     speculation, vague.

      13            THE WITNESS:       If it does have that, that part

      14     of it would be similar to the -- the product in

      15     question.                                                              02:59:27

      16     BY MR. HASAN:

      17            Q.   The accused product, right?

      18            A.   (The witness nods head.)

      19            Q.   Yes?

      20            A.   Yeah.                                                      02:59:32

      21            Q.   Okay.      And in this Nyko charge base, you

      22     can see here this has docking bays, doesn't it?

      23            MR. HANLE:      Objection.       Calls for

      24     speculation, lacks foundation, vague.

      25            THE WITNESS:       We'll have to go back to the                 02:59:51

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       1     docking bay exchange, but that's where -- it appears                   02:59:52

       2     from the drawing here, the picture here, that that's

       3     meant to accept the controller.            So, if -- if you

       4     want to refer to it as a docking bay, I will accept

       5     that.                                                                  03:00:14

       6     BY MR. HASAN:

       7             Q.   In the same vein, the accused product

       8     has the docking bays that accept the controller to

       9     charge it.

      10             MR. HANLE:     Is there a question?                            03:00:30

      11     BY MR. HASAN:

      12             Q.   Is that right?

      13             MR. HANLE:     Objection.       Vague, lacks

      14     foundation, calls for speculation, asked and

      15     answered multiple times.                                               03:00:34

      16             THE WITNESS:      It accepts the controller and,

      17     in particular, where the connection needs to be made

      18     to charge the controller, that's true.

      19     BY MR. HASAN:

      20             Q.   Okay.     And let me ask you about the --                 03:00:45

      21     take a look at Exhibit 72, sir, the accused product

      22     here.

      23             A.   Oh.

      24             Q.   Okay.     Is that a video game controller

      25     charging system?                                                       03:01:21

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                                        #:2218
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       1            A.      Yes.                                                         03:01:23

       2            Q.      How many wireless video game controllers

       3     can it charge at the same time?

       4            A.      Two.    Actually, let me correct that.                It

       5     can charge three, using the USB socket on the side                          03:01:35

       6     if you have a cable.

       7            Q.      And show the camera where the other two

       8     are.

       9            A.      Well, on this one, there's only one.

      10            Q.      You said it can charge up to three                           03:01:55

      11     controllers.

      12            A.      If you have a cable that can plug into

      13     this USB socket.

      14            Q.      Okay.    Where do the first two

      15     controllers get charged in the accused product?                             03:02:05

      16            A.      Up here, up here (indicating).

      17            Q.      Are you pointing to the plastic sections

      18     there with the USB port protruding from?

      19            A.      I am.

      20            Q.      Okay.    And on this one here, is there at                   03:02:16

      21     least one structure providing physical support to

      22     the plurality of video game controllers while

      23     they're -- while they're being charged?

      24            MR. HANLE:       Objection.      Vague, calls for a

      25     legal conclusion, lacks foundation.                                         03:02:30

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       1              THE WITNESS:     The -- the support for the                   03:02:37

       2     charging holder is actually supported by the base.

       3     So, standing alone, it can't support them.                But as

       4     a -- as a completed product, it supports two

       5     controllers that are mounted for charging.                             03:02:54

       6     BY MR. HASAN:

       7              Q.   Please show the camera what provides the

       8     support for the two controllers.

       9              MR. HANLE:     Objection.      Vague.

      10              THE WITNESS:     Again, there's multiple                      03:03:06

      11     components here.

      12     BY MR. HASAN:

      13              Q.   Which are they?

      14              A.   We have the base.         We have what -- what

      15     I would call the spine.        The controllers go into the             03:03:12

      16     spine.    The base supports the spine.

      17              Q.   And the spine supports the controllers

      18     too?

      19              A.   The spine is used to mount and accept

      20     the controllers, yes.                                                  03:03:29

      21              Q.   And the plastic see-through portions

      22     over there, those support the controllers when

      23     they're mounted?

      24              A.   Yes, they do.

      25              Q.   Okay.     Now, there are a -- where --                   03:03:40

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       1     there are DC ports on this accused device?                             03:03:47

       2               MR. HANLE:     Objection.     Vague, lacks

       3     foundation.

       4               THE WITNESS:     There -- yeah.       There are

       5     contact points that are used to charge.                                03:04:00

       6     BY MR. HASAN:

       7               Q.   Where are the DC ports on the accused

       8     device?

       9               MR. HANLE:     Objection.     Assumes facts not in

      10     evidence.                                                              03:04:07

      11               THE WITNESS:     There's one in the back.

      12     BY MR. HASAN:

      13               Q.   Okay.     That one is the plug that goes to

      14     the wall?

      15               A.   That's correct.                                         03:04:13

      16               Q.   Where else --

      17               A.   It accepts DC power.

      18               Q.   Okay.     Where else is there a DC port, if

      19     anywhere, too?

      20               A.   This USB socket.                                        03:04:20

      21               Q.   Okay.     In addition to the socket on the

      22     side and the one on the back, are there any other DC

      23     ports on the accused product?

      24               A.   The mini USB connectors are used to plug

      25     the controllers into.                                                  03:04:39

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       1                 Q.   Those are DC ports, correct?                            03:04:41

       2                 MR. HANLE:     Objection.     Lacks foundation,

       3     calls for a legal conclusion.

       4                 THE WITNESS:     They provide DC power that,

       5     when connected to the controller --                                      03:04:50

       6     BY MR. HASAN:

       7                 Q.   Based on your 18 years --

       8                 A.   -- can be charged.

       9                 MR. HANLE:     You're interrupting him.          Let him

      10     finish his answer, please.                                               03:04:57

      11                 MR. HASAN:     I apologize.

      12     BY MR. HASAN:

      13                 Q.   Based on your 18 years of experience,

      14     are those USB ports male DC ports?

      15                 MR. HANLE:     Objection.     Calls for a legal              03:05:07

      16     conclusion, lacks foundation.

      17                 THE WITNESS:     They can provide DC power.

      18     They can.

      19     BY MR. HASAN:

      20                 Q.   Are those DC ports, in your                             03:05:18

      21     understanding, based on your experience in the video

      22     game segment of the consumer electronics, art?

      23                 MR. HANLE:     Same objections.

      24                 THE WITNESS:     Not -- not only DC.

      25     /   /   /

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       1     BY MR. HASAN:                                                          03:05:30

       2            Q.     Do they provide the function of being a

       3     DC port?

       4            A.     Yes, they do.

       5            Q.     Okay.    Each one of them does, correct?                 03:05:34

       6            A.     Correct.

       7            Q.     Okay.    Now, let me ask you this:             How

       8     many docking bays are there on the accused product?

       9            MR. HANLE:      Objection.       Assumes facts not in

      10     evidence, vague, lacks foundation, calls for a legal                   03:05:52

      11     conclusion.

      12            THE WITNESS:       Your term for "docking bay"?

      13            MR. HASAN:      PDP's use of the term in the --

      14     in the manual, the user manual we saw, for example.

      15            MR. HANLE:      Misstates the record.           It didn't       03:06:09

      16     say "docking bays."

      17     BY MR. HASAN:

      18            Q.     Based on your understanding, is it

      19     incorrect for one to refer to each of the

      20     see-through plastic portions surrounding the USB                       03:06:19

      21     port as docking bays?

      22            MR. HANLE:      Objection.       Asked and answered

      23     multiple times.

      24     BY MR. HASAN:

      25            Q.     Is that incorrect?                                       03:06:29

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       1             A.     You could refer to those as docking                     03:06:30

       2     bays.

       3             Q.     Okay.     Let me -- is each of those

       4     docking bays able to accept the video game

       5     controllers?                                                           03:06:42

       6             A.     Yes.    The Sony video game controller.

       7             Q.     And each of those plastic portions of

       8     the docking bays has a pair of opposite surfaces?

       9             MR. HANLE:       Objection.     Vague.

      10             THE WITNESS:       I am not sure what you mean.                03:07:09

      11     BY MR. HASAN:

      12             Q.     Let me point to it.         This top part of

      13     the docking bay --

      14             A.     Uh-huh.

      15             Q.     -- this is an opposite surface to the                   03:07:16

      16     bottom part of the docking bay, it --

      17             MR. HANLE:       Objection.

      18     BY MR. HASAN:

      19             Q.     -- is that right?

      20             MR. HANLE:       Objection.     Calls for a legal              03:07:23

      21     conclusion, lacks foundation, vague.

      22             THE WITNESS:       They're parallel surfaces.

      23     BY MR. HASAN:

      24             Q.     They're opposite one another too,

      25     correct?                                                               03:07:32

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       1            MR. HANLE:      Objection.       Vague.                         03:07:33

       2            THE WITNESS:       They are opposite -- again,

       3     depending on the meaning, that they are opposite.

       4     They're on another side -- either side of the

       5     controller when it's mounted.                                          03:07:42

       6     BY MR. HASAN:

       7            Q.      And each of the docking bays has that --

       8            A.      Yes.

       9            Q.      -- that feature?       Okay.

      10                    Let me ask you this:         Do each of those           03:07:51

      11     pairs of surfaces defines the docking bay in that

      12     plastic see-through portion --

      13            MR. HANLE:      Objection.       Vague.

      14     BY MR. HASAN:

      15            Q.      -- on the accused device?                               03:08:16

      16            MR. HANLE:      Objection.       Vague, lacks

      17     foundation, calls for speculation, assumes facts not

      18     in evidence.

      19            THE WITNESS:       Could you repeat the question?

      20                    (The record was read.)                                  03:08:28

      21            THE WITNESS:       They could contribute to the

      22     definition, but they're not the only feature that

      23     would allow and accept the controller.

      24     BY MR. HASAN:

      25            Q.      They contribute to the -- to the feature                03:08:50

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       1     of the docking bay, correct?                                           03:08:52

       2            MR. HANLE:      Objection.       Vague, lacks

       3     foundation.

       4            THE WITNESS:        They do hold the controllers.

       5     BY MR. HASAN:                                                          03:08:58

       6            Q.      Okay.   And the DC ports are disposed

       7     between those --

       8            A.      Disposed?

       9            Q.      -- parallel surfaces.         Do you know what

      10     "disposed" means?                                                      03:09:14

      11            A.      Yes.

      12            Q.      Like a disposition.         You've heard of

      13     that, right?     It's an engineering term?

      14            A.      I think it's a legal term.           But --

      15            Q.      Okay.   All right.       Let me -- let me back          03:09:23

      16     it up 'cause I don't want to give you any -- I don't

      17     want to -- the -- DC ports are located between these

      18     parallel surfaces, right?

      19            A.      That is correct.       The mini USB connector

      20     is between the two surfaces you're pointing.                           03:09:41

      21            Q.      Okay.   Each of those docking bays are

      22     supported by the base?

      23            MR. HANLE:      Objection.       Lacks foundation,

      24     calls for a legal conclusion.

      25            THE WITNESS:        I would say they're supported               03:09:59

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       1     portion --                                                             03:10:50

       2               MR. HANLE:     Objection.

       3     BY MR. HASAN:

       4               Q.   -- of a charger?

       5               MR. BUCCIGROSS:     Objection.       Lacks                   03:10:52

       6     foundation, vague, incomplete hypothetical.

       7     BY MR. HASAN:

       8               Q.   Is that your understanding?

       9               A.   I'd be speculating.         I don't believe the

      10     video game industry would define "base" one way or                     03:10:59

      11     the other.

      12               Q.   Let's assume, as we saw in the website,

      13     for example, that the charger base is referring to

      14     the entire accused product.           Remember we talked

      15     about that?                                                            03:11:17

      16               A.   I remember.

      17               Q.   Okay.     So, assuming that definition of

      18     what a base is, then the docking bays are on the

      19     base --

      20               MR. HANLE:     Objection.                                    03:11:28

      21     BY MR. HASAN:

      22               Q.   -- is that right?

      23               MR. HANLE:     Objection.     Incomplete

      24     hypothetical, calls for speculation.

      25               THE WITNESS:     I think you're -- yeah, you're              03:11:37

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       1     marketing may view it one way.           I don't view it that          03:12:24

       2     way.

       3     BY MR. HASAN:

       4            Q.    That's not my question.            In the view

       5     that is on the -- sorry.         Excuse me.                            03:12:29

       6                  In the definition that I gave you --

       7     forget about who gave it, okay?            It happens to be

       8     marketing.   But put that aside for a second, please,

       9     will you?

      10            A.    Yes.                                                      03:12:42

      11            Q.    Okay.     If the base is meant to refer to

      12     the entirety of the accused product, then the

      13     docking bays are on the base, aren't they?

      14            MR. HANLE:      Objection.       Misstates the record,

      15     incomplete hypothetical, it's -- lacks foundation,                     03:12:55

      16     calls for a legal conclusion.

      17     BY MR. HASAN:

      18            Q.    Mr. Roberts?

      19            MR. HANLE:      Asked and answered.

      20            THE WITNESS:       If I accept your definition                  03:13:04

      21     that it all is the base, then yes, the mounts are on

      22     the base.

      23     BY MR. HASAN:

      24            Q.    Thank you, sir.         Okay.

      25                  Let's move to the next area over here.                    03:13:12

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       1                   MR. HASAN:     The accused product.                          03:14:08

       2                   THE WITNESS:     Who is in charge is -- I would

       3     say the product manager.

       4                   MR. HASAN:     Okay.   Please take a look at this

       5     document marked next in line, sir, as Exhibit 82.                          03:14:44

       6                        (Deposition Exhibit 82 marked for

       7     identification.)

       8     BY MR. HASAN:

       9                   Q.   This document was produced by your

      10     counsel here.         Is this -- what is this document?                    03:14:54

      11                   A.   It's a technical description of the

      12     charge system for the PlayStation 3 first-party

      13     controller.

      14                   Q.   In this technical description, is this a

      15     marketing document?                                                        03:15:21

      16                   A.   It is not -- it is not a marketing

      17     document, although marketing could pull some

      18     information from it.

      19                   Q.   Marketing could pull information from

      20     it?                                                                        03:15:33

      21                   A.   Sure.

      22                   Q.   Okay.     And marketing also contributes to

      23     the engineering aspects of this?

      24                   MR. HANLE:     Objection.     Vague.

      25     /     /   /

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       1     BY MR. HASAN:                                                              03:15:48

       2              Q.    That's marketing's job, in your mind?

       3              A.    No.

       4              Q.    Okay.

       5              A.    They -- they may contribute to certain                      03:15:52

       6     ways to implement features.

       7              Q.    Okay.     They don't write this document,

       8     do they?

       9              A.    No.

      10              Q.    This is -- this is -- this document was                     03:16:00

      11     approved by you?

      12              A.    Yes.

      13              Q.    You signed it?       You approved it?

      14              A.    I didn't sign it, but my name is there.

      15              Q.    Did you approve it, sir?           Your name is             03:16:15

      16     on page 2?

      17              A.    Yeah, I -- I -- I'm -- I approved it.                 I

      18     must have approved it, yeah.

      19              Q.    Nobody -- nobody put your name on there

      20     without your consent, did they?                                            03:16:27

      21              A.    No, no.

      22              Q.    You, you approved this specification,

      23     right?

      24              MR. HANLE:      Asked and answered.        He said he

      25     approved it.                                                               03:16:38

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       1            THE WITNESS:       Yeah.                                        03:16:39

       2            MR. HASAN:      Okay, okay.

       3     BY MR. HASAN:

       4            Q.   And when you approve documents, you read

       5     them carefully?                                                        03:16:45

       6            A.   I read them.

       7            Q.   Okay.      And you, you want to make sure

       8     that they're correct before you approve them?

       9            A.   Fundamentally, I want to make sure

      10     they're correct.                                                       03:16:55

      11            Q.   Okay.      All right.       Well, let's take a

      12     look at the product description there on page 4.

      13            A.   Okay.

      14            Q.   And that's showing a picture of the

      15     accused product, correct?                                              03:17:10

      16            A.   Yes.

      17            Q.   Okay.      And above that picture, it talks

      18     of product description?

      19            A.   Yes.

      20            Q.   Read the second sentence, please, under                    03:17:17

      21     "Product Description."

      22            A.   "The charge base offers a sleek and

      23     unique design that is impressive and functional."

      24            Q.   Is that a mistake?

      25            MR. HANLE:      Objection.       Vague.                         03:17:29

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       1            THE WITNESS:       No -- oh, sorry.                             03:17:30

       2            MR. HANLE:      Go ahead.

       3            THE WITNESS:       No.

       4     BY MR. HASAN:

       5            Q.   This is referring to the charge base as                    03:17:35

       6     the entire product?

       7            A.   Probably.

       8            Q.   Is that right, sir?

       9            A.   Probably.

      10            Q.   And you approved this, right --                            03:17:43

      11            A.   Yes.

      12            Q.   -- the document?

      13            A.   Yes, yes.

      14            MR. HASAN:      All right.       Let's move on.

      15                 What exhibit number was that?                              03:17:56

      16            THE WITNESS:       82.

      17            MR. HASAN:      Okay.     Let me show you another

      18     document here that we'll have marked as Exhibit 83.

      19                 (Deposition Exhibit 83 marked for

      20     identification.)                                                       03:18:36

      21     BY MR. HASAN:

      22            Q.   This is electrical specifications this

      23     time for the Xbox 360 version of the accused

      24     product, correct?

      25            A.   Correct.                                                   03:18:46

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       1               Q.      And there's a depiction of the accused                  03:18:46

       2     product on that second page --

       3               A.      Yes.

       4               Q.      -- of the document?

       5               A.      Yes.                                                    03:18:54

       6               Q.      Let me borrow that for a second,

       7     Mr. Roberts.        Thank you, sir.

       8                       And on September 27th, 2011, you

       9     approved this document, this specification?

      10               A.      Yes.                                                    03:19:15

      11               Q.      You made sure it was accurate when you

      12     approved it?

      13               A.      Fundamentally, yes.

      14               Q.      Well, you --

      15               A.      I'm not the author, and I don't rewrite                 03:19:24

      16     things.        But fundamentally I approved the content,

      17     yes.

      18               Q.      And if there's something that was wrong

      19     with it, you would have corrected that in this

      20     specification?                                                            03:19:33

      21               A.      Yes.

      22               Q.      Okay.   So, let me turn your attention to

      23     the product description over here under Section 2.

      24     It's the general product description.                 Do you see

      25     that?                                                                     03:19:48

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       1              A.   Uh-huh.                                                  03:19:48

       2              Q.   What's the last line say of that first

       3     paragraph there that is describing the general

       4     product description, sir?

       5              A.   "The charge base offers a sleek and                      03:19:57

       6     unique design that is impressive and functional."

       7              Q.   Is that -- is that a mistake?

       8              A.   No.

       9              Q.   Okay.     Is that referring again to the

      10     entirety of the accused device, sir?                                   03:20:10

      11              A.   I think that's one way you can interpret

      12     that.

      13              Q.   Okay.     And you approved this document,

      14     right?

      15              A.   Yes.                                                     03:20:22

      16              Q.   Okay.     Thank you, sir.

      17                   And in Exhibit 34, okay, it appears in

      18     this document that Nyko is referring to the charge

      19     base as the entire device, correct?

      20              MR. HANLE:     Objection.      Calls for                      03:20:52

      21     speculation, lacks foundation.

      22              THE WITNESS:     They use the word "base" in the

      23     title of the product, yes.

      24     BY MR. HASAN:

      25              Q.   From the title of the product, it's your                 03:21:01

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       1     understanding, looking at this, that this is                           03:21:04

       2     referring to the entire product?

       3              MR. HANLE:     Objection.      Lacks foundation,

       4     calls for speculation.

       5     BY MR. HASAN:                                                          03:21:13

       6              Q.   Right?

       7              A.   Looking at the picture of the product,

       8     it looks like the product is the base, yes.

       9              Q.   Okay.     Let's go back to Exhibit 80, sir.

      10              A.   I have it.                                               03:22:09

      11              Q.   Okay.     That's the one where Chiu

      12     provided the concept for the accused device in

      13     May 2007; is that right?

      14              MR. HANLE:     Objection.      Misstates his

      15     testimony.                                                             03:22:23

      16              THE WITNESS:     It's a record of the

      17     communication between Chris and Chiu and me and

      18     Chris.

      19     BY MR. HASAN:

      20              Q.   That was the document where, if you                      03:22:36

      21     turned to the next page, Chiu prevents -- presents a

      22     depiction to Chris Richards, which then Chris

      23     Richards forwards to you and all the product

      24     managers that shows essentially the same depiction

      25     of the accused device, correct?                                        03:22:56

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       1     BY MR. HASAN:                                                          04:45:17

       2             Q.   Okay.     Is that current detecter

       3     electrically coupled to the DC ports?

       4             A.   It would all be part of the same

       5     circuit.                                                               04:45:25

       6             Q.   So, is that a yes, that it's

       7     electrically coupled to the DC ports if it's part of

       8     the same circuit?

       9             A.   Well, "coupled" implies two parts.                The

      10     circuit has more than two components, so I don't                       04:45:45

      11     know if it's exact use of the term "coupling."

      12             Q.   What -- based on your understanding,

      13     what does the -- what does the term "coupled to"

      14     mean?

      15             MR. HANLE:     Objection.       Lacks foundation,              04:45:57

      16     calls for a legal conclusion.

      17             THE WITNESS:      When two parts go together.

      18     BY MR. HASAN:

      19             Q.   And let me ask you this question now:

      20     Does the accused device have an indicator that is                      04:46:13

      21     coupled to the current detecter to indicate the

      22     charge status of the video game controller?

      23             MR. HANLE:     Objection.       Lacks foundation,

      24     calls for a legal conclusion, also vague.

      25             THE WITNESS:      I believe it does.                           04:46:34

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       1              A.   I think so.                                             06:05:13

       2              Q.   Why?

       3              A.   'Cause you don't have to leave the

       4     console on.

       5              Q.   Why did PDP end up making the accused                   06:05:20

       6     device with clear plastic on the docking bays?

       7              A.   As I recall, it -- it transmitted the

       8     LED indicators nicely.

       9              Q.   It also allows the user to see through

      10     those transparent plastic portions and see the                        06:05:50

      11     controller suspended there in the charger; is that

      12     right?

      13              A.   You mean by looking through the clear?

      14     Yeah, it's clear, so it would transmit whatever is

      15     behind it.                                                            06:06:09

      16              Q.   And in the normal use, that would be the

      17     controller inside of it?

      18              A.   Right.

      19              Q.   So, one of the -- one of the features is

      20     that you could see the controller suspended on the                    06:06:16

      21     charger?

      22              A.   Yeah.    But those don't need to be clear

      23     to see the controllers connected.

      24              Q.   Even if they -- if they weren't clear,

      25     you could see the controllers connected?                              06:06:31

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       1               A.      You could see that they are mounted,                    06:06:35

       2     yeah.

       3               Q.      Is it a desirable feature, do you think,

       4     for the video game arch to be able to have a design

       5     that allows the wireless controllers to be mounted                        06:06:47

       6     on the charger while they're being charged?

       7               A.      I think, from a beauty standpoint, but

       8     that's all opinion and conjecture.                I think it looks

       9     nice.

      10               Q.      What is nice about it?                                  06:07:12

      11               A.      The lines, the shape.

      12               Q.      What is nice about having the video game

      13     controllers mounted on the base?

      14               MR. HANLE:      Objection.       Vague as to the term

      15     "base."                                                                   06:07:27

      16               THE WITNESS:       It's a very subjective thing,

      17     beauty.        I happen to think that this looks very

      18     appealing when the controllers are attached or

      19     otherwise.

      20     BY MR. HASAN:                                                             06:07:44

      21               Q.      Okay.   When the controllers are

      22     attached, the fact that the controllers protrude

      23     outwardly from the forward sections and are mounted

      24     on the charger, do you find that to be appealing --

      25               MR. HANLE:      Objection.       Compound.                      06:07:59

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       1     BY MR. HASAN:                                                          06:07:59

       2              Q.   -- based on your experience?

       3              MR. HANLE:     Objection.      Compound.

       4              THE WITNESS:     It would not be based on my

       5     experience.     It would be just my sense of beauty.                   06:08:09

       6     BY MR. HASAN:

       7              Q.   And based on your sense of beauty, that

       8     would be a yes or a no?

       9              A.   I think it looks nice.

      10              Q.   And it looks nice with the controller                    06:08:22

      11     suspended within the docking bays?

      12              MR. HANLE:     Objection.      Vague, lacks

      13     foundation.

      14              THE WITNESS:     In my opinion.

      15     BY MR. HASAN:                                                          06:08:33

      16              Q.   Okay.     One of the features of this is

      17     that when the controllers are suspended within the

      18     docking bays, the handle portions of the controller

      19     extend outwardly from the docking bay; is that

      20     right?                                                                 06:08:51

      21              A.   Yeah.     By nature of the configuration of

      22     the controller, they look like the picture that

      23     you're showing me.

      24              Q.   Okay.     And that picture is the one from

      25     the PDP website that we marked as an exhibit?                          06:09:09

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       1              A.   No.                                                     06:22:52

       2              Q.   What did you mean by squashing Nyko like

       3     a bug?

       4              A.   Beat the competition.

       5              Q.   And you knew that Nyko was the                          06:22:58

       6     competition with respect to the charge base product?

       7              A.   They were a competitor.

       8              Q.   Who else was a competitor in connection

       9     with these products for concurrently charging two

      10     wireless controllers at the same time in June 2007?                   06:23:13

      11              A.   I don't clearly recall, but I would

      12     think that any number of the competitors would have

      13     had a similar product.

      14              Q.   In June 2007?

      15              A.   Yeah.                                                   06:23:33

      16              Q.   And why, then, did you focus, if other

      17     competitors, in your mind, had the product, on Nyko?

      18              A.   Recollection isn't clear, but probably

      19     because they were the most promoted.

      20              Q.   What do you mean by that, "the most                     06:23:51

      21     promoted"?

      22              A.   They probably had it on their website

      23     before selling it and that kind of thing so that the

      24     information was available.

      25              Q.   So, you wanted to squash Nyko like a bug                06:24:11

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       1            MR. HANLE:      Lacks foundation, calls for                     06:56:33

       2     speculation, asked and answered.

       3            THE WITNESS:       That's a different question.

       4     Yes, they had to approve it.

       5     BY MR. HASAN:                                                          06:56:39

       6            Q.   Okay.      And it's your understanding that

       7     Energizer approved the sale of the product, the

       8     accused product, with its name on it by PDP?

       9            MR. HANLE:      Objection.       Vague, lacks

      10     foundation, calls for speculation.                                     06:56:49

      11            THE WITNESS:       Yes.

      12     BY MR. HASAN:

      13            Q.   Okay.      And you understand that Energizer

      14     displays the accused product on its own website; do

      15     you know that?                                                         06:57:02

      16            A.   I don't know that.

      17            Q.   What other things did you have to do to

      18     gain Energizer's approval to sell the product, if

      19     anything, besides sending them samples?

      20            MR. HANLE:      Calls for speculation.                          06:57:18

      21            THE WITNESS:       We, as a matter of course,

      22     would send a description of the operation, how it

      23     works, its features, that sort of thing.

      24     BY MR. HASAN:

      25            Q.   Was that requested of you by Energizer?                    06:57:31

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       1            A.      I'm sure it was.                                        06:57:34

       2            Q.      Yeah.   And do you have an understanding

       3     as to why they would want that?

       4            MR. HANLE:      Objection.       Calls for

       5     speculation.                                                           06:57:40

       6            THE WITNESS:       I will assume because their

       7     name is going on the box so they want to be aware of

       8     what's going in the box.

       9     BY MR. HASAN:

      10            Q.      And PDP could not sell the accused                      06:57:55

      11     products without Energizer's approval, correct?

      12            MR. HANLE:      Objection.       Lacks foundation,

      13     calls for speculation.

      14            THE WITNESS:       With the Energizer brand, no.

      15     BY MR. HASAN:                                                          06:58:23

      16            Q.      Does PDP intend to discontinue the sale

      17     of the accused product?

      18            MR. HANLE:      Objection.       Calls for

      19     speculation, lacks foundation, vague.

      20            THE WITNESS:       I don't think they intend to                 06:58:39

      21     discontinue the sale of it.

      22     BY MR. HASAN:

      23            Q.      Why not?

      24            A.      Because it's selling.

      25            Q.      Is it selling well, to your                             06:58:52

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                         EXHIBIT N
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Energizer                         Document
          Power & Play for PS3-charging      105-2
                                        system       Filed 04/09/13 Page 153 of 178 Page
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                                                   Energizer® Power & Play for PS3 Charging                                  $29.99
                                                   System.
                                                                                                                             Quantity: i
                                                   PL 6328

                                                   Product Description
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                                                   In  st 2 5 hours, the Energizer Power & Play Charging System for
                                                   P53 charges up to 2 controllers and your headset simultaneously
                                                   The charge base offers a sleek and unie design that is                    Related Products
                                                   impressive and functional. The station let's you know when it's           Customers who purchased tItiS product
                                                   charging via the connection by appeanng in red light (charging) and       also liked the following products
                                                   green (fully charged). lt is powered the by the included UL-
                                                   approved AC power cord. Keep those ccntrollers charged and get
                                                   back in the game with fully licensed Energizer Power & Play




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http://www.pdp.com/p-7 1 9-energizer-power-play-for-ps3-charging-system.aspx                                                                                          3/26/2013
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          *5$+$0 *5$< 0%8&&,*5266&DO%DU1R
           JEXFFLJURVV#VKHSSDUGPXOOLQFRP
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           PPXHOOHU#VKHSSDUGPXOOLQFRP
          (O&DPLQR5HDO6XLWH
           6DQ'LHJR&DOLIRUQLD
          7HOHSKRQH 
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          VKDQOH#VKHSSDUGPXOOLQFRP
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         &RVWD0HVD&$
           7HOHSKRQH 
         )DFVLPLOH   
         $WWRUQH\VIRU3HUIRUPDQFH'HVLJQHG3URGXFWV//&
           DQG(QHUJL]HU+ROGLQJV,QF
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                                      81,7('67$7(6',675,&7&2857
                                      &(175$/',675,&72)&$/,)251,$
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         1<.27(&+12/2*,(6,1&D&DOLIRUQLD  &DVH1R&9
           &RUSRUDWLRQ                           
                                                3(5)250$1&('(6,*1('352'8&76
                                3ODLQWLII        //&¶65(63216(721<.2
                                                7(&+12/2*,(6,1&¶6),5676(72)
                  Y                              ,17(552*$725,(6
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           (1(5*,=(5+2/',1*6,1&D0LVVRXUL    7KH+RQ*DU\$)HHVV
         &RUSRUDWLRQDQG3(5)250$1&(           
           '(6,*1('352'8&76//&D&DOLIRUQLD    
         /LPLWHG/LDELOLW\&RPSDQ\             >&RPSODLQW)LOHG$SULO@
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                              'HIHQGDQWV
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                  &217$,16&21),'(17,$/±$77251(<6¶(<(621/<,1)250$7,21
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3DJH     605+            3'3¶65(63216(721<.2¶6),5676(72),17(552*$725,(6
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              LWHPVVSHFLILFDOO\LGHQWLILHGE\1\NRWKDWKDYHEHHQPDGHLQLPSRUWHGLQWRXVHGVROGRURIIHUHG

              IRUVDOHLQWKH8QLWHG6WDWHVVLQFHWKHµSDWHQWZDVLVVXHG)XUWKHUPRUH3'3REMHFWVWKDWWKH

              SKUDVH³LGHQWLFDODQGVLPLODUWR´LVRYHUO\EURDGXQGXO\EXUGHQVRPHYDJXHDQGDPELJXRXVDQG

              XQLQWHOOLJLEOH3'3KHUHE\LQFRUSRUDWHVWKLVREMHFWLRQLQWRLWVUHVSRQVHWRHDFKDQGHYHU\1\NR

              ,QWHUURJDWRU\WKDWXVHVWKLVWHUP

                                 3'3REMHFWVWR1\NR¶V,QVWUXFWLRQ1RV±DVRYHUO\EURDGDQGXQGXO\

              EXUGHQVRPHKDUDVVLQJRSSUHVVLYHDQGVHHNLQJLQIRUPDWLRQEH\RQGWKDWUHTXLUHGE\WKH)HGHUDO

              5XOHVRI&LYLO3URFHGXUH/RFDO5XOHVDQGWKH&RXUW¶VRUGHUVDQGGHIDXOWRUGHUV

                                 3'3REMHFWVWRWKHWHUPV³5(/$7,1*´DQG³&21&(51,1*´DQGWKHLUYDULDQWV

         DVYDJXHDQGDPELJXRXVRYHUO\EURDGXQGXO\EXUGHQVRPHDQGXQLQWHOOLJLEOH3'3KHUHE\

         LQFRUSRUDWHVWKLVREMHFWLRQLQWRLWVUHVSRQVHWRHDFKDQGHYHU\1\NR,QWHUURJDWRU\WKDWXVHVWKHVH

         WHUPV

                                3'3REMHFWVWR1\NR¶VGHILQLWLRQRI³,'(17,)<´DVRYHUO\EURDGDQGXQGXO\

         EXUGHQVRPHDQGVHHNLQJLQIRUPDWLRQEH\RQGWKDWUHTXLUHGE\WKH)HGHUDO5XOHVRI&LYLO

         3URFHGXUH/RFDO5XOHVDQGWKH&RXUW¶VRUGHUVVHHNLQJLQIRUPDWLRQWKDWLVSURWHFWHGE\SULYDF\

         ODZVRURWKHUZLVHVXEMHFWWRWKLUGSDUW\FRQILGHQWLDOLW\XQGXO\EURDGRYHUO\EXUGHQVRPH

         KDUDVVLQJRSSUHVVLYHYDJXHDQGDPELJXRXV3'3KHUHE\LQFRUSRUDWHVWKLVREMHFWLRQLQWRLWV

         UHVSRQVHWRHDFKDQGHYHU\1\NR,QWHUURJDWRU\WKDWXVHVWKLVWHUP

                                3'3REMHFWVWRWKHGHILQLWLRQRI³(1(5*,=(5´DVYDJXHDQGDPELJXRXVRYHUO\

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         DQGLQGLYLGXDOVDUHRUKDYHEHHQUHODWHGWR(QHUJL]HU+ROGLQJV,QF ³(QHUJL]HU´ DFRPSDQ\

         VHSDUDWHDQGGLVWLQFWIURP3'33'3KHUHE\LQFRUSRUDWHVWKLVREMHFWLRQLQWRLWVUHVSRQVHWRHDFK

         DQGHYHU\1\NR,QWHUURJDWRU\WKDWXVHVWKLVWHUP

                                                                    
                                              5(63216(672,17(552*$725,(6
         ,17(552*$725<12

                        6WDWHZLWKVSHFLILFLW\DOOEDVHVDQGIDFWVIRU<285FRQWHQWLRQWKDW3'3DQGRU
         (1(5*,=(5KDYHQHYHU³LQIULQJHGHLWKHUGLUHFWO\RULQGLUHFWO\E\LQGXFHPHQWRUFRQWULEXWRULO\
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3DJH         605+                         3'3¶65(63216(721<.2¶6),5676(72),17(552*$725,(6
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              DQ\FODLPRIWKH3DWHQWLQVXLW>WKHµ3$7(17@HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRI

              HTXLYDOHQWV´LQFOXGLQJEXWQRWOLPLWHGWRLQDFODLPFKDUWIRUPDWLGHQWLI\LQJHDFKOLPLWDWLRQRI

              HDFKFODLPRIWKH¶3$7(17ZKLFK<28FODLPLVQRWLQIULQJHGE\WKH$&&86('352'8&7

                    HLWKHUOLWHUDOO\DQGXQGHUWKHGRFWULQHRIHTXLYDOHQWV DQGH[SODLQLQIXOODOOUHDVRQVZK\

              5(63216(72,17(552*$725<12

                                    3'3KHUHE\LQFRUSRUDWHVE\UHIHUHQFHLWV*HQHUDODQG6SHFLILF2EMHFWLRQVLQ

              UHVSRQVHWRWKLV,QWHUURJDWRU\

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                                    3'3REMHFWVWRWKLV,QWHUURJDWRU\RQWKHJURXQGVWKDWLWLVRYHUO\EURDGXQGXO\

         EXUGHQVRPHDQGRSSUHVVLYHWRWKHH[WHQWLWVHHNVLQIRUPDWLRQRQDQ\SURGXFWWKDWLVQRW

         VSHFLILFDOO\LGHQWLILHGE\1\NR

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                                   3'3REMHFWVWRWKLV,QWHUURJDWRU\DVSUHPDWXUHWRWKHH[WHQWWKDWFODLPVDQGWHUPV

         ZLWKLQWKHµSDWHQWUHTXLUHFODLPFRQVWUXFWLRQZKLFKKDV\HWWREHEULHIHGE\WKHSDUWLHVDQG

         GHFLGHGE\WKH&RXUW

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                                   3'3REMHFWVWRWKLV,QWHUURJDWRU\RQWKHJURXQGVWKDWLWLVRYHUO\EURDGXQGXO\

         EXUGHQVRPHDQGRSSUHVVLYHLQWKDWLWVHHNVDOOEDVHVDQGIDFWVUDWKHUWKDQEHLQJOLPLWHGWRWKRVH

         WKDW3'3LQWHQGVWRUHO\RQ

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                                   ,QDGGLWLRQ3'3REMHFWVWRWKLV,QWHUURJDWRU\WRWKHH[WHQWWKDWLWSXUSRUWVWRUHTXLUH

         WKHSURGXFWLRQRILQIRUPDWLRQWKDWLVSURWHFWHGE\WKHDWWRUQH\FOLHQWSULYLOHJHWKHDWWRUQH\ZRUN

         SURGXFWGRFWULQHWKHFRPPRQLQWHUHVWSULYLOHJH DOVRNQRZQDVWKHMRLQWGHIHQVHSULYLOHJH 

         VWDWXWRU\DQGFRQVWLWXWLRQDOSULYDF\ULJKWVDQGRWKHUDSSOLFDEOHGRFWULQHVRUSULYLOHJHV

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                                   3'3IXUWKHUREMHFWVWRWKLV,QWHUURJDWRU\WRWKHH[WHQWLWVHHNVLQIRUPDWLRQ

         UHJDUGLQJ(QHUJL]HU+ROGLQJV,QFDVRYHUO\EURDGXQGXO\EXUGHQVRPHDQGVHHNLQJLQIRUPDWLRQ

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3DJH         605+                            3'3¶65(63216(721<.2¶6),5676(72),17(552*$725,(6
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              WKDWLVQRWZLWKLQ3'3¶VSRVVHVVLRQFXVWRG\RUFRQWURODQGVHHNLQJLQIRUPDWLRQWKDWLVQHLWKHU

              UHOHYDQWQRUUHDVRQDEO\FDOFXODWHGWROHDGWRWKHGLVFRYHU\RIDGPLVVLEOHHYLGHQFH

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                                    3'3REMHFWVWKDWWKLV,QWHUURJDWRU\WRWKHH[WHQWWKDWLWFDOOVIRULQIRUPDWLRQWKDWLV

              FRQILGHQWLDOWRWKLUGSDUWLHV8QOHVVDQGXQWLOWKRVHSDUWLHVZDLYHWKHLUFRQILGHQWLDOLW\RUWKH&RXUW

              RUGHUVSURGXFWLRQ3'3LVREOLJDWHGWRPDLQWDLQWKRVHFRQILGHQFHV

             

                                    6XEMHFWWRDQGZLWKRXWZDLYLQJWKHIRUHJRLQJREMHFWLRQV3'3UHVSRQGVDVIROORZV

             

                                   3'3¶V36DQG;ER[FKDUJLQJV\VWHPVGRQRWKDYHDWOHDVWWKHIROORZLQJ

         HOHPHQWVRIWKHDVVHUWHGFODLPVRIWKHµSDWHQW  DSOXUDOLW\RI'&SRUWVRQWKHEDVHDQG  

         GRFNLQJED\VFRPSULVHGRIRSSRVLWHVXUIDFHVRQWKHEDVH6LJQLILFDQWO\WKHVHVWUXFWXUDO

         OLPLWDWLRQVZHUHDGGHGWRWKHDVVHUWHGFODLPVWRGLVWLQJXLVKRYHUSULRUDUWDQGPXVWEHVWULFWO\

         FRQVWUXHG,QVWHDGWKH'&SRUWVLQ3'3¶VDFFXVHGSURGXFWVDUHRQSODVWLFLQVHUWLRQJXLGHV7KRVH

         SODVWLFLQVHUWLRQJXLGHVDUHRQKRUL]RQWDOPHPEHUVH[WHQGLQJIURPWKHDUFVKDSHGVXSSRUWZKLFK

         LVLQWXUQDWWDFKHGWRWKHEDVH

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                                   1\NRFRQWHQGVWKDWWKHWHUP³EDVH´LQFOXGHVDKRUL]RQWDOFRPSRQHQWLQFRQWDFW
         ZLWKDVXUIDFHLQDGGLWLRQWRDOORWKHUFRPSRQHQWVDWWDFKHGWRLWH[FHSWGRFNLQJED\V+RZHYHU

         WKLVLVQRWFRQVLVWHQWZLWKWKHSODLQPHDQLQJRI³EDVH´RUWKHZULWWHQGHVFULSWLRQRIWKHµSDWHQW

         7KHWHUP³EDVH´DVGHVFULEHGLQWKHVSHFLILFDWLRQRIWKHµSDWHQWGLVFORVHVDFRPSRQHQWRIWKH

         FKDUJLQJV\VWHPZKLFK³LQFOXGHVDEDVH>@´DQGDOORZVIRU³VWUXFWXUHV>WREH@RQWKHEDVH´,Q
           FKDUJLQJV\VWHPZKLFK³LQFOXGHVDEDVH>@´DQGDOORZVIRU³VWUXFWXUHV>WREH@RQWKHEDVH´
         DGGLWLRQ)LJXUHVDQGRIWKHµSDWHQWVKRZD³EDVH´WKDWLVLQFRQWDFWZLWKD

         VXSSRUWLQJVXUIDFHVXFKDVDWDEOHRUZDOO$JHQHUDOSXUSRVHGLFWLRQDU\GHVFULEHV³EDVH´DVXVHG

         LQWKLVFRQWH[WDV³WKHERWWRPRIVRPHWKLQJFRQVLGHUHGDVLWVVXSSRUW´ 6HH

         KWWSZZZPHUULDPZHEVWHUFRPGLFWLRQDU\EDVH 7KLVGHILQLWLRQLVFRQVLVWHQWZLWKWKHSODLQ

         PHDQLQJDQGZLWKWKHZULWWHQGHVFULSWLRQDQGILJXUHV7KXVWKHVWUXFWXUHVLGHQWLILHGE\1\NRRQ

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              3'3¶VSURGXFWVDV'&SRUWVDQGRSSRVLWHVXUIDFHVIRUPLQJGRFNLQJED\VDUHQRW³RQWKHEDVH´DV

              UHTXLUHGE\HYHU\DVVHUWHGFODLPRIWKHµSDWHQWDQG3'3¶VSURGXFWVGRQRWLQIULQJH

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              VWUXFWXUHRQWKHEDVH>WKDW@FRPSULVHVDSOXUDOLW\RIGRFNLQJED\V´5DWKHUHDFKKRUL]RQWDO

              PHPEHUH[WHQGLQJIURPWKHDUFVKDSHGVXSSRUWRQO\FRQVLVWVRIRQHSDLURISODVWLFLQVHUWLRQ

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         86%FRQQHFWRUVVXSSRUWHGE\WKHEDVH´,QVWHDGWKHPLQL86%FRQQHFWRUVDUHVXSSRUWHGE\

         SODVWLFLQVHUWLRQJXLGHV7KHSODVWLFLQVHUWLRQJXLGHVDUHVXSSRUWHGE\KRUL]RQWDOPHPEHUV

         H[WHQGLQJIURPWKHDUFVKDSHGVXSSRUWZKLFKLVLQWXUQDWWDFKHGWRWKHEDVH

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                                   %HFDXVH3'3GRHVQRWLQIULQJHDQ\LQGHSHQGHQWFODLPVRIWKHµSDWHQWLWFDQQRW
         LQIULQJHDQ\GHSHQGHQWFODLPV

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                        6WDWHZLWKVSHFLILFLW\DOOEDVHVDQGIDFWVIRU<285FRQWHQWLRQWKDW³>H@DFKRIWKHDVVHUWHG
         FODLPVRIWKH3DWHQWLQVXLWLVLQYDOLGIRUIDLOXUHWRFRPSO\ZLWKWKHUHTXLUHPHQWVRI86&

         DQGRU´LQFOXGLQJEXWQRWOLPLWHGWRLGHQWLI\LQJHDFKOHJDOJURXQGIRU

         FRQWHQGLQJWKHFODLPLVLQYDOLGDOOSULRUDUWRQZKLFK<28LQWHQGWRUHO\DQ\LQVWDQFHRIDOOHJHG

         SULRURUSUHFULWLFDOGDWHSXEOLFNQRZOHGJHXVHVDOHRURIIHUIRUVDOHXSRQZKLFK<28LQWHQGWR

         UHO\IRUDQ\FRQWHQWLRQRIDQWLFLSDWLRQRUREYLRXVQHVVLGHQWLI\LQJLQDFODLPFKDUWIRUPDWZKHUH

         HDFKSULRUDUWUHIHUHQFHRQZKLFK<28UHO\GLVFORVHVHDFKOLPLWDWLRQRIWKHUHOHYDQWFODLPDQG

         LGHQWLI\LQJDQ\IDFWVXSRQZKLFK<28LQWHQGWRUHO\LQDVVHUWLQJWKHVHGHIHQVHV

         5(63216(72,17(552*$725<12

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